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   8                        UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
   9
  10 L.T.,                                            CASE NO. 2:24-cv-04791
  11                 Plaintiff,                       COMPLAINT
  12 v.                                                1. VIOLATIONS OF FEDERAL
                                                          SEX TRAFFICKING LAWS
  13 MINDGEEK S.A.R.L. a foreign entity;                  [18 U.S.C. §§ 1591, 1594, 1595]
     MG FREESITES LTD, a foreign entity;
  14 MINDGEEK USA INCORPORATED,                        2. RECEIPT, TRANSPORT, AND
     a Delaware corporation; MG                           DISTRIBUTION OF CHILD
  15 PREMIUM LTD, a foreign entity; MG                    PORNOGRAPHY
     GLOBAL ENTERTAINMENT INC., a                         [18 U.S.C. §§ 2252, 2252A,
  16 Delaware corporation; 9219-1568                      2255]
     QUEBEC, INC., a foreign entity;
  17 BERND BERGMAIR, a foreign                         3. PUBLIC DISCLOSURE OF
     individual; FERAS ANTOON, a                          PRIVATE FACTS
  18 foreign individual; DAVID                         4. INTRUSION INTO PRIVATE
     TASSILLO, a foreign individual; VISA
  19 INC., a Delaware corporation;                        AFFAIRS
     REDWOOD CAPITAL                                   5. PLACING PLAINTIFF IN
  20 MANAGEMENT, LLC, a Delaware                          “FALSE LIGHT”
     limited liability company; REDWOOD
  21 DOE FUNDS 1-7; COLBECK                            6. COMMON LAW
     CAPITAL MANAGEMENT, LLC, a                           MISAPPROPRIATION OF
  22 Delaware limited liability company;                  LIKENESS
     COLBECK DOE FUNDS 1-3,
  23                                                   7. STATUTORY
                     Defendants.                          MISAPPROPRIATION OF
  24                                                      LIKENESS
     ________________________________                     [California Civil Code § 3344]
  25
                                                       8. DISTRIBUTION OF PRIVATE
  26                                                      SEXUALLY EXPLICIT
  27                                                      MATERIALS
                                                          [California Civil Code §
  28                                                      1708.85]
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   1                                               9. NEGLIGENCE
                                                   10. UNFAIR COMPETITION
   2                                                   [California Business &
   3                                                   Professions Code §§ 17200,
                                                       17500]
   4                                               11. VIOLATION OF
   5                                                   CALIFORNIA’S
                                                       TRAFFICKING VICTIMS
   6                                                   PROTECTION ACT
   7                                                   [California Civil Code § 52.5]
                                                   12. INTENTIONAL INFLICTION
   8                                                   OF EMOTIONAL DISTRESS
   9                                               13. CIVIL CONSPIRACY

  10                                            DEMAND FOR JURY TRIAL

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   1        Plaintiff L.T. (“Plaintiff”), through undersigned counsel, for her complaint
   2 against MindGeek S.a.r.l., MG Freesites Ltd d/b/a Pornhub (“Pornhub”), MindGeek
   3 USA Incorporated (“MindGeek USA”), MG Premium Ltd, MG Global
   4 Entertainment, Inc., and 9219-1568 Quebec, Inc. (collectively “MindGeek”); Bernd
   5 Bergmair, Feras Antoon, and David Tassillo (Bergmair, together with Antoon and
   6 Tassillo, the “Individual Defendants,” and together with MindGeek, the “MindGeek
   7 Defendants”);1 Visa Inc. (“Visa”); Redwood Capital Management, LLC, Redwood
   8 Doe Funds 1-7,(collectively, “Redwood”); Colbeck Capital Management, LLC,
   9 Colbeck Doe Funds 1-3 (collectively “Colbeck”) (Colbeck, together with the
  10 MindGeek Defendants, Visa, and Redwood, “defendants”) for sex trafficking and
  11 conspiracy to benefit from a trafficking venture in violation of 18 U.S.C. §§ 1591,
  12 1594, and 1595, for receipt, transport, and possession of child pornography in
  13 violation of 18 U.S.C. §§ 2252, 2252A, and 2255, and state statutory and common
  14 law violations, allege as follows:
  15                                      INTRODUCTION
  16        1.     This is a case about rape and trafficking, not pornography.   And it is a
  17 case about each of these defendants knowingly and intentionally electing to
  18 capitalize and profit from the horrendous exploitation and abuse of tens of thousands
  19 of other human beings so they could make more than the enormous sums of money
  20 they would have otherwise made anyway.
  21
  22   1
      Bergmair, Antoon, Tassillo, and the U.S. partners of MindGeek purportedly sold
  23 their interests in MindGeek to the “pop-up” Montreal private equity firm Ethical
  24 Capital Partners in 2023. Ethical Capital Partners is not an actual private equity
     fund and had no private equity with which to purchase MindGeek from its four
  25 owners. Since the “sale,” MindGeek has rebranded several of its corporate entities,
  26 including Defendants MindGeek S.a.r.l. (now Aylo Holdings S.a r.l.); MG Freesites
     Ltd (now Aylo Freesites Ltd.); MindGeek USA Incorporated (now Aylo USA
  27 Incorporated); MG Premium Ltd (now Aylo Premium Ltd.); and MG Global
  28 Entertainment, Inc. (now Aylo Global Entertainment, Inc.).
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   1        2.       From 2013 to 2023, MindGeek became the dominant, monopolistic
   2 online pornography company in the world.         During that period, it was directly
   3 dominated and controlled by its majority owner, Bernd Bergmair, and minority
   4 owners, Feras Antoon and David Tassillo, who also served as its CEO and COO,
   5 respectively.      These individuals built the MindGeek empire by knowingly and
   6 intentionally adopting an unrestricted content business model under which they
   7 would solicit and monetize all pornographic content without restriction, including
   8 child pornography and other nonconsensual content.
   9        3.       In doing so, they did not merely provide a platform for others to post
  10 child pornography. They embraced the practice and proactively assisted such users
  11 in maximizing the attention their content received.     They did this by rigorously
  12 analyzing and testing the performance of child porn and other nonconsensual content
  13 with users and search engines, determining how to maximize the attention such
  14 content received, and then working with users uploading the content to do so. In
  15 essence, MindGeek used what it learned from analyzing content performance to turn
  16 images into marketing and advertising that would most effectively attract more users
  17 to its websites.
  18        4.       MindGeek did this by creating a format in which the user uploaded an
  19 image into a template that called for added descriptive content; MindGeek instructed
  20 the user on how to use the descriptive template to generate more attention; and
  21 MindGeek shared and suggested with the user specific descriptions it had determined
  22 were most effective, including suggested titles, tags, and categories that MindGeek’s
  23 search engine optimization analysis had determined drew the most attention to that
  24 particular type of content.    It was not until the user – with MindGeek’s assistance,
  25 suggestions and sometimes direct instruction or intervention – had added the
  26 descriptive content to the image content that the product was added to MindGeek’s
  27 website.    MindGeek then proactively drew attention to the content by combining it
  28 in playlists, suggested searches, and category libraries with other like described
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   1 content offered to users with similar interests.     MindGeek would also separately
   2 upload the content to other websites it controlled.
   3        5.     This plainly went far beyond the neutral provision of a platform to post
   4 content.    It was collaborative content development in which MindGeek identified
   5 descriptive content and messaging to add to the user’s particular type of image
   6 content and, thereby, enhance its viewership (for both the user and MindGeek’s
   7 benefit).
   8        6.     The Individual Defendants controlling MindGeek knowingly and
   9 intentionally included child pornography and other nonconsensual content in this
  10 business model because they had a singular priority of dominating online
  11 pornography, it materially helped them to do so, and they expected to make hundreds
  12 of millions of dollars in the process.
  13        7.     Doing so, however, also required massive financing and a means of
  14 monetizing the content. Colbeck and Redwood provided and arranged for the
  15 hundreds of millions of dollars the Individual Defendants needed to acquire and
  16 build the MindGeek Empire. Before doing so and during the decade of such
  17 financing, they were fully aware that MindGeek would be using the financing to
  18 monetize child pornography and other nonconsensual content. They knew this from
  19 the extensive due diligence they did into the online porn industry and MindGeek in
  20 particular before each of the several financings they provided; from their close
  21 interaction with and reporting from the Individual Defendants; and from the
  22 drumbeat of public reports throughout the decade of child pornography and other
  23 nonconsensual content being disseminated and monetized on MindGeek’s websites.
  24 Nevertheless, they provided and continued to provide MindGeek hundreds of
  25 millions of dollars in financing because they too had a singular focus on profits they
  26 would earn from the exorbitant interest rates and other fees they could demand
  27 because others were unwilling to finance this illicit business.
  28        8.     Visa provided the means of monetizing the trafficked content that was
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   1 an integral part of MindGeek’s march to market dominance. Visa permitted its
   2 payment network to process all forms of payments MindGeek received from its
   3 participation in sex trafficking ventures, particularly from advertising fees it earned
   4 on ads placed next to trafficked content or from traffic generated from such content.
   5 Visa assisted MindGeek’s monetization of child pornography and other
   6 nonconsensual content despite knowing it was doing so from Visa’s own extensive
   7 market intelligence, its ongoing due diligence and monitoring of MindGeek, the
   8 drumbeat of public reports for a decade of such content being on MindGeek’s
   9 websites, and from direct communications from victims and anti-trafficking
  10 advocates. Nevertheless, Visa processed and continued to process financial
  11 payments for MindGeek because of the millions of dollars it was earning doing so.
  12         9.    Plaintiff’s life was destroyed by the trafficking enterprise these
  13 defendants knowingly and intentionally joined to make more than the already
  14 enormous amounts of money they were already earning and would continue to earn
  15 even if they had not decided to earn more from child pornography.
  16                                        PARTIES
  17 Plaintiff
  18         10.   Plaintiff L.T. is an individual who is now at the age of majority. As
  19 alleged herein, L.T. is a victim of child sex trafficking. At all relevant times, L.T.
  20 was a resident of New Hampshire.
  21 Defendants
  22         11.   Defendant MindGeek S.a.r.l. is a foreign entity organized and existing
  23 under the laws of Luxembourg. MindGeek S.a.r.l. conducts business in the United
  24 States, including in this District. MindGeek S.a.r.l., formerly known as Manwin,
  25 directly and indirectly owns and operates over 100 pornographic websites,
  26 production companies, and brands including Pornhub, RedTube, Tube8, YouPorn,
  27 PornIQ, gaytube, Thumbzilla, Peeperz, PornMD, Xtube, Brazzers, Babes.com,
  28 Reality Kings, Digital Playground, Twistys, Men.com, Mofos, MyDirtyHobby,
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   1 SexTube, and Webcams. MindGeek S.a.r.l. also manages websites including
   2 Wicked Pictures, lesbea.com, and Playboy. MindGeek S.a.r.l. owns and/or controls
   3 the majority of the pornography on the Internet, much of which it distributes for free,
   4 to any person with a web connection, regardless of age. Although incorporated in
   5 Luxembourg, MindGeek S.a.r.l. operates out of Montreal, Canada, and has satellite
   6 offices in, among other places, Los Angeles, San Diego, and San Francisco,
   7 California.
   8        12.    Defendant MG Freesites Ltd (“MG Freesites”) (d/b/a Pornhub) is a
   9 foreign company incorporated in the Republic of Cyprus with a principal place of
  10 business at 195-197 Old Nicosia-Limassol Road, Block 1 Dali Industrial Zone,
  11 Cyprus, 2540. MG Freesites conducts business in the United States, including in
  12 this District. Through various intermediary entities, MG Freesites is a wholly
  13 owned subsidiary of MindGeek S.a.r.l. MG Freesites owns, operates, and/or
  14 manages one or several of the pornographic websites owned by MindGeek, including
  15 Pornhub, and is controlled and operated by directors, officers, and employees
  16 working in MindGeek’s offices in the United States and Canada. MG Freesites’
  17 servers containing its redundant library of pornographic content, including the vast
  18 amount of child pornography uploaded to its sites since inception, are located in
  19 Waltham, Massachusetts as well as elsewhere in the United States and the world.
  20        13.    Defendant MindGeek USA Incorporated (“MindGeek USA”) is a
  21 corporation incorporated in the state of Delaware, with its principal place of business
  22 of 21800 Oxnard Street, Suite 150, Woodland Hills, California 91367. MindGeek
  23 USA is a wholly owned subsidiary of MindGeek S.a.r.l., either directly or through
  24 intermediary companies also under the control of MindGeek S.a.r.l. and is used to
  25 support the operations of Pornhub and MindGeek’s other tubesites through support
  26 services, industry outreach and influencing, lobbying, and media relations in the
  27 State of California.
  28        14.    Defendant MG Premium Ltd (“MG Premium”) is a foreign company
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   1 incorporated in the Republic of Cyprus with a principal place of business at 195-197
   2 Old Nicosia-Limassol Road, Block 1 Dali Industrial Zone, Cyprus, 2540. MG
   3 Premium conducts business throughout the United States, including within this
   4 District. MG Premium is a wholly owned subsidiary of MindGeek S.a.r.l. through
   5 intermediary companies but under the direct control of the three Individual
   6 Defendants. MG Premium owns and operates certain MindGeek premium and pay
   7 sites that are supported by MindGeek’s network of free tubesites which are used as a
   8 means of creating traffic to, and revenues for, these premium services. Those
   9 premium sites are one of the more frequent subjects of advertisements placed on
  10 Pornhub and other MindGeek tubesites, including its CSAM and others trafficked
  11 content used to attract and more deeply engage users on those sites.
  12        15.    Defendant MG Global Entertainment, Inc. (“MG Global
  13 Entertainment”) is a corporation incorporated in the state of Delaware, with its
  14 principal place of business at 21800 Oxnard Street, Suite 150, Woodland Hills,
  15 California 91367. MG Global Entertainment is a wholly owned subsidiary of
  16 MindGeek S.a.r.l., either directly or through intermediary companies, but is directly
  17 controlled by the three Individual Defendants. MG Global Entertainment is used to
  18 support the operations of Pornhub and other MindGeek tubesites and paysites
  19 through support services such as moderation, formatting, review, and approval of
  20 content, industry outreach and influencing, lobbying, and media relations in the State
  21 of California and throughout the United States.
  22        16.    Defendant 9219-1568 Quebec, Inc. (d/b/a MindGeek) (“MindGeek
  23 Canada”) is a company organized and existing under the laws of Canada with a
  24 principal place of business located in Montreal, though it conducts business
  25 throughout the United States, including within this District. It is a wholly owned
  26 subsidiary through various intermediary entities of MindGeek S.a.r.l. but is directly
  27 controlled by the three Individual Defendants. MindGeek Canada directly employs
  28 Defendants Antoon and Tassillo as well as the other employees who actually direct
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   1 and manage all of MindGeek S.a.r.l.’s purported subsidiaries and MindGeek S.a.r.l.
   2 itself, which is along with all the MindGeek entities simply the alter ego of each
   3 other and ultimately the three Individual Defendants who directly control them.
   4         17.   Defendant Bernd Bergmair (also known as Bernard Bergmair) is a
   5 resident of Hong Kong, China and was the majority owner of MindGeek until 2023.
   6 Bergmair, while not formally an executive or employee of any MindGeek entity,
   7 was, along with Antoon and Tassillo, their alter ego, and actually exercised ultimate
   8 control over all such entities and their collective business, including being aware of,
   9 endorsing, and approving the illegal activities alleged herein.
  10         18.   Defendant Feras Antoon is a resident of Canada and was one of the
  11 minority owners of all the MindGeek entities until 2023. He was also an employee of
  12 MindGeek Canada and de facto CEO of all the MindGeek entities. Antoon was,
  13 along with Bergmair and Tassillo, the alter ego, and exercised control over all such
  14 entities and their collective businesses, including being aware of, endorsing, and
  15 implementing the illegal activities alleged herein.
  16         19.   Defendant David Tassillo is a resident of Canada and was one of the
  17 minority owners of all the MindGeek entities until 2023. He was also an employee
  18 of MindGeek Canada and de facto COO of all MindGeek entities. Tassillo was,
  19 along with Bergmair and Antoon, the alter ego, and exercised control over all such
  20 entities and their collective businesses, including being aware of, endorsing, and
  21 implementing the illegal activities alleged herein.
  22         20.   As set forth herein, MindGeek has incorporated numerous subsidiaries
  23 and sister companies around the world for the purpose of avoiding liabilities and to
  24 hide the identity of the entities and individuals behind its corporate actions.
  25 Consistent with this objective, MindGeek S.a.r.l, and all other MindGeek entities
  26 operate as a single business enterprise solely dedicated to producing, distributing,
  27 and monetizing pornography on the Internet. As alleged herein, in doing all acts
  28 alleged in this complaint, and as a business generally, MindGeek S.a.r.l and all of its
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   1 subsidiary and sister companies were and are alter egos of one another and ultimately
   2 the alter egos of the three Individual Defendants.
   3         21.   More specifically, although the MindGeek business was run during the
   4 period covered by the complaint through hundreds of subsidiaries, affiliates, and
   5 related parties located in dozens of jurisdictions throughout the world, in reality this
   6 entire structure is a sham and the alter ego of the Individual Defendants, each of
   7 whom actually exercises direct control over the entire organization despite not being
   8 directors or executives of the vast majority of these entities and not otherwise having
   9 standing to do so in any capacity consistent with the corporate form. This corporate
  10 structure was not created and is not maintained for any legitimate business purpose
  11 or need of the organizations and has no economic substance but instead to
  12 (a) circumvent tax, money transfer, and pornography laws in the United States and
  13 other countries in which MindGeek actually does business; (b) facilitate self-dealing;
  14 (c) obscure MindGeek’s ownership, business practices, and transfers of money;
  15 (d) impede regulatory scrutiny and enforcement; and (e) insulate the Individual
  16 Defendants from legal accountability.
  17         22.   In doing so, the MindGeek Defendants operate as a single business
  18 entity run by the Individual Defendants by, among other things, (a) being directly
  19 dominated and controlled by the three Individual Defendants in their capacity as
  20 owners; (b) commingling their funds and other assets, failing to segregate funds
  21 between them, and diverting corporate funds and assets without authorization for
  22 noncorporate uses; (c) treating each other’s assets as their own; (d) holding
  23 themselves out as being personally liable for the debts of each other; (e) failing to
  24 keep bona fide, accurate, and complete corporate and financial records; (f) using the
  25 same business locations and employing the same employees; (g) failing to adequately
  26 capitalize; (h) using each other as a conduit for a single venture of themselves;
  27 (i) failing to maintain arm’s length relationships among themselves; and (j) diverting
  28 assets without consideration from/to one another to the detriment of creditors,
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   1 including Plaintiff.
   2         23.    Recognition of the privilege of separate existences between the
   3 Individual Defendants and the MindGeek Defendants would promote injustice,
   4 unfairness, and fraud. The sham corporate structure was established and maintained
   5 for illegal purposes and to insulate the Individual Defendants from liability when, in
   6 fact, they were ignoring those corporate structure and distinctions in their actual
   7 running of the business and directing the practices that give rise to this case.
   8 Accordingly, any separateness is to be disregarded. As such, the Individual
   9 Defendants and MindGeek Defendants are jointly and severally liable in this action
  10 as alter egos.
  11         24.    In doing all things alleged herein, the MindGeek Defendants were
  12 agents, servants, representatives, partners, joint venturers, affiliates, parents,
  13 subsidiaries, and/or employees of each other in the acts and/or omissions herein
  14 alleged. The MindGeek Defendants were acting within the course and scope of their
  15 authority as such agents, servants, representatives, partners, joint venturers, affiliates,
  16 parents, subsidiaries, and/or employees and with the permission, authorization,
  17 consent, and ratification of each other.
  18         25.    Defendant Colbeck Capital Management LLC (Colbeck Capital) is a
  19 Delaware limited liability company with its principal places of business at 888 7th
  20 Avenue New York, New York 10106. Colbeck Capital Management is the hedge
  21 fund manager for the Colbeck hedge funds through which Colbeck Capital financed
  22 the trafficking enterprise alleged below.
  23         26.    Colbeck Doe Fund 1-3 (“Colbeck Funds” together with Colbeck
  24 Capital, “Colbeck”) are the hedge funds through which Colbeck Capital financed the
  25 trafficking enterprise alleged herein.
  26         27.    Redwood Capital Management (“Redwood Capital Management”), LLC
  27 is a Delaware limited liability company with its principal place of business at 250 W.
  28 55th Street, New York, New York 10019. Redwood Capital Management is the
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   1 hedge fund manager for the other Redwood hedge funds through which Redwood
   2 Capital financed the trafficking venture alleged below.
   3         28.   Redwood Does 1-7 (together with Redwood Capital Management,
   4 “Redwood”) are the funds through which Redwood Capital financed the trafficking
   5 venture alleged herein.
   6         29.   Defendant Visa Inc. (“Visa”) is a corporation incorporated in the state of
   7 Delaware with a principal place of business at P.O. Box 8999, San Francisco,
   8 California 94128. Visa recognized MindGeek as an authorized merchant and
   9 processed payment to its websites including but not limited to Pornhub, and
  10 continued processing payments for its business throughout the period covered by this
  11 Second Amended Complaint.
  12                             JURISDICTION AND VENUE
  13         30.   This action arises under the Trafficking Victims Protection Act
  14 (“TVPA”), 18 U.S.C. §§ 1589-1595, federal child pornography and sexual
  15 exploitation laws, 18 U.S.C. §§ 2252A, 2255, and state statutes and common laws.
  16         31.   The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
  17 and has supplemental jurisdiction over pendent state-law claims under 28 U.S.C.
  18 § 1367.
  19         32.   This Court has personal jurisdiction over defendants pursuant to, inter
  20 alia, 18 U.S.C. § 2255 because each defendant transacts business on a systematic and
  21 continuous basis in the United States and this District and/or has engaged in tortious
  22 misconduct here in violation of U.S. law, Rule 4(k)(2) of the Federal Rules of Civil
  23 Procedure which provides a federal forum for claims over the foreign defendants,
  24 and under the California long-arm statute, Cal. Civ. Proc. § 410.10, because each
  25 defendant, directly and through agents, transacts business within the state; committed
  26 tortious acts and omissions within the state; committed tortious injury in the state
  27 caused by an act or omission outside the state; regularly does business, engages in
  28 persistent course of conduct, and derives substantial revenue from services rendered
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   1 in the state; owns, uses, and possesses real property within the state; or is registered
   2 to do business in and has consented to personal jurisdiction in this state.
   3         33.    Among other things, defendants (i) directed their activities at United
   4 States citizens and California residents, (ii) derived benefit from United States
   5 citizens’ and California residents’ activities, (iii) created a substantial connection
   6 with the United States and the state of California, (iv) engaged in significant
   7 activities in the United States, including within California, (v) created continuing
   8 contractual obligations between MindGeek and United States entities and citizens,
   9 including California citizens, and (vi) caused foreseeable harm to plaintiffs in this
  10 country, state, and district.
  11         34.    Defendants have offices throughout the United States, including in this
  12 State and in this District and conduct business directly related to the tubesites at issue
  13 in this case both in this District and throughout the United States. Specifically,
  14 MindGeek USA and MindGeek Global Entertainment maintain their principal place
  15 of business at 21800 Oxnard Street, Suite 150, Woodland Hills, California 91367.
  16 Defendant Visa’s principal place of business is located at P.O. Box 8999, San
  17 Francisco, California.
  18         35.    Moreover, the MindGeek Defendants conduct business in this country
  19 and state through a network of shell entities which are registered to do business in the
  20 United States and California, conduct business in this country and state, committed
  21 tortious acts in this country and state, and committed tortious acts outside the country
  22 and state that caused harm in the United States, California and this District. These
  23 putative shell entities, agents, and alter egos, include, but are not limited to,
  24 California-based entities MG Billing U.S. Corp, MG DP Corp., MindGeek LLC, MG
  25 Holdings Ltd.; U.S.-based entities MG Processing Corp., RK Holdings LLC, MG
  26 Global Entertainment Inc., and MG Billings U.S.; and Defendants MindGeek S.a.r.l.,
  27 MG Freesites Ltd, MindGeek USA. Redwood and Colbeck also have principal
  28 places of business in the United States, specifically in New York.
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   1         36.   The illegal materials that the MindGeek Defendants and its agents and
   2 alter egos solicit, fund, produce, modify, disseminate, advertise, and monetize are
   3 created in the United States, including in among other locations this state, uploaded
   4 in this country and State, and stored on servers in the United States. Indeed, the
   5 MindGeek Defendants transmit millions upon millions of videos and images to and
   6 from this State and process millions of dollars through the State on an annual basis.
   7         37.   Furthermore, MindGeek derives substantial profits from U.S-based
   8 operations, including from California-based users. MindGeek’s tubesites are some
   9 of the most trafficked websites on the internet, generating an enormous amount of
  10 revenue—over $460 million in 2018. More recent estimates suggest that figure is
  11 low, as the online porn industry as a whole—which is dominated by MindGeek—
  12 may generate as much as $97 billion per year. By comparison, Netflix generates
  13 approximately $11.7 billion in annual revenue. In 2020, MindGeek’s tubesites
  14 received an average of 3.17 trillion monthly web impressions, more than internet
  15 giants Amazon (2.58 trillion), Netflix (2.47 trillion), and Reddit (1.55 trillion), a
  16 significant percentage of which is comprised of U.S.-based users and generated from
  17 U.S.-based user uploads, including in California. As of 2019, Los Angeles is the
  18 city with the fourth highest volume of Pornhub.com usage in the world.
  19         38.   MindGeek profits from United States users, including California
  20 residents by, inter alia, (i) selling targeted advertising directed at United States-based
  21 citizens and California residents on free pornographic videos hosted on MindGeek’s
  22 tubesites, (ii) selling MindGeek’s Pornhub Premium service to United States
  23 residents and California residents for $9.99 per month, (iii) directly selling United
  24 States citizens and California residents a license to view MindGeek’s ModelHub
  25 content, and (iv) selling customer data to United States and California residents.
  26         39.   Additionally, MindGeek partnered and shared advertising revenue with
  27 numerous sex traffickers who reside in the United States and California, uploaded
  28 and distributed sexually explicit videos of the U.S. based plaintiff without her
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   1 knowledge or consent, and generated advertising revenue and other financial benefits
   2 from those uploads.
   3         40.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because
   4 a substantial part of the events or omissions giving rise to this action occurred in this
   5 District. Further, MindGeek maintains an office in this judicial district and conducts
   6 substantial business within the district.
   7                              FACTUAL BACKGROUND
   8 I.      MindGeek’s Basic Business Model.
   9         41.   MindGeek owns dozens of websites commercializing pornography that
  10 fall into two general categories. It operates free “tubesites” that contain free,
  11 purportedly user populated content, and premium “paysites” where it sells content,
  12 services, and merchandise. MindGeek attracts users to its tubesites by providing
  13 valuable services, including the ability to access, download, upload, and exchange
  14 free content; assistance in finding content they wish to view and uploading content in
  15 a manner that will maximize its exposure; and messaging, file-share, crypto, VPN,
  16 and Tor services to allow them to communicate and exchange free content with other
  17 users privately and anonymously. Users can also become so-called “verified” users
  18 or members of MindGeek’s “ModelHub” program and earn a share of MindGeek
  19 revenues earned from their content.
  20         42.   These offerings have value to users for many reasons beyond the mere
  21 access to free pornography and revenue sharing. For many, the ability to share and
  22 widely disseminate content that they prefer on the largest online pornographic
  23 platform, develop an online presence and network with others with similar
  24 preferences, and receive, exchange, and view the content from others with similar
  25 tastes has great value, including being able to do so privately and anonymously in a
  26 manner that would be difficult for authorities to trace. This is particularly so for
  27 predators who traffic in child pornography and other nonconsensual content because
  28 the wide dissemination of that content is part of the perverse gratification they
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   1 experience from their exploitation, and it allows them to connect and share with
   2 others who possess similar preferences and content.
   3         43.   In addition to being the largest internet pornography platform, users
   4 who value being able to widely disseminate videos receive value from the robust
   5 content development support MindGeek provides. Specifically, MindGeek does not
   6 simply provide a neutral platform or means to post content online; it proactively
   7 helps the user associate substantive messaging to the image to enhance its ability to
   8 garner attention. This includes instructions on “how to” maximize attention with
   9 suggested titles, descriptions, and categories that MindGeek’s SEO analysis has
  10 determined most effectively draw attention to that particular type of content,
  11 including child pornography. In addition, MindGeek’s own formatters review and
  12 modify this presentation as they deem appropriate for the same purpose, including
  13 the actual titles, tags and categories, as well as the videos themselves. And
  14 MindGeek then proactively draws attention to the content by combining it with other,
  15 similarly described content and suggesting it to others who MindGeek identifies as
  16 likely to be interested in the form of proposed searches or playlists.
  17         44.   This was a collaborative development of content that was materially
  18 more than the image itself and which was also tailored to the nature of the image,
  19 including in the case of child pornography and other nonconsensual content. While
  20 merely providing a platform to post an image that others could view might be
  21 neutral, preparing specific messaging and associated descriptions that are tailored to
  22 the image’s content is not.
  23         45.   For predators seeking to further their exploitation by widely publicizing
  24 abusive content, this assistance is of enormous value. Moreover, providing a
  25 platform is a de minimis part of this value compared to MindGeek’s substantive
  26 addition to, and amplification of, the image’s distinct characteristics of interest.
  27         46.   MindGeek provides additional value by itself uploading the content to
  28 websites other than the particular website the user chose to upload to – thus itself
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   1 becoming the content provider for that website. It does this as a matter of course
   2 with respect to some websites, and asks the user about others as part of their explicit
   3 online agreement permitting MindGeek to use the content in exchange for the user’s
   4 ability to upload it.
   5         47.      MindGeek offers these valuable services because it too receives great
   6 value. That is, the users provide the most valuable “coins of the realm” to
   7 MindGeek’s business model: traffic and content. MindGeek uses this traffic and
   8 content to (a) advertise and drive traffic to MindGeek and third-party “premium”
   9 pornographic sites or services; (b) sell advertising for non-pornographic third-party
  10 products and services; and (c) harvest data to identify user interests and optimize
  11 their website content to attract even more traffic and content. It also sells the data to
  12 third-parties.
  13         48.      The Gold Standard for generating traffic and obtaining content is to be
  14 the top result for queries on search engines like Google.     To do this, MindGeek’s
  15 almost singular focus is Search Engine Optimization or SEO. Indeed, publicly,
  16 MindGeek did not even mention on its corporate website that it is involved in
  17 pornography.        Rather, it described itself exclusively as a technology company
  18 skilled in SEO and related services. SEO is the science of optimizing a website’s
  19 ability to garner top search rankings and depends on many factors, but most
  20 prominently, content volume, how well that content is described in detail, the
  21 website’s ability to capture and analyze user interactions and preferences, and traffic.
  22         49.      In establishing the valuable mutual relationship between MindGeek and
  23 its users, they enter into an explicit online agreement whereby the users agree, among
  24 other things, that MindGeek can use the content in exchange for the services
  25 MindGeek will provide.        Moreover, although the users also putatively agree to
  26 follow the website’s “Terms of Service” (“TOS”), there is a tacit understanding
  27 between MindGeek and those trafficking in nonconsensual content that the TOS are
  28 not enforced or real, which MindGeek communicates with the ubiquitous presence
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   1 and proactive promotion of such content on the websites themselves.
   2          50.   For example, according to those TOS, content depicting racism, hate,
   3 incest, and children (even by adults) were all banned but nevertheless omnipresent on
   4 the platform. Indeed, numerous versions of “underage,” “teen,” and “incest” were
   5 consistently among the most searched search terms and popular results in
   6 MindGeek’s algorithmic video and search term suggestions. Likewise, numerous
   7 versions of “drunk,” “drugged,” “passed out,” and others indicating incapacitation
   8 were also among search terms sought most often by users and suggested by
   9 MindGeek. Irrespective of the TOS, the very loud messaging of MindGeek’s
  10 website was such content and users who sought to upload or view were welcome.
  11 II.      MindGeek’s Trafficking Venture
  12          A.    The Pre-Online Porn Industry
  13          51.   Prior to the explosion of online pornography, there was a relatively
  14 effective federal and state statutory framework policing child pornography, other
  15 non-consensual content, and copyright piracy in the porn industry.
  16          52.   First, federal law mandates that “producers” of pornographic material
  17 verify the age and consent of all performers via government-issued identification;
  18 maintain specified signed records of such verification for inspection; and mark all
  19 pornographic materials with disclosures certifying this verification had been
  20 completed and where the records can be inspected. It is a federal felony to violate
  21 these requirements. The statute also makes it a federal crime “for any person” to
  22 “sell or transfer or offer for sale or transfer” any pornographic material that did not
  23 contain the required age verification disclosures. This imposed a compliance
  24 obligation on those through whom porn producers sell or transfer content or offer to
  25 do so.
  26          53.   Second, federal and state laws throughout the United States criminalize
  27 child pornography and impose near strict criminal liability for possessing or
  28 distributing such content. Federal law also required those who came into possession
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   1 of child pornography to report it to the National Center for Missing and Exploited
   2 Children (“NCMEC”).
   3        54.    Third, federal and state laws also criminalized, among other things, sex
   4 trafficking as well as benefiting from a sex trafficking venture, such as the
   5 commercialization of pornography produced with trafficked individuals. These anti-
   6 trafficking laws provided substantial criminal and civil sanctions for producing or
   7 monetizing non-consensual pornography, including child pornography.
   8        55.    Fourth, copyright laws likewise imposed substantial criminal and civil
   9 sanctions for willful copyright piracy.
  10        56.    Collectively, these various legal regimes effectively policed child
  11 pornography, nonconsensual content, and copyright infringement in the pre-online
  12 industry.
  13        B.     MindGeek’s “Unrestricted Content” Business Model.
  14        57.    The explosion of online porn overwhelmed the established porn industry
  15 and existing legal regime governing it. NCMEC published a study in 2020 reporting
  16 that from 1998 to 2019 there was an “insatiable demand” for internet CSAM/child
  17 pornography, with millions of reported instances of such videos posted online,
  18 including 8.4 million in 2018, with a “trend toward more egregious sexual content in
  19 later years.” The same was true for other forms of nonconsensual content including
  20 adult sex trafficking, rape, and revenge porn.
  21        58.    MindGeek was a primary driver of this metastasizing criminality. To
  22 secure the most traffic and content and, thereby, dominate search engine results, it
  23 knowingly exploited the lag in awareness, capabilities, and enforcement concerning
  24 online pornography to aggressively solicit, pay for, and curate and optimize child
  25 pornography and other nonconsensual content on its websites.
  26        59.    MindGeek’s motivation for its unrestricted use of nonconsensual
  27 content was its singular priority of using SEO to be the top search engine website
  28 result in any porn related search. As one insider explained, MindGeek’s
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   1 sophisticated SEO went beyond merely acquiring content and traffic, and extended to
   2 optimizing how that content was described:
   3               what happen[ed] with Pornhub . . . is the fight they have on
   4               Google results. And that’s where Pornhub lives or dies. . .
   5               the fight they’ve had with sites like Xvideos, or XHamster,
   6               or XXX and XVideos . . . the fight they’ve had with
   7               rankings is just crazy. And that’s the thing, . . . it[’]s about
   8               the long searches, it[’]s about the long tail that are the few
   9               searches but enough to matter. And that’s where instead
  10               of you looking for one keyword, you’re looking for longer
  11               strings of words. And whoever is having more content
  12               and more diverse content, wins.
  13         60.   MindGeek’s plan to “win” was an “unrestricted content” SEO model
  14 that knowingly and intentionally solicited, optimized, and commercialized content of
  15 any kind, including child pornography and other nonconsensual content, and avoided
  16 any policy, process, or technology that would exclude illegal content or limit or even
  17 slow the upload of content generally to its websites. Like a soft-drink company
  18 selling different beverage types and flavors to capture all existing consumer tastes,
  19 MindGeek proactively sought to service demand for all pornographic tastes,
  20 including tastes for child pornography, rape, extreme violence, racism and hate, and
  21 other illegal acts like bestiality. As one whistleblower explained, “there is a lot of
  22 f***ed up sh*t that is going on” (asterisks added) on MindGeek’s tubesites, and “it is
  23 not an accident . . . ownership and management are clearly complicit . . . 100%”
  24 because “[i]t’s just money” they care about.
  25         61.   MindGeek’s unrestricted content model relied on three knowing and
  26 intentional practices. First, it systematically ignored the laws in the jurisdictions in
  27 which it did business. Second, it knowingly and intentionally created a faux
  28 “moderation” process that was designed not to exclude child pornography and other
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   1 nonconsensual content but to proactively attract, optimize, and monetize it, while
   2 also masking it from authorities. Third, it proactively used its extensive SEO
   3 technology to curate child pornography and other nonconsensual content by further
   4 “optimizing” its descriptions, tags, titles, and video formats and arranging
   5 recommended searches to find, and curate playlists of, such content.
   6                1.     MindGeek Systemically Ignores Pornography Laws.
   7         62.    From MindGeek’s inception, it used a shifting, opaque, and Byzantine
   8 international corporate structure to, among other things, avoid rigorous laws
   9 governing pornography, particularly child pornography. This structure obscured
  10 MindGeek’s ownership and operation from authorities and manufactured the fiction
  11 that it was a Luxembourg company operating out of Cyprus. It selected these
  12 jurisdictions because they were havens for tax evasion, money laundering, and had
  13 weak laws and enforcement related to pornography. As a whistleblower explained,
  14 “spreading the corporate structure out in hundreds of shells located in dozens of
  15 jurisdictions allowed spreading of transactions out such that they did not raise
  16 suspicion in any one country, and even if they did it was very difficult for that
  17 jurisdiction to investigate the suspicion when much of the information was in other
  18 jurisdictions.”
  19         63.    MindGeek used this corporate fiction to ignore pornography laws in the
  20 United States in particular, where it generated most of its revenues, even though its
  21 operations were clearly covered under those laws. The United States was
  22 MindGeek’s largest market, and it maintained servers, subsidiaries, and numerous
  23 payment processing agents in the United States to service that market. Those U.S.
  24 servers contained virtually all of its content. When users uploaded content onto
  25 MindGeek’s tubesites, it was uploaded onto its U.S. servers, automatically
  26 transferred to certain of its other tubesites, transferred to still other tubesites if the
  27 uploader chose to do so, and transferred to other users via downloads or viewing, all
  28 of which went through U.S. servers for any users in the United States (which was the
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   1 majority). In addition, the vast majority of MindGeek’s revenues were earned in,
   2 and the payments processed, through United States financial and banking
   3 institutions.
   4         64.     MindGeek also took all of the content from libraries it acquired like
   5 Redtube, YouPorn, Fake Taxi, etc., and transferred that in bulk to its servers,
   6 including its U.S. servers, without any initial review at all, let alone verifying the
   7 content complied with 18 U.S.C. § 2257.
   8         65.     All of these functions involved transferring pornographic content in and
   9 around the United States through U.S. servers and made MindGeek the largest
  10 pornography company selling, transferring, or offering to sell or transfer
  11 pornographic content in the United States under 18 U.S.C. § 2257.
  12         66.     Indeed, in 2023, Defendant MindGeek S.a.r.l., on behalf of MindGeek
  13 USA and MG Freesites (which operates its tubesites), entered into a deferred
  14 prosecution agreement (“DPA”) with the United States Attorney’s Office of the
  15 Eastern District of New York for unlawful monetary transactions involving proceeds
  16 from sex trafficking based on content uploaded to Pornhub, YouPorn, and Redtube.
  17 In doing so, these defendants “admit[ted], accept[ted] and acknowledge[d] that it
  18 [was] responsible under United States law for the acts of its officers, directors,
  19 employees and agents with respect to” their tubesites involved in these transactions.
  20         67.     Nevertheless, MindGeek used the fiction that it was not operating in the
  21 United States to systematically ignore 18 U.S.C. § 2257. It did this because
  22 complying with those laws would have utterly frustrated its unrestricted content
  23 model and made it impossible for it to acquire the enormous library of user-uploaded
  24 content that its business plan depended on. Among other things, complying with
  25 § 2257 would have prevented virtually all of MindGeek’s so-called uploaded
  26 “amateur” content for which written consents were almost never acquired and, in any
  27 event, were universally unavailable. It would also have excluded the ubiquitous
  28 pirated professional content for which users also did not possess the required
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   1 documentation. And even if these hurdles could be overcome, complying with the
   2 law would have limited the amount of content that could be uploaded by excluding
   3 illegal content that MindGeek knowingly and intentionally intended to use to “win”
   4 the SEO race and dominate the online porn industry. MindGeek ignored § 2257
   5 even though it acknowledged internally that it was subject to the statute.
   6        68.    Similarly, MindGeek ignored the federal law requiring it to report to
   7 NCMEC all child pornography it received and possessed on its servers (which
   8 included all its uploads of such content because they were all co-located on its
   9 United States servers). Complying with this law would have also devastated its
  10 unrestricted content model by discouraging the upload of such content and flagging
  11 for U.S. authorities the scope of the problem and MindGeek’s continued possession
  12 of such illegal content in the U.S.
  13        69.     Similarly, MindGeek ignored Canada’s federal laws related to
  14 pornography by likewise having no way to verify the consent of those appearing in
  15 its content. In February 2024, Canadian authorities published findings of their
  16 investigation into MindGeek and found that it had, and continued to, violate
  17 Canadian law by failing to meet these requirements. In doing so, they rejected
  18 MindGeek’s claim that it was not subject to Canadian jurisdiction because it was
  19 headquartered in Luxembourg and operating out of Cyprus. Rather, they found that
  20 MindGeek was headquartered and operating, in fact, in Canada.
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   1               2.    MindGeek’s Faux Moderation Process.
   2        70.    In addition to ignoring the applicable laws concerning pornography,
   3 MindGeek maintained an exclusively human, and completely performative,
   4 “moderation” function that was hopelessly under-staffed, under-resourced, and not
   5 actually tasked with excluding illegal or otherwise purportedly banned content.
   6 What it was actually tasked with was formatting the descriptive part of the content,
   7 based on MindGeek’s SEO analysis, to maximize its SEO value and mask blatant
   8 descriptions of criminality. Although MindGeek has publicly admitted every upload
   9 was reviewed, it was only reviewed long enough to format the descriptive part of the
  10 content, not moderate its legality.
  11        71.    Likewise, although MindGeek publicly claimed it used technology to
  12 screen child pornography and other illegal content, it actually was not doing so to
  13 ensure such content was not uploaded. MindGeek instead applied that technology to
  14 actively curate and optimize child pornography and other nonconsensual content to
  15 maximize its revenues just as it did with licit content. MindGeek’s knowing and
  16 intentional policy of not excluding any, and instead proactively optimizing all,
  17 content even extended to content that violated its equally performative TOS.
  18        72.    MindGeek’s motive in doing so was explicitly explained by its own
  19 Social Media Manager who publicly stated that it would be a “disaster” to try to
  20 restrict users and uploaders to adults—despite the TOS adult-only requirement—
  21 because “then no one would upload anything,” it would “cost[] us money to verify,”
  22 “devastate[] traffic,” and “MindGeek loses money.”
  23        73.    This MindGeek spokesperson further warned that even pretextual
  24 restrictions that could be evaded easily would be unacceptable because most minors
  25 would not be able to figure out how to circumvent them: “you would get around
  26 them, a lot of people here would too but the large majority won’t know how.” Thus,
  27 even though MindGeek’s TOS technically required users to be 18, it plainly did not
  28 intend to actually prevent minors from accessing its websites because that would
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   1 limit traffic and content from adult and minor children alike. This failure was not
   2 mere indifference or negligence, it was proactive and intentional – the intent was to
   3 capture and monetize such content.
   4         74.   The same was true for child pornography and other nonconsensual
   5 content. As one insider explained, “they knew they were doing illegal stuff,” but
   6 they refused to take any steps to restrict content or traffic because it would restrict
   7 SEO and revenue:
   8               No doubt. I’m sure . . . Were we planning any efforts to
   9               stop that? Absolutely not. Because of views. Every
  10               time you put an extra layer of control on who watches, you
  11               lose content. And it[’]s the same thing, in this case, if you
  12               put an extra layer of control on what content goes up, you
  13               lose content. And content in this case is more pages, and
  14               more pages is more results, more results is more paid
  15               views.
  16         75.   MindGeek’s knowledge and intentional use of nonconsensual content
  17 was widely understood within the company. An insider explained one such
  18 notorious example that was common knowledge internally:
  19               I remember there was one girl, it was huge, from when I
  20               was there. But she always seemed, in the videos she never
  21               looked okay. Like I remember she was always high. I
  22               mean something that, according to the minimum rules of
  23               decency, you would at least have a bit of the type of
  24               thinking you know, ‘is it okay to have this type of content?
  25               Is she really, you know in a state where she should be
  26               doing these videos?
  27         76.   Thus, while non-pornographic tubesites with far less content uploaded
  28 on a daily basis (and far fewer users seeking illegal conduct) employed tens of
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   1 thousands of trained and well-paid “moderators” and sophisticated technology to
   2 ensure content was legal and complied with the terms of service, MindGeek’s
   3 exclusively human moderation team consisted over time of a handful to never more
   4 than about 30 untrained, minimum wage contractors in Cyprus because of the
   5 availability of cheap labor. It was impossible for this group to genuinely moderate
   6 the content, which would have required the careful review of 700-1200 videos a day
   7 per moderator according to insiders, advocates, media sources, and others, including
   8 the Canadian Privacy Commission in its 2024 report finding MindGeek’s moderation
   9 and other business practices violated Canadian law.
  10         77.   In reality, the real function of these “moderators” was SEO formatting,
  11 and they internally were called “content formatters,” not “content moderators.” As
  12 formatters, their task was not to moderate legality but to format the videos to
  13 optimize SEO and to conceal explicit mentions of criminality. To do this
  14 formatting, they would add or edit the content title, tags, categories, and descriptions
  15 to conform with MindGeek’s algorithmic code words so that those algorithms could
  16 most effectively categorize them, add them to playlists, and retrieve them in response
  17 to searches. They would also sometimes edit the video for the same purposes.
  18         78.   Further, they “scrubbed” words in the titles and tags that unequivocally
  19 indicated criminality. While the red flags of criminality were removed, the video
  20 would nevertheless be uploaded with optimized titles, tags, and descriptions that
  21 would still permit internet and MindGeek search engines to suggest the video to
  22 users searching for that illegal content.
  23         79.   As an insider familiar with the process explained:
  24               They basically went really fast with the content. It’s not
  25               like they are watching every Pornhub video. They kind of
  26               like would scroll through it, make sure that the titles didn’t
  27               have anything awful, and that’s it. And it’s mostly about
  28
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   1               the titles you know? Because in the end if you can’t find it
   2               through a search, then no one who works against human
   3               trafficking will. Right?
   4 (Emphasis added.)
   5
            80. When MindGeek moderators identified titles or tags that too explicitly
   6
     flagged illegal content, they would notify the user to change the title or change it
   7
     themselves. But MindGeek would not disable the illegal video or suspend the user.
   8
     For example, a member of the Pornhub model program, whose revenues were shared
   9
     with MindGeek, had multiple videos of underage women with titles indicating they
  10
     were underage. One video of an underage and incapacitated woman carried the
  11
     viewer comments, “I thought she was dead until five minutes in” and “I don’t think
  12
     that girl is old enough to buy lottery tickets. If you catch my drift.” The uploader
  13
     originally titled the video, “delete your history after watching this,” which obviously
  14
     flagged the video as child pornography. But then he changed the title and when
  15
     asked why he did so by other users, he explained, “Pornhub support told me to
  16
     change all titles.”
  17
            81. Moreover, formatting supervisors clearly communicated that actually
  18
     screening questionable or even obviously illegal content was not the formatters’ task.
  19
     The goal was uploading content and formatting it for use, including nonconsensual
  20
     content, according to the code words and instructions from the SEO analysis. Thus,
  21
     one insider explained that the woman with overall responsibility for formatting and
  22
     ostensible “moderation” was a “sociopath” who would regularly “tell her team to just
  23
     look the other way.” According to another insider, there was a motto drilled into
  24
     formatters: “Don’t f**k with the f**ker.” (Asterisks added). As one whistleblower
  25
     explained, a typical response to a formatter questioning legality of content would be:
  26
     “Imagine the trouble I will get in if we report this and take time and we don’t meet
  27
     quota and you will lose your job.”
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   1        82.    Put simply, as a former MindGeek employee told the New York Times in
   2 2020, “[t]he goal for a content moderator is to let as much content as possible go
   3 through” to maximize revenues. Indeed, MindGeek’s yearly bonus system for its
   4 faux moderators was based on the number of videos they approved for upload.
   5        83.    MindGeek also did nothing to remove or even investigate patently
   6 underage and nonconsensual content that was flagged by users. To the contrary, it
   7 would take extraordinary steps to ignore, frustrate, or minimize the impact of those
   8 trying to flag illegal content. For example, for seven years Pornhub contained a
   9 video of a completely unconscious girl with underdeveloped breasts clearly being
  10 physically assaulted and raped. The title of the video was “dead pig half-opened
  11 eyes after being drugged.” That this title was literally true was painfully obvious
  12 from the video. The rapist repeatedly displayed the victim’s dilated, red eyes and
  13 even touched her eyeball to prove she was truly unconscious. No moderator could
  14 have missed the obvious rape depicted in this video.
  15        84.    Another example involved one of MindGeek’s most popular partner
  16 channels (and a constant focus of its SEO optimization), “Exploited Teens Asia.” A
  17 representative video on this channel involved a young girl in a child’s room
  18 surrounded by toys and stuffed animals. She was being aggressively penetrated by
  19 an old man and she was crying out for him to stop. Viewer comments demonstrated
  20 the obviously non-consensual nature of the video:
  21               Do we really know sex trafficking when we see it!!
  22               EXPLOITED TEENS ASIA she can’t be older than 15 or
  23               16. This is a real victim. In some moment she looks like
  24               she wants to cry. You can see that she doesn’t want this,
  25               you can see that she wishes he’d leave her alon[e]! I can’t
  26               believe 9k liked the image of an old perv humping a
  27               helpless GIRL! Flag the f*** out of this and hopefully
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   1                pornhub will remove it. My heart breaks for her.
   2                (Asterisks added).
   3 Others comments likewise identified this as rape: “She is crying ‘kurushi’ meaning
   4 painful and begging him to stop!” and “She looks underage af.”
   5         85.    The video had been up for 3 years and received over 4 million views,
   6 certainly performance that MindGeek SEO would have closely analyzed and tried to
   7 recreate, and the comments had been up as much as 7 months before advocates called
   8 out the video on Twitter. In response, MindGeek kept the title, description, and
   9 tags, and swapped out the video. This was done because the SEO indicated that the
  10 explicit titles were very effective in capturing internet traffic searching for child
  11 pornography and other rape.
  12         86.    Similarly, at the end of 2019, a video of an undeniably intoxicated and
  13 incapacitated women being sexually assaulted was uploaded to Pornhub. The video
  14 was categorized as “homemade,” titled as “Misadventures of a Drunk Girl,” and
  15 tagged in the category of “teen,” “teenager, young drunk, funny.” The woman was
  16 stripped naked, unable to walk or stand, crawled when she did move, and ultimately
  17 was completely unconscious with her eyes rolled into the back of her head.
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   1         87.    Viewer comments such as, “so hot. Love how drunk she is!”,
   2 confirmed her obvious incapacity as did, “I would take advantage of her all nite.
   3 dude’s smart for trying get her to drink more. Bet he dumped loads in her stupid
   4 c*nt. I know I would.” (Asterisks added).
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             88.    Users who MindGeek directed to this video were then directed by
  15
       MindGeek’s suggested search and video algorithms to equally clear cases of rape.
  16
       In one video, the drug needle used to render the victim unconscious was then inserted
  17
       into the vagina of the victim and zoomed in on. These videos were on the site for
  18
       years and accompanied by numerous comments flagging them as obvious rape.
  19
             89.    Another video on Pornhub for over four years captured the rape of an
  20
       Indian woman. The video was not professionally produced. There was no indicia
  21
       of consent or performance. Neither the uploader nor woman were identified. The
  22
       woman was clearly in distress and desperately trying to hide her face. Two years of
  23
       user comments plainly flagged the video as rape: “this is f***ing rape!!!!!!!
  24
       bastards!!!!!!!!” (Asterisks added). MindGeek was aware of the video, its obvious
  25
       nonconsensual content, and the users’ comments. Rather than remove the video and
  26
       page, Pornhub instead censored the word “rape” from the comments and left the
  27
       video and its other tags and descriptions because they were effective in capturing
  28
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   1 internet traffic searching for rape.
   2         90.   For this video, MindGeek’s suggested search algorithms directed
   3 viewers to similar rape videos, including a young teen woman in obvious distress,
   4 crying, and trying to cover her face while her rape was recorded. The video is titled
   5 and tagged “amateur teen” and “hot Indian teen.”
   6         91.   Even worse, MindGeek also had no functioning process for victims of
   7 nonconsensual content to have that content removed, and instead actively worked to
   8 retain such content for SEO optimization. Consequently, victims who tried to get
   9 nonconsensual content removed were typically ignored, stonewalled, and stalled as
  10 much as possible to preserve the use of the content for as long as possible. This was
  11 especially a priority when the content was performing well, and MindGeek’s SEO
  12 analysts were trying to use that data to refine their algorithms to effectively solicit
  13 similar content and traffic seeking such content. Standard MindGeek practices to
  14 thwart takedowns included demanding information victims reasonably could not
  15 possess in many instances, like the URL, even though they had provided sufficient
  16 other information for MindGeek to locate it; or telling victims only the uploader
  17 could request a video be taken down, that the videos did not exist or could not be
  18 found when they did exist and could be found or had not even been searched for, and
  19 that the video had been taken down when it had not been.
  20         92.   For example, one victim had the video of her rape uploaded to Pornhub
  21 with her personal information where it remained for months despite her desperate
  22 pleas until she hired a lawyer:
  23               It was terrifying, there were people on Twitter sharing
  24               screenshots of them buying a train ticket saying they were
  25               going to come and rape me. I thought about killing myself
  26               it got so bad. Hundreds of thousands of people saw that
  27               video, which I didn’t even know I still had. It was
  28               devastating. What a horrible, humiliating thing to do to
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   1               someone. I moved in with a friend and put my flat on the
   2               market because I thought I was going to get raped. I had
   3               to change my whole life – leave my job, withdraw from
   4               almost everybody I used to work with. I used to stay in
   5               my room all weekend crying because I couldn’t deal with
   6               it. He ruined my life. I came off social media completely
   7               and the only version of me that existed online was this
   8               persona that he created.
   9         93.   Moreover, when victims or authorities succeeded in getting MindGeek
  10 to remove an illegal video, it would only disable the video but keep the webpage
  11 with its title, description, tags, and comments so that the video, though disabled,
  12 would still continue to increase SEO. When a user searching for such content
  13 landed on the disabled video’s webpage, MindGeek’s search algorithms would solicit
  14 the user with similar videos to the one disabled.
  15         94.   As one insider explained:
  16               If you do [a takedown request] through Pornhub, then
  17               Pornhub eliminates the video but keeps the page. So that
  18               page still has the titles and can still run from Google. . .
  19               Because what they want is ad impressions, because that’s
  20               what they charge for, for their clients. It’s ad impressions,
  21               ad impressions, ad impressions.
  22         95.   Remarkably, MindGeek’s indifference was so callous it extended to
  23 even public outreach from victims, such as this victim who made her report to
  24 MindGeek’s Social Media Director on social media:
  25               I was away on an international business trip when I met a
  26               man at a hotel bar and went back to his room to have
  27               sex . . . . Recently my friend sent me a Pornhub video and
  28               said it looked like me. I looked at it and it was me having
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   1               sex in the hotel room with thousands of views. My face
   2               was clearly visible in parts. The video had an insulting
   3               title calling me a slut. The channel it was on featured a
   4               dozen other videos of the same guy having sex with
   5               different women in hotel rooms with the same amateur
   6               quality . . . . I tried flagging the video with no results. I
   7               want the video taken down and the guy punished, but I’m
   8               really not sure what to do.
   9         96.   Pornhub’s only response to this report was to send the victim a link to
  10 their site’s takedown page.
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  25         97.   Not only did MindGeek not remove CSAM/child pornography it
  26 became aware of on its tubesites, or report it to authorities, it actively discouraged
  27 victims and others from reporting it to authorities and lied to do so. For example,
  28 MindGeek tried to convince a victim of CSAM/child pornography not to report its
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   1 presence on MindGeek’s tubesites and lied about MindGeek’s practice of not
   2 removing such content unless forced to do so: “You don’t need to report the urls to
   3 an agency, just flag them it[’]s very likely if it[’]s not removed it not illegal
   4 content. . . . We do have access to our entire upload library, including deleted
   5 videos and can confirm this.”
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  22         98.   Even for content that MindGeek was forced to take down, it did so in
  23 the most limited fashion possible so as to minimize the impact on its SEO. For
  24 example, even where MindGeek verified that content was child pornography or other
  25 illegal content, they would not terminate the account that uploaded it, disable the
  26 user’s ability to upload more content, search the account for other versions of the
  27 content or other illegal content, track whether the content had been downloaded or
  28 notify the downloaders that it was illegal.
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   1         99.   Moreover, MindGeek took no steps to disable the website or internet
   2 registry links to the content to prevent it from triggering search engine results.
   3 Indeed, one can still run internet searches for known CSAM/child pornography or
   4 other non-consensual content that was ordered taken down by NCMEC or otherwise
   5 and the search will bring you to Pornhub even though that video is not enabled.
   6 MindGeek’s algorithm will then direct you to similar non-disabled content. This
   7 was an intentional product of MindGeek preserving the SEO links to the video and
   8 its descriptors so they will be included in internet search engine results.
   9         100. Much worse, according to multiple insiders, MindGeek systematically
  10 and surreptitiously would reupload content that it had been forced to disable and do
  11 so in a manner in which it appeared to have been reuploaded by independent users
  12 and which circumvented MindGeek’s purported moderation. One eyewitness to this
  13 process explained that caches of disabled content “would be provided to employees
  14 on disks and they would be instructed to reupload those videos from non-MindGeek
  15 computers using specific email addresses that would allow the uploads to bypass
  16 MindGeek’s purported ‘fingerprinting’ of removed videos. . . . They say they kept
  17 the stuff on the servers to cooperate with authorities but it was really so they could
  18 reupload.”
  19         101. MindGeek has stated publicly and repeatedly that it retains on its servers
  20 all videos ever uploaded onto its tubesites. This no doubt is necessary for its
  21 reuploading practice and to maximize optimization. MindGeek, therefore, has
  22 throughout its existence illegally possessed CSAM/child pornography, and
  23 reuploaded that CSAM/child pornography innumerable times. Indeed, MindGeek,
  24 with duplicative servers in the United States and Canada (among other locations) is
  25 likely the largest non-regulatory repository of CSAM/child pornography in North
  26 America.
  27         102. Despite admitted possession of massive amounts of child pornography,
  28 until 2020, MindGeek never voluntarily made a single legally required disclosure to
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   1 authorities in the United States or Canada about that material under either countries’
   2 CSAM/child pornography laws. MindGeek failed to do so even when its possession
   3 had been publicly reported. For example, in 2019, 58 videos of a 15-year who was
   4 beaten and raped were posted on Pornhub. These videos were ultimately removed,
   5 but as per the testimony of NCMEC during Canada’s parliamentary investigation,
   6 MindGeek had never reported any instances of child sexual abuse to NCMEC as
   7 required by federal law or reported to NCMEC’s counterpart under Canadian law
   8 until late 2020 when its business practices were revealed in the New York Times and
   9 it was forced to do so.
  10         103. Likewise, in early 2020, two videos of child pornography – one
  11 involving a toddler in diapers being abused and another of a pre-pubescent girl being
  12 anally raped – were located on Pornhub. After multiple reports, MindGeek notified
  13 those flagging it that the video had been disabled, fingerprinted, and reported to
  14 NCMEC. But according to NCMEC’s own testimony, it was not reported to
  15 NCMEC. Two months later, the same two videos were discovered back up on the
  16 site, uploaded by two separate user accounts. Investigators submitted takedown
  17 requests to Pornhub that were ignored. It was not taken down until it was reported
  18 to the FBI, the FBI notified NCMEC, and NCMEC issued a takedown order to
  19 Pornhub. One reupload remained up for almost two weeks after the initial takedown
  20 requests and had over 20,000 views and an unknown number of downloads. Even
  21 after it was removed, MindGeek left the title, tags, views and url live to continue
  22 driving traffic to the site using the child rape video.
  23         104. In addition to actually facilitating its monetization of nonconsensual
  24 content, MindGeek’s faux moderation process also provided a public veneer of
  25 legality and plausible deniability to MindGeek and the Individual Defendants. Since
  26 its inception, MindGeek frequently trumpeted its robust moderation processes that it
  27 falsely claimed employed well-trained moderators and advanced technology and
  28 prevented child pornography, other nonconsensual content, and violations of its TOS.
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   1 It maintained such false statements on its websites and in response to the many
   2 public reports to the contrary.
   3         105. This phony public portrayal of MindGeek’s actual business model was
   4 essential to its agreement with payment processors like Visa and Visa’s agent banks
   5 to continue processing payments for advertising and paysite subscriptions.
   6 Although, as set forth below, Visa and its agent banks were fully aware of
   7 MindGeek’s actual business model and the falsity of its public portrayals,
   8 maintaining these public pretexts and window dressings provided these payment
   9 processors plausible deniability.
  10         106. And when such reports became so widespread that the Canadian
  11 Parliament held hearings, Antoon and Tassillo repeated this false narrative in sworn
  12 testimony. For example, Tassillo testified that he could “guarantee you that every
  13 piece of content, before it’s actually made available on the website, goes through
  14 several different filters,” including several “different pieces of software” followed by
  15 review by moderators. Tassillo claimed that “the human moderators will watch each
  16 one of the videos” and that “we always instruct all of our agents to err on the
  17 cautious side. Basically, if you have any doubt at all, just don’t let it up” to the
  18 tubesites. He also testified that MindGeek reported “all cases to NCMEC.” None
  19 of this was true.
  20         107. When one whistleblower familiar with the moderation process heard
  21 their testimony, he said, “it is a lie.” This accusation was corroborated by the
  22 findings of the Canadian Privacy Commissioner in its 2024 report concluding even
  23 as of that date that MindGeek (now called Aylo) never employed “reasonable
  24 efforts” to ensure all its content was consensual, employed “completely inadequate
  25 control measures” that were “wholly ineffective,” and “could only result in
  26 devastating consequences.” The Privacy Commissioner also found that as of 2024,
  27 MindGeek still “did not accept responsibility,” had not “take[en] necessary
  28 corrective measures,” acted “wholly inconsistent with an organization taking
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   1 responsibility for giving meaningful effect” to consent requirements, and “had not
   2 taken the necessary and responsible corrective measures to redress the significant
   3 privacy harm that was uncovered . . . It has not committed to follow our
   4 recommendations, nor has MindGeek proposed any meaningful alternative measures
   5 to address the contraventions identified” other than suing the agency to prevent it
   6 from issuing its finding and recommendations. Among other examples, it noted that
   7 MindGeek continued to allow all content to be uploaded without any moderation for
   8 significant periods of time and that 70% of this content failed to meet its purported
   9 uploading criteria.
  10                 3.    MindGeek’s SEO Technology Actively
  11                       Commercialized Nonconsensual Content.
  12           108. MindGeek intentionally did not deploy any technology to exclude non-
  13 consensual or other banned content even though it described itself as the leading
  14 SEO technology firm in the world and instead spent tens of millions of dollars on
  15 SEO technology and effort to optimize all its content, including child pornography
  16 and other nonconsensual content, in order to maximize revenues.
  17           109. Utilizing its bread and butter SEO technology to not just optimize and
  18 monetize legal content, but also enhance meaningful moderation would have been
  19 easily feasible, but MindGeek’s unrestricted content model knowingly and
  20 intentionally wanted to utilize all content and traffic, even illegal content. As one
  21 insider explained: “I’ve seen it, you can search any word, any video, you can look for
  22 the user, anything like any other database. . . . and the titles are there . . . so, why are
  23 they not searching for this and cleaning? . . . Because they want the content on their
  24 sites.”
  25           110. Indeed, when certain content adversely affected SEO performance, it
  26 was removed using the same SEO capabilities. For example, through its constant
  27 analysis, MindGeek determined that male homosexual content on its more popular
  28 tubesites was interfering with its impressions and conversions because when the
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   1 suggested video and search algorithms suggests a gay video, a material percentage of
   2 users exited the website. Accordingly, MindGeek affirmatively worked to reduce
   3 such content on the site by deleting it, transferring it to other sites, segregating, and
   4 suppressing it. No similar steps were taken when it became aware of illegal,
   5 nonconsensual content in its SEO work.
   6         111. This was a knowing, deliberate, and detailed business decision made by
   7 Bergmair, Antoon and Tassillo at the ownership level. As an insider explained,
   8 “[w]ell they know, they know everything that’s going on . . . they are very involved.
   9 For sure. . . . would Feras know? Absolutely. Would David know? Absolutely.”
  10 But, he further explained, “they don’t care” and “don’t’ even check” because all they
  11 care about is SEO and revenues.
  12         112. The Individual Defendants’ knowledge and intent to proactively
  13 embrace and monetize child pornography and other nonconsensual content existed
  14 from the start. Each of Bergmair, Antoon, and Tassillo were already doing so at the
  15 respective online porn websites they were running prior to their 2013 acquisition.
  16 This issue was one each focused on in considering that transaction and its business
  17 risks and in their business planning throughout the decade they operated it. This
  18 included talking about it with the lenders, prospective lenders and investors, payment
  19 processors, employees, and government agencies, including PayPal, which
  20 terminated its relationship with MindGeek in 2019 because of illegal content.
  21 Throughout this period, and as set forth more fully below, all three Individual
  22 Defendants discussed and decided how they would proceed, with Bergmair as the
  23 majority shareholder having the final say and Antoon and Tassillo handling the direct
  24 day-to-day implementation.
  25         113. Thus, in their testimony to the Canadian Parliament, Antoon and
  26 Tassillo explicitly stated that from the beginning they were aware of this risk, and
  27 considered it a priority and responsibility for them individually as the heads of the
  28 business and owners. Although it was not truly a priority to prevent it, it was true
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   1 they knew about and set the policy to embrace it. And, accordingly, when these
   2 issues exploded in 2019-2023, they, along with Bergmair, were directing
   3 MindGeek’s response.
   4         114. As the majority shareholder actively managing the business, Bergmair
   5 was also individually aware and involved from the beginning in MindGeek’s
   6 embrace of nonconsensual content. And he was directly involved in the response to
   7 the tsunami of criticism that MindGeek received in 2019-20 and did nothing even
   8 after the fallout resulted in Visa and Mastercard suspending the business relationship.
   9 Instead, he left Antoon and Tassillo in place and sanctioned their performative public
  10 announcements of improvements that were designed to actually minimize any impact
  11 of increased moderation. He took no steps because none of this was news to him or
  12 contrary to the plan he and Antoon and Tassillo had always agreed upon.
  13         115. Thus, MindGeek incorporated all illegal content into its SEO process
  14 just like it did all other legal content. Nonconsensual content that was performing
  15 well was analyzed, refined, and tested to amplify that performance, and the lessons
  16 learned were used to optimize similar content and proactively provide uploaders and
  17 users preferred titles, tags, and category descriptions as well as suggested searches
  18 and playlists to watch. Thus, when a user sought to upload content, they would be
  19 directed and assisted in adding to the content detailed titles, descriptions, tags, and
  20 categories, and MindGeek would provide suggestions and preexisting terms to use
  21 based on its SEO analysis.
  22         116. For example, in its explanation of “How to Succeed” on Pornhub’s
  23 website, the MindGeek Defendants directed users to use up to 16 tags that describe
  24 the video and performers; select up to 8 relevant categories; when applicable, use
  25 niche specific categories to ensure content is visible to the “right” fans; write a
  26 creative title that described the scene; and add a stage name to the title of the video.
  27 The MindGeek Defendants’ categories demonstrate how they are specifically
  28 targeting viewers who are interested in child pornography, with categories like
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   1 “teen,” “school,” “babysitter” and “old/young.” On the page explaining video
   2 categories, MindGeek informed that “Teen” is one of its most popular categories.
   3        117. But MindGeek did not leave the development of uploaded content
   4 exclusively to user decisions based on its assistance and input. Its formatters would
   5 also add and edit the content for maximum effect when they reviewed it, including
   6 not just the descriptive part of the content, but also scenes and length. Indeed, in
   7 public remarks, the owner of MindGeek’s predecessor, Fabian Thylmann, explained
   8 that MindGeek was a creator of content and that customizing content for identified
   9 user preferences was the only way to make “really good money” in the online porn
  10 industry.
  11        118. Thus, for example, MindGeek formatters create a graph or timeline
  12 underneath videos to demonstrate the level of intensity of activity within a particular
  13 section of the video. This helps the viewer identify and quickly advance to various
  14 levels of sexual activity within the video. MindGeek harvests this data to optimize
  15 its advertising services by determining which words generate traffic, and refines its
  16 suggestions to users for content to watch and descriptions to use on uploads.
  17        119. Along similar lines, MindGeek formatters create buttons for some
  18 videos that describe certain types of sexual activity occurring within the video,
  19 thereby allowing viewers to jump ahead to desired sections of the video depicting the
  20 activity identified in the button. These efforts are yet another way to optimize profit
  21 sharing, ad placement, and otherwise capitalize on the data of user preferences.
  22        120. Similarly, MindGeek formatters create thumbnails for the videos on
  23 MindGeek’s tubesites and store these thumbnails on a separate server. The server
  24 includes thumbnails created from CSAM videos. As MindGeek explains to its users
  25 and content partners, thumbnails are a key component to attracting viewers to a
  26 video: “A well-chosen thumbnail will greatly impact the number of views by making
  27 videos more appealing for users to click on.”
  28        121. All of this content creation is directed at maximizing revenues. With
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   1 respect to advertising placement and content, MindGeek, through its advertising
   2 business, sells banner and sidebar advertisements, as well as advertisements that
   3 appear before and after videos. MindGeek placed these advertisements on all pages
   4 viewed by users, including those featuring CSAM.
   5        122. MindGeek edits advertisements placed on its websites to frequently
   6 highlight terms such as “girls,” “boys,” “broken teens,” and “twink,” which are terms
   7 that are known and encouraged for use by MindGeek. These terms promote the
   8 creation, use, and viewing of CSAM.
   9        123. Indeed, MindGeek’s advertising platforms allow advertisers to build
  10 campaigns around keywords that clearly reflect illegal activity, including
  11 “13yearoldteen”; “not18”; “14yrold”; and “15yrold.” For example, if an advertiser
  12 selects the keyword “teens,” the advertising platform shows that term alongside
  13 related terms including “teenager”; “pigtail”; “clubseventeen”; “coed”; “braces”;
  14 “teenplayground” and “teenylovers.” MindGeek tracks the amount of traffic
  15 generated by each word, showing advertisers the volume of traffic being driven by
  16 such keywords and the expected traffic to be generated by each potential word
  17 choice. In doing so, it allows people to target ads to people searching for words
  18 such as “rape” and “child rape” in languages other than English. All this traffic data
  19 is then used to direct uploaders to upload the categories of content most watched and
  20 use the best descriptions to capture that interest. Throughout the period in the
  21 complaint, child pornography and nonconsensual content was one of the most in
  22 demand categories.
  23        124. What was not a focus at all of any of this effort was excluding child
  24 pornography or other nonconsensual content because the business model intended to
  25 do the opposite.
  26        125. The result of this was just what MindGeek intended. Simple Google
  27 searches even suggesting nonconsensual content would invariably return Pornhub as
  28 the top search result. Pornhub’s suggested video and search algorithms would then
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   1 direct users to similar content. With each click the search was refined further and
   2 further. In just a few clicks, in just a few minutes, users (and investigators and
   3 journalists) could find seemingly unlimited pages and videos depicting violent rapes,
   4 date and drugged rapes, child sexual assault or exploitation, coerced or trafficked
   5 subjects, secret and stolen recordings, or any other form of nonconsensual conduct.
   6         126. For example, when a user searched for “teen sex,” MindGeek would
   7 present the most popular video results associated with that term, suggest playlists,
   8 and suggest searches with a host of other more detailed terms used by others for
   9 similar content, like “barely legal teen sex,” “young teen sex,” “middle school teen
  10 sex,” etc. Titles, descriptions, tags and comments with these videos and suggested
  11 by MindGeek were blunt, including: “CP” (i.e., child porn), “teen,” “young teen,”
  12 “barely legal,” “super-young teen,” “old/young,” “young,” “exploited teen,” “crying
  13 teen,” “little,” “xxxtra small,” “drunk girl,” “drugged girl,” and “passed out.”
  14 MindGeek knew from its SEO that many of these were among the most popular
  15 searches and included substantial content that was patently nonconsensual with little
  16 of the rest discernibly consensual.
  17         127. By way of example only, in just minutes of basic searches, users, and
  18 certainly those working fulltime optimizing MindGeek’s SEO, would easily be
  19 directed to troves of:
  20               a.     homemade videos of adult males having sex with apparently or
  21                      obviously underage girls with titles such as, “Young Teen Gets
  22                      Pounded,” “Old Man with young teen,” “Young girl tricked,”
  23                      “Petite Thai Teen,” “A Club Where You Can Play With Little
  24                      Girls And It’s So Fun,” “Bratty Little Girl,“ “Giant guys f***ing
  25                      with no mercy this little whore while she’s crying” (asterisks
  26                      added);
  27               b.     homemade movies of young boys being raped with titles and tags
  28                      such as “Barely legal step-son well used after school in uniform,”
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   1                   “Young hairless twink gets slapped,” “Daddy f***s young teen
   2                   boy virgin first time” (asterisks added), “Daddy came home
   3                   frustrated and abused boy to crying”;
   4             c.    drunk, drugged or otherwise incapacitated women, often clearly
   5                   underage, being assaulted with titles and tags such as “Drunk,”
   6                   “Passed out teen,” “Passed out sex,” “Drunk and Passed Out
   7                   Porn,” “Passed out teen f***ed” (asterisks added), “Teen Totally
   8                   Drunk Passed Out Sex Video Free,” “Passed Out Naked Teens,”
   9                   “Tinder Girl Passed out at my House so I stuck it in her ass,”
  10                   “Mexican Teen She’s to Drunk After Party Real Home Made!,”
  11                   “Drunk girl let’s me dominate her,” “Cute Amateur Teen Drunk
  12                   And Stoned In Ecstasy With Her First BBC On Drugs,” “F***ed
  13                   sister hard in the ass while she was drunk and sleeping” (asterisks
  14                   added), “Drunk girl gets handcuffed and abused,” “Teen gets
  15                   drunk and gangbanged”;
  16             d.    non-professional secret recordings, often of obviously underage
  17                   women, such as Asian high school students in a bathroom with a
  18                   hidden camera with the title, “Stolen Teen’s secret peeing
  19                   scenes”;
  20             e.    stolen underage pornographic videos with titles and tags such as,
  21                   “Amateur sextape stolen from teen girl[’]s computer”;
  22             f.    videos with extreme hate and racist themes such as “Black slave
  23                   girl brutalized” with comments including “yes f*** that n*****”
  24                   (asterisks added) and “love seeing this little petite black whore
  25                   tied up like she belongs taking it in her black ass,” “Busty African
  26                   Slave Gets Pounded,” “African Busty sluts get tortured by white
  27                   master,” “You should get your own black slave,” “ Black slave
  28                   girl pleasures white master and call herself ‘N***** whore”
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   1                      (asterisks added) and “Black slave Girls Made to Eat White Girl
   2                      Asshole” or anti-Semitic Nazi themed content.
   3        128. Likewise, searches for “Pnp,” “meth,” “homeless,” “crack whores,”
   4 “meth whores,” and other similar terms turned up countless videos of women who
   5 were plainly incapacitated or having a debilitating drug addiction being exploited by
   6 pimps and johns.
   7        129. Further, MindGeek’s algorithmic suggestions and playlists would direct
   8 users searching “Asian” to a cache of sadistic abuse videos. Among these caches
   9 were a category in which apparently underage Asian women were being suffocated
  10 in plastic bags attached to a vacuum packing machine. The women were thrashing
  11 and screaming. They were not performing. The videos were amateur, poor quality,
  12 and had zero indicia of consent.
  13        130. In one such video, an apparently underage Asian women was dragged
  14 onto a dirty balcony and submerged in a plastic tub of ice water. Her assailants were
  15 violently grabbing her hair and used their boots to force her head under the water.
  16 They restrained her and sprayed her face from a hose when she tried to breathe.
  17 There was no indication of consent, only assault: the young woman shook, shivered,
  18 wept, gasped, and pleaded. She was not performing. When the men finally
  19 removed her from the tub, they continued to dose the collapsed, shivering woman
  20 with the hose before all urinating on her shaking body.
  21        131. Abuse videos were also common in MindGeek’s partner channels in
  22 which it shared revenues with the uploader. For example, one of MindGeek’s
  23 official ModelHub partner accounts called PornForce, from which MindGeek
  24 received a cut of all revenue, had videos of obvious victims being exploited. One of
  25 those videos, titled “Thai street teen” with the description “f***ed and facialized for
  26 $5” (asterisks added), showed a homeless and disabled Thai teen being penetrated
  27 and filmed “for $5.” In the comments a viewer asked, “is she deaf,” and PornForce
  28 responded, “yes.”
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   1        132.    Another ModelHub account was comprised of a man exploiting
   2 homeless teens in New Jersey in commercial sex acts. The victims of this
   3 exploitation were anally assaulted while crying and pleading for the abuse to stop.
   4 MindGeek’s suggested video and search algorithm would direct viewers of these
   5 videos to similar videos and suggested search terms such as “abused teen,” “crying
   6 teen,” “exploited black teens,” “homeless teen,” and the like.
   7        133. The same abuse occurred on Pornhub Gay. A simple search for “daddy
   8 and son” produced oceans of unprofessionally produced videos of patently underage
   9 or young looking boys with the titles saying “REAL Father Son” and other videos of
  10 distressed young hairless boys being penetrated by older men. Other cases of child
  11 pornography involved underage boys videotaping themselves in sex acts, with video
  12 titles like “13 yr old boy” and “14yr old.”
  13        134. Like many videos on Pornhub, these abuse videos all were typically
  14 introduced with Pornhub or other advertisements before playing and always were
  15 surrounded by other ads for which Pornhub was paid for its own products and
  16 websites. Some of these videos had millions of views alone. The “categories”
  17 collectively had many millions more, evidencing the significant contribution
  18 unrestricted access to nonconsensual content was to MindGeek’s business model.
  19        135. MindGeek’s SEO was so sophisticated, that it could tell advertisers
  20 what kind of content categories were most likely to engage with their ads.
  21        136. In addition, in order to further amplify their SEO, MindGeek allowed
  22 users to download such content so they could reupload curated playlists of such
  23 nonconsensual content on MindGeek’s websites and other third-party websites with
  24 links MindGeek provided back to its sites. In this way, MindGeek effectively
  25 deputized users as optimizers and advertisers, and each such transfer violated 18
  26 U.S.C. § 2257.
  27        137. All this optimization involved more than merely allowing content to be
  28 uploaded. Rather, it involved the curating, editing, and formulating of how the
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   1 content was substantively described, presented and optimized for searching and
   2 viewing. The fact that MindGeek proactively avoided using its technology to
   3 exclude such content and instead used it to optimize it demonstrates its knowing
   4 intent.
   5                 4.    MindGeek Produced Nonconsensual Content.
   6           138. In its earlier years when MindGeek was attempting to rapidly reach
   7 content scale, it manufactured fictional purported “user” content for its tubesites that
   8 was actually produced by human traffickers that MindGeek itself commissioned or
   9 from whom it otherwise agreed to purchase. It did this to increase its content and
  10 SEO exponentially faster than it could have through genuine user uploaded content
  11 alone. It also allowed it to secure tailored content that its SEO analysis identified as
  12 high performers. MindGeek used different variations to secure such content. These
  13 high level efforts were directed and discussed by and among Bergmair, Antoon, and
  14 Tassillo.
  15           139. First, monies necessary to pay for the production, middlemen, and
  16 uploading of the content were transferred from different foreign subsidiaries to
  17 agents/middlemen without any paper trail as to what the payments were for. Those
  18 agents/middlemen would handle all interactions with producers in Eastern Europe
  19 and Asia who offered the best quality for the cheapest prices. This was dramatically
  20 cheaper than what such productions would cost in the United States, and MindGeek
  21 understood it was because the content was the product of trafficking. The finished
  22 content would then be transferred to the agent, who then transferred it to shell
  23 companies or MindGeek partner channels who would do the formatting in exchange
  24 for favorable terms or monies disguised as partner channel payouts. The MindGeek
  25 Defendants were fastidious about avoiding any contact in the process with certain
  26 jurisdictions like the United States, Germany, or the United Kingdom, which were
  27 viewed as the most rigorous in enforcing laws against trafficking.
  28           140. Insiders familiar with this elaborate scheme left no doubt that MindGeek
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   1 understood this was trafficked content: “100% they knowingly paid real pimps.
   2 They would discuss how this cheap content was coming from old school pimps.
   3 They found it exciting. They would explain, ‘we don’t need to pay studios in the
   4 US, low paid pimps come to us.’”
   5        141. Once formatted, the content would be uploaded by these entities and/or
   6 a network of agents who were paid to create user identities and upload content.
   7 Sometimes such content would be uploaded by MindGeek directly, either in Canada
   8 or Cyprus. Once uploaded, the content would be analyzed for its SEO effectiveness,
   9 ad impressions, and conversions, and the content as well as the formatting refined to
  10 maximize SEO. Then additional orders would be placed using the conclusions from
  11 that analysis.
  12        142. One insider described the process this way:
  13              MindGeek owns studios and works with studios. These
  14              studios produce high quality porn at high cost. MindGeek
  15              determined that high quality porn doesn’t convert well on
  16              tubesites. Most people want to see the girl next door and
  17              videos that seem more realistic. To get this content they
  18              run networks of advisors who run agencies that acquire
  19              porn and cam videos from high trafficking areas like Czech
  20              Republic and sell in bulk to MindGeek entities all over the
  21              world or license companies that all actively feed the videos
  22              into the tube sites as user uploads. Actively feeding
  23              content on the sites to make sure it does not touch North
  24              America, Germany, or the United Kingdom. It is clear to
  25              anyone in this industry that stuff out of eastern Europe is
  26              from trafficking. People within the company knew there
  27              were real pimps running these agencies and MindGeek
  28              knew it. It was actively communicated among
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   1               management especially in Cyprus who were the ones
   2               working to get stuff through it. ‘We don’t care,’ was their
   3               attitude. . . . MG affiliates will contract with a local agent.
   4               Local agent interfaces with the production companies.
   5               Agent gets it and sell it to MindGeek in bulk to their
   6               affiliates. No employee can talk of these studios. Then
   7               they create identities and upload it through Cyprus and
   8               Canada. They avoided UK and Germany. The content
   9               couldn’t touch the UK or Germany offices because
  10               enforcement and investigation risk was too much. There
  11               were other means of bulk uploading. If huge partners have
  12               big studio that is part of MindGeek group. You could give
  13               it to them and they upload it and they get better treatment
  14               and terms and share the revenue. MindGeek pays for it
  15               but steer business through agents and pay huge amounts to
  16               launder the money and uploading. So you can’t see it
  17               went to MindGeek or that it uploaded it.
  18        143. In addition to the general awareness that content from these regions was
  19 the product of extensive trafficking operations, MindGeek was aware the content was
  20 trafficked because it met with the producers and visited some of their production
  21 sites. In one such visit, MindGeek executives witnessed a football-field size
  22 warehouse in which women were crammed into adjoining studio stalls “like
  23 livestock” to perform on camera. Many of the women appeared young and were
  24 engaged in scenes depicting underage girls.
  25        144. When asked by the producer where the women came from and lived, the
  26 producer unapologetically explained that his company had agents that scoured
  27 Eastern Europe for women who they recruited with promises of lucrative modelling
  28 jobs that would allow them to go to college and otherwise have a better life. When
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   1 those women agreed, they were transported to dormitory style housing or apartments
   2 and matched with a “boyfriend” who would groom them for porn.
   3         145. Women who were victimized by this trafficking network reported that
   4 when they tried to leave, they were informed that their cam sessions had been
   5 recorded and if they did not continue performing, the trafficker would send copies to
   6 their families and otherwise release them publicly and destroy their reputation and
   7 future.
   8         146. Similarly, MindGeek allowed its platform to be used for prostitution.
   9 Like now defunct online marketplace BackPage (which was indicted along with its
  10 founders and seized by federal authorities), and Craigslist’s now defunct “personal”
  11 pages, MindGeek knowingly permitted its platform to be used to facilitate trafficked
  12 prostitution. The website is awash in third-party advertisements for “Craiglist,”
  13 “Backpage,” and other previously known sites where prostitution could be solicited
  14 from trafficked women.
  15         147. MindGeek repeatedly deflected concerns raised internally by finance
  16 people who were alerted when they realized MindGeek was paying numerous
  17 ostensibly independent cam models through a single account. This was a trafficking
  18 red flag, but MindGeek executives informed finance to ignore the red flags and
  19 continue payments because “they knew the people behind the account and it was ok.”
  20         148. In addition, MindGeek allowed its private premium accounts on
  21 Pornhub to be used as a secret marketplace to distribute illicit content, particularly
  22 CSAM/child pornography, for a fee, sometimes directly on the platform, sometimes
  23 through links to an external CSAM cache exchanged privately through the accounts.
  24 This trafficking included minors posting child pornography of themselves at the
  25 direction of predators and pimps. The content, while private to other unsubscribed
  26 users, was visible to MindGeek, part of its SEO analysis, and included in Google and
  27 other search engine search result calculations and thus embraced and allowed to
  28 remain.
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   1        149. This pervasive incorporation of multiple streams of illegal content and
   2 revenue was not accidental, but a knowing and intentional business decision.
   3 MindGeek embraced illegal content precisely because that content would
   4 significantly enhance its SEO, traffic, ad impressions, and customer conversions. Its
   5 legality or consequences were irrelevant, as an insider explained:
   6               They focus on how much money I can make today. Right?
   7               So they take risk because today it’s going to give you a
   8               dollar. If you have to change your practices next month,
   9               well we’ll get there. But right now this is making more
  10               money. Right, that’s the type of mentality that makes you
  11               take those decisions. What’s going to help me make more
  12               money. . . . 100% they are all about the money, not safety
  13               . . . . they just see numbers, let’s be honest.
  14        C.     The Individual Defendants, Financiers, and Visa Knowingly and
  15               Intentionally Participated in the Trafficking Venture.
  16               1.    The Individual Defendants.
  17        150. The evidence that the Individual Defendants knowingly and
  18 intentionally were aware of MindGeek’s unrestricted content model and directed it is
  19 overwhelming.
  20                     (i)    The Individual Defendants’ Direct Knowledge
  21        151. As set forth in section II.D, the Individual Defendants were the alter ego
  22 of MindGeek, personally controlled, set, and implemented its policies and practices
  23 in their capacity as the three owners, and were fully aware of and directed its
  24 unrestricted use of CSAM and other nonconsensual content. They made the
  25 decision to employ a sham corporate structure to evade pornography laws in the
  26 jurisdictions in which they operated and earned the bulk of their revenues. They
  27 made the decision to avoid any bona fide technological and human moderation and to
  28 instead devote all of MindGeek’s technological and human resources to monetizing
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   1 child pornography and nonconsensual content just like all other content. They
   2 implemented and maintained these practices and policies through their putative sales
   3 of their interests in 2023, fully aware of the enormous illegal content that resulted on
   4 MindGeek’s sites and its monetization of same. And they worked aggressively to
   5 misrepresent and conceal the truth from the public and authorities for years.
   6         152. In fact, the Individual Defendants were aware of these facts even before
   7 they became owners. Bergmair previously owned and individually ran Pornhub
   8 competitor Redtube for years, used the same unrestricted content model and
   9 ubiquitous presence of nonconsensual content at Redtube, and understood MindGeek
  10 did too. As part of the MindGeek acquisition, he became the majority owner of the
  11 entire business, and as the majority owner, dictated and approved all major strategic
  12 and operational decisions. As part of the acquisition, he agreed and directed that the
  13 Individual Defendants would continue the same model that they used previously in
  14 their competing business, and continued to agree with and direct them to continue
  15 using it to the maximum extent possible until they putatively sold their interests in
  16 2023.
  17         153. Similarly, before Antoon and Tassillo became MindGeek owners in
  18 2013, they had been running MindGeek predecessor Manwin for years with the same
  19 unrestricted content model and intentional monetization of child pornography and
  20 other nonconsensual content. They too agreed to continue this model in the new
  21 combined company and did so as the CEO and COO through the purported sale of
  22 their interests in 2023.
  23         154. Even if the Individual Defendants had not been running the same
  24 unrestricted content model in their respective roles at Redtube and Manwin prior to
  25 assuming MindGeek ownership, as experienced industry executives and owners they
  26 knew the notoriously understood fact among anyone familiar with the industry that
  27 an unrestricted content model would necessarily result in the ubiquitous presence of
  28 nonconsensual content. Indeed, this was understood even in the pre-internet
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   1 pornography industry and was the reason for the strict federal laws policing the
   2 industry. And it was this universal understanding that led to the dearth of capital
   3 market debt or equity financing for the online porn industry.
   4         155. They also understood this throughout the period they owned and
   5 controlled the company because it was staring them in the face from the SEO being
   6 done, the guidance they were giving users in terms of preparing their content, the
   7 editing of that content they conducted, the data analysis they were providing
   8 advertisers, and from the most basic exploration of their websites.
   9         156. This included knowledge from the performance and SEO of such
  10 content they received throughout their term as CEO and COO from regular reports
  11 and meetings, including quarterly and annual week-long sessions with the entire
  12 management team where such issues were discussed and which Bergmair also
  13 attended. And they were aware of it from their internal discussions and strategy
  14 sessions in which they discussed concerns from employees, and complaints from
  15 victims, advocates, and law enforcement.
  16         157. This included regular complaints, concerns, and questions about how to
  17 treat illegal content from insiders and the continued optimization of such content to
  18 drive market share. Consequently, throughout the period they controlled the
  19 company as CEO and COO and owners, they were aware from hundreds of reports
  20 from law enforcement, advocacy groups, victims, government agencies, the press,
  21 website users, and their own employees that illegal and nonconsensual content was
  22 ubiquitous on MindGeek’s websites, and they knew the reason for this was the policy
  23 of monetizing it that they and Bergmair agreed to maintain. Nevertheless, these
  24 owners knowingly and intentionally decided to continue capturing illegal content,
  25 optimizing it, and using as part of their product offering.
  26         158. For example, in May 2020, MindGeek personnel sent third-party
  27 complaints concerning the child pornography to Antoon, along with the URL and
  28 screenshots.    Although it was obviously child pornography, Antoon and his team
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   1 did not remove it, wondering instead whether, “[f]rom our end, does it help or hurt us
   2 to remove the video?” without regard to considering their legal and moral obligations
   3 to do so. In the end they did not remove it, and the video remained on MindGeek’s
   4 website until December 2020 when MindGeek learned that the New York Times was
   5 working on a story that exposed victimization by MindGeek.
   6        159. As set forth below, throughout this period, in addition to Bergmair’s
   7 attendance at the quarterly and annual management meetings, Antoon spoke virtually
   8 every day with Bergmair about the business and discussed and took direction from
   9 him as the majority owner and ultimate decision maker on all material matters,
  10 including their practices with respect to child pornography and other nonconsensual
  11 content.
  12                     (ii)     The Individual Defendants’ Indirect Knowledge
  13        160. In addition to this overwhelming direct knowledge, the Individual
  14 Defendants were also aware that MindGeek’s websites were awash in nonconsensual
  15 content from the decade of numerous public reports of such. These Individual
  16 Defendants closely monitored such reports as part of their robust marketing and
  17 brand awareness activities, their management of their investment and ownership
  18 interests, their relationship management with lenders and payment processors, and
  19 their concern that their false claims about a robust moderating function and their
  20 actual unrestricted content model would be revealed.
  21        161. For example, in the mid-2010s, multiple UK news outlets repeatedly
  22 reported on the problem of children accessing and uploading videos of themselves to
  23 Pornhub, often at the direction of an abuser.   In March 2015, the Daily Mail
  24 claimed that according to research from the National Society for the Prevention of
  25 Cruelty to Children (NSPCC), ten percent of children had “made or been part of
  26 sexually explicit videos.”
  27        162. In 2012, it was widely reported that Taiwanese playboy Justin Lee was
  28 arrested for date raping dozens of women, some minors, and posting videos of those
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   1 rapes to Pornhub.     Although Lee’s arrest, conviction, and criminal conduct,
   2 including his uploading of the rape videos to Pornhub, were highly publicized
   3 worldwide, MindGeek kept those rape videos on its site and optimized them for
   4 years thereafter.   While the videos were subsequently disabled, MindGeek
   5 continued to use them to ensure search engines would still direct searches concerning
   6 Lee to Pornhub, including search engines directing the users to similar content
   7 categories like “celebrity sex tapes.”
   8          163. In 2013, it was widely reported that a German model was raped, and the
   9 video of her assault was uploaded to Pornhub. The video remained on Pornhub and
  10 was optimized until June 10, 2016, at which point it had been viewed over 1 million
  11 times.
  12          164. In October 2014, a Slate essay quoted a MindGeek employee who
  13 explained, that “[i]f you’re interested in the ‘Content Formatter’ job, just be aware
  14 you’re basically a glorified child porn screener, and you will be watching disgusting
  15 videos all day.”
  16          165. On October 16, 2014, Detroit Free Press reported that a Florida man
  17 began cyberstalking a 13-year-old girl in Michigan, coerced her into sending him
  18 naked photographs, and posted those on Pornhub where the photos remained and
  19 were optimized for over 5 years with thousands of user comments, many users noting
  20 that the subject was obviously underage.
  21          166. In 2014, a Reddit user posted that she had been raped and a video of the
  22 rape had been uploaded to Pornhub.
  23          167. On August 20, 2015, the Columbus Dispatch reported that a local man
  24 had been arrested after creating child pornography of several minors and uploading it
  25 to Pornhub.
  26          168. In October 2015, multiple news outlets reported that rapper Eric D.
  27 Chavis was arrested and charged with rape and creating child pornography for
  28 regularly raping and videotaping minor girls and posting the videos to Pornhub and
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   1 that MindGeek paid him $10,000 and 60% of the revenue earned on his child rape
   2 collection as part of its revenue-sharing content partner program.
   3        169. In October 2015, Pornhub publicized a purported process to make it
   4 easier to take down revenge porn, but multiple news outlets noted that the process
   5 did not work, which MindGeek knew because the process was merely part of its
   6 ongoing effort to conceal its unrestricted content model. Publication the Verge
   7 called this out, quoting law professor Mary Ann Franks, who said that "[i]f Pornhub
   8 or any other site or platform featuring adult content really wants to launch a
   9 ‘preemptive strike’ ... against nonconsensual pornography, they should be focusing
  10 on truly preemptive measures, not after-the-fact procedures.”
  11        170. Likewise, in October 2015, Splinter News reported on the
  12 ineffectiveness of Pornhub’s recent purported crackdown on revenge porn, “if you
  13 search terms like “ex-girlfriend porn” or “revenge porn” on Pornhub, plenty of
  14 results still come up” and that it was impossible to determine whether they were
  15 consensual or not.
  16        171. On December 26, 2015, The Sunday Guardian reported that the
  17 government of India had filed a lawsuit against Pornhub seeking to ban it in India
  18 because of its use of child pornography.
  19        172. On January 26, 2016, a UK advocate published an essay reporting that
  20 there were “endless videos” tagged “domestic violence” and “sexual abuse” on
  21 Pornhub that appeared to be, in fact, nonconsensual.    Media reports that month and
  22 the next, further reported on the popularity of the Pornhub categories “teen,”
  23 “humiliation,” “abuse,” and “rape.”
  24        173. Also in January 2016, the International Business Times published an
  25 article titled “Pornhub: If you have ever watched teen porn you could be breaking the
  26 law” noting according to Pornhub’s own 2015 published statistics, “teen” was their
  27 most popular search term and that it was impossible to discern if the individuals
  28 appearing in many of these videos were adults.
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   1         174. On March 15, 2016, California media outlets reported on the arrest of a
   2 California man for recording sexual acts he had with a minor girl and posting them to
   3 Pornhub.
   4         175. Throughout 2016, there were numerous media reports concerning
   5 arrests, civil judgments, and victim accounts concerning revenge porn or
   6 nonsonsensul content being posted to Pornhub.
   7         176. In 2016 and 2017, there was widespread reporting on multiple nations
   8 banning Pornhub because of the widespread presence of child pornography.
   9         177. In 2016, Pornhub’s most popular Content Partners, GirlsDoPorn and its
  10 founders were sued by twenty-two women and minors for trafficking since 2009, and
  11 the founders were indicted on federal trafficking charges in 2019. GirlsDoPorn and
  12 its website were shut down in 2020 shortly after the indictment and the flight of one
  13 of its founders to New Zealand.     Ruben Andre Garcia, one of the traffickers
  14 involved in the GirlsDoPorn trafficking operation, was sentenced to twenty years in
  15 prison on June 15, 2021. This human trafficking ring was one of Pornhub’s most
  16 popular partner channels, with nearly 800,000 subscribers and over six hundred
  17 million views, and was heavily promoted by MindGeek.
  18         178. The channel was so lucrative, and MindGeek so indifferent to
  19 monetizing nonconsensual content, that MindGeek kept the channel on its site and
  20 collected revenue from it even after learning of the initial civil lawsuit and did
  21 nothing to investigate the allegations. Pornhub continued to host and monetize this
  22 trafficked content until the company and its founders were indicted and the website
  23 shutdown.     Nevertheless, even after the formal channel was disabled, trafficked
  24 GirlsDoPorn content was ubiquitous on MindGeek’s tubesites and its internal search
  25 engine would regularly direct users to those videos.     As of October 2020, a simple
  26 search of “GDP” would result in over 300 videos and images of those victims.
  27         179. In December 2016, multiple news sources reported that porn actress
  28 Nikki Benz had gone on Twitter to publicly accuse Tony T, a director for
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   1 MindGeek’s Brazzers premium brand, of forcing her to participate in a rape scene.
   2 Other women porn performers affirmed that they had experienced similarly coercive
   3 and abusive behavior from Brazzers directors. Buzzfeed’s reporting specifically
   4 noted that Brazzers is a MindGeek subsidiary.
   5        180. In February 2017, the Jamaican press reported on the presence of child
   6 pornography in the thousands of videos on Pornhub’s “Jamaican School Girls”
   7 channel and the plans of Jamaican prosecutors to bring prosecutions under its child
   8 pornography laws.
   9        181. In March 2017, Mashable.com reported that nude photographs of female
  10 marines and other women were uploaded to Pornhub without the women’s consent
  11 and the women were doxed as well, and the Louisiana media also reported on the
  12 arrest of a man for posting revenge porn on Pornhub.
  13        182. In April 2017, Pennsylvania media outlets reported on the arrest of an
  14 individual on child pornography charges who created a Pornhub account for the
  15 purpose of acquiring and distributing such content.
  16        183. In May 2017, Florida media reported that a Pensacola man raped a
  17 female minor and posted photographs to Pornhub.
  18        184. In October 2017, Wisconsin media reported on the nonconsensual video
  19 recording of women in changing room that were posted to Pornhub.
  20        185. In late 2017, there was public reporting documenting “[t]he hatred of
  21 women” and misogynistic violence on Pornhub.        One video was described as
  22 follows: “This is a homemade video taken on a mobile. The female does not appear
  23 to be enjoying this and is protesting verbally and with her body language. The male
  24 pulls the string from the stool that supports her weight and then dives and holds her
  25 body up to prevent anything life threatening. He does this a few times. This is real
  26 footage of a woman being hanged for the male’s sexual arousal and uploaded onto
  27 Pornhub for other men's misogynistic and sexual gratification.”
  28        186. In December 2017, the Coalition Against Trafficking in Women, the
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   1 National Organization for Women, and Gloria Steinem held a press conference
   2 concerning Pornhub and its active promotion of “racism, incest, sexual violence, and
   3 rape,” the fact “Pornhub sells the idea of sexual abuse of children,” “sexual violence
   4 against woman,” and the “degradation” of women, and included statements from
   5 victims reporting on pimps and traffickers recording rapes and posting them to the
   6 website.
   7        187. Follow-up publications from the Coalition Against Trafficking in
   8 Women (CATW) further accused Pornhub of “normalizing violence against women
   9 and sexual abuse of children” with, among other things, categories of “barely legal”
  10 content allowing “Pornhub visitors [to] watch middle-aged men penetrating
  11 ‘actresses’ resembling barely pubescent girls in pigtails and school uniforms,”
  12 content described as “‘Picking up a Schoolgirl for a Quick Drive Home,’ . . . ‘Hot
  13 Innocent Teen Gives Grandpa a Blowjob,’” and sex trafficking.
  14        188. In 2018, MindGeek porn performer Asa Akira its exclusive “Brand
  15 Ambassador” promoted sex with 13 year-olds and disdain for the laws protecting
  16 minors and for “snitches” who dare object to such abuse:
  17               This 13-year-old? . . . if I were single and we were sitting in
  18               the jacuzzi and he was like, “Hey, you know, like, I’ve
  19               never f***ed a girl. (Asterisks added) Do you want to?” I
  20               think I’d say yes. No, that definitely... no one, no one
  21               would consider that rape . . . except maybe his mom. . . .
  22               And that’s only if she’s, like, a total bitch. . . . Yeah . . . and
  23               the law. Whatever. . . . Who’s gonna tell? No snitching.
  24               Snitches get stitches.... . . . I think there are 13- year-old
  25               girls out there that might be ready to be f***ing, but not
  26               that many. (Asterisks added). Like, 15, yeah. There’s- . . .
  27               quite a few that are ready. . . .I would not finger this 13-
  28               year-old’s asshole
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   1         189. These were not the only such comments Akira publicly made before
   2 MindGeek made her its exclusive brand ambassador. By way of example only,
   3 before she was hired as MindGeek’s Brand Ambassador Akira had made the
   4 following widely publicized comments celebrating rape, pedophilia, incest, and anti-
   5 Semitism: (a) “Is GHB the rape drug. Asking for a friend” (9/8/2011); (b) “it’s not
   6 really rape unless its anal rape, right? . . . “what the f*** is marital rape you can’t
   7 rape the willing . . . Shoutout to my pedophiles” (9/27/2011) (asterisks added); (c) “If
   8 loving Japanese rape porn is wrong, then I don’t want to be right” (1/29/2011);
   9 (d) “Also, I’m pretty proud of myself for making it this far in life without having to
  10 register as a sex offender” (2/29/12); (e) “It only hurts if you resist” (1/23/13);
  11 (f) “Gay incest should be legal” (12/9/14); (g) “adulthood is knowing the difference
  12 between good rape and bad rape” (10/31/13); (h) “Why not f*** a jew for Hitler’s
  13 birthday” (4/20/15) (asterisks added); and (i) “not one but TWO sightings of Hassidis
  14 Jews today” (11/28/09).
  15         190. In February 2018, a Pornhub user repeatedly flagged child pornography
  16 being uploaded repeatedly to Pornhub’s gay content categories.        One of those users
  17 told MindGeek, “[p]lease remove all pictures in the gay category starting with
  18 [XXXX] in the title.     They contain underage children.     Some of whom look 7 or 8
  19 years old. Its disgusting that this has slipped through, two nights in a row.      Does
  20 this material get screened.    I’ll be checking to see if the content has been removed.”
  21 Again, MindGeek permitted this illegal content to be repeatedly uploaded and
  22 transferred to its other tubesites despite its obviously illegal nature and despite being
  23 explicitly being flagged by users.
  24         191. In March 2018, news outlets reported on an American in Taiwan who
  25 “has been secretly filming one-night-stands with Taiwanese women and posting
  26 them on a porn website for profit…On the adult video website Pornhub, Schulte has
  27 an account titled TravelPorn with over 3,000 subscribers and 800,000 views, which
  28 contains videos of at least 36 Asian women performing sexual acts with him.”
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   1         192. In October 2018, the media reported on the arrest of a Palo Alto woman
   2 who posted videos on Pornhub showing her having sex with an underage 14-year old
   3 female relative.
   4         193. In the fall of 2019, the Internet Watch Foundation, the United
   5 Kingdom’s private internet watchdog for child pornography, reported to the Sunday
   6 Times that it had been notified of 118 instances of child pornography on Pornhub by
   7 the public over the prior 2.5 years, increasing each year.     Half of that child
   8 pornography was Category A, the worst kind of abuse involving penetration and/or
   9 sadism.     MindGeek permitted the upload of this child pornography and transferred
  10 it to its other tubesites and never reported it the authorities as it was required to do in
  11 the United States and other jurisdictions where its servers are located.     That child
  12 pornography remains on MindGeek’s servers to this day.
  13         194. The Sunday Times published an investigation in 2019 confirming that
  14 Pornhub was “flooded” with illegal content that it failed to remove even after the
  15 paper had notified it of that illegal content:
  16                the world’s most popular porn website [Pornhub] is flooded
  17                with illegal content . . . . Pornhub is awash with secretly
  18                filmed “creepshots” of schoolgirls and clips of men
  19                performing sex acts in front of teenagers on buses. It has
  20                also hosted indecent images of children as young as three. .
  21                . . The website says it bans content showing under-18s and
  22                removes it swiftly. But some of the videos identified by this
  23                newspaper’s investigation had 350,000 views and had been
  24                on the platform for more than three years. Three of the
  25                worst clips that were flagged to Pornhub still remained on
  26                the site 24 hours later. . . . The Sunday Times found dozens
  27                of examples of illegal material on the website within
  28                minutes. It followed research by the campaign group
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   1               #NotYourPorn, which identified revenge porn videos and
   2               clips filmed by secret cameras. . . . One account, called
   3               “Candid teen asses,” is devoted to posting covertly filmed
   4               “creepshots” showing UK girls in school uniform. Another
   5               features clips of a man performing sex acts among young
   6               concertgoers, rubbing up against them in a crowded music
   7               venue. . . . While Pornhub has blocked users from
   8               searching terms such as “underage” and “child porn,”
   9               synonyms including “jailbait,” “very young girl” and
  10               “lolita” can still be used to find content. . . .
  11        195. Also, in 2019, PayPal terminated its relationship with MindGeek
  12 because of the presence of illegal content on MindGeek’s websites.
  13        196. These individual examples of the frequent public reporting of individual
  14 nonconsensual content on MindGeek’s websites were merely indications of the
  15 knowing and intended consequences of it its unrestricted content model.            Among
  16 those consequences included hundreds of videos of child pornography uploaded and
  17 present on its websites from 2013-20, including from video chat service Stickam,
  18 which was a notorious child pornography exchange that was shut down in 2014 as
  19 part of one of the largest internet child pornography prosecutions in history,
  20 involving the sextortion of over 350 minors via the video chat service.          Despite the
  21 highly publicized investigation and conviction, for years, those child pornographic
  22 videos and compilations of those videos were ubiquitously uploaded by MindGeek
  23 users and optimized and transferred by MindGeek to its other tubesites and to users
  24 downloading the videos.
  25        197. Similarly, from 2013-2017, New York resident Nicole Addimando’s
  26 husband physically abused and raped her, and subjected her to sodomy with objects,
  27 vaginal torture with heated spoons, and being left for extended periods of time and in
  28 degrading and painful positions.      These assaults were videotaped and posted to
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   1 Pornhub. Pornhub not only permitted those uploads, it optimized and transferred
   2 those videos to its other tubesites.   Even after Addimando’s abuse and Pornhub
   3 uploads became highly publicized, videos of the assaults remained on MindGeek’s
   4 tubesites and were uploaded, downloaded, optimized, and transferred by MindGeek
   5 numerous times.      Those videos remained on MindGeek’s tubesites as late as 2019
   6 and remain on its servers even after having been disabled for optimization purposes.
   7 To this day, a search engine inquiry of “Nicole Addimando Sex Tape” will result in
   8 the top two search results being to Pornhub with the result stating: “Nicole
   9 Addimando” and “Watch Nicole Addimando porn videos for free, here on
  10 Pornhub.com.       No other sex tube is more popular and features more Nicole
  11 Addimando scenes than Pornhub!”
  12         198. Likewise, from 2014-2015, 49-year-old Dawn Giannini sexually abused
  13 a 14-year-old relative, recorded the abuse, and posted those recordings on Pornhub.
  14 MindGeek not only permitted the obviously underage assault and child pornography
  15 to be uploaded to Pornhub, it transferred those videos to its other tubesites.   The
  16 videos were viewed by the victim’s friends at school, one of whom ultimately alerted
  17 the authorities leading to Giannini’s arrest in 2018. Those videos were still present
  18 on MindGeek sites as late as 2019 and remain on its servers for optimization
  19 purposes.     To this date, a search of “Giannini sex tape” on Yahoo produces a
  20 Pornhub search result listed third, for “Dawn Giannini Porn Videos” and the message
  21 “Watch Dawn Giannini porn videos for free, here on Pornhub.com. . . . No other sex
  22 tube is more popular and features more Dawn Giannini scenes than Pornhub!.
  23         199. Each of the Individual Defendants were aware in real time of these
  24 reports.     Antoon and Tassillo and MindGeek’s substantial media and social media
  25 optimization (“SMO”) teams closely tracked all new about the business. Many of
  26 these reports were accompanied by media, law enforcement, or other third-party
  27 inquiries.    And the three Individual Defendants discussed many of them as well as
  28 well as responses thereto.
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   1                      (iii)    The Individual Defendants’ Active Concealment
   2        200. The Individual Defendants’ knowledge and intent is also demonstrated
   3 by the aggressive and sustained disinformation campaign they directed and sustained
   4 when mounting public reports revealed MindGeek’s lack of any genuine moderation
   5 and active monetization of child pornography and other nonconsensual content.            It
   6 is undisputed that the Individual Defendants knew about the facts being reported,
   7 undeniable that they knew those facts were true, and their decision to nevertheless
   8 deny the truth, take no remedial steps, and instead attempt to misrepresent their
   9 existing business model and practices demonstrates they were knowing and
  10 intentional.
  11        201. For example, in response to The Sunday Times’ 2019 reporting that
  12 Pornhub was “flooded” with illegal content that it failed to remove even after the
  13 paper had notified it of that illegal content, MindGeek disseminated blatantly false
  14 denials from a fictious spokesman who does not exist, but who was, in fact,
  15 MindGeek VP Corey Urman.            As the Sunday Times reported,
  16                Pornhub said it had a ‘robust internal policy’ for removing
  17                offending material, including ‘expertly-trained human
  18                reviewers’ and ‘scanning content to determine whether it is
  19                consensual.’     Blake White, its vice president, said child
  20                sexual abuse made up a tiny proportion of content and the
  21                aim was to eradicate it. ‘It is important to note that
  22                oftentimes videos described as ‘hidden camera footage’ or
  23                ‘young teen’ are in fact legal, consensual videos that are
  24                produced to cater to various user fantasies,’ he said.
  25                ‘They are in fact protected by various freedom of speech
  26                laws. Certain words are banned from being used in titles
  27                and tags, and we will be doing a thorough audit of our
  28                websites to update and expand this list.
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   1          202. Urman’s statement was a lie.       MindGeek had no real moderation
   2 function and did not scan videos before they were uploaded.       Instead, despite being
   3 fully aware of all these and many more other reports of CSAM and other
   4 nonconsensual content on its websites, MindGeek did nothing to alter its unrestricted
   5 content model but instead continued to intentionally monetize such content while
   6 publicly misrepresenting its practices in response to reports otherwise.     As with all
   7 other major undertakings, MindGeek’s response to this report was directed by its
   8 CEO and COO Antoon and Tassillo in consultation with the controlling shareholder,
   9 Bergmair.
  10          203. Indeed, even months after this reporting, on or about March 10, 2020,
  11 four videos of child pornography were uploaded to Pornhub depicting men abusing a
  12 toddler in diapers and a pre-pubescent child bound and being raped anally while
  13 crying for the abuser to stop. At the time, Pornhub publicly admitted that these
  14 videos had been uploaded on its site, but misrepresented that they had been removed,
  15 “fingerprinted” so they could not be reuploaded, and reported to NCMEC.           As with
  16 all important undertakings, MindGeek’s response to this incident was directed by its
  17 CEO and COO Antoon and Tassillo in consultation with its controlling shareholder,
  18 Bergmair.
  19          204. Because MindGeek’s response was not true, two months later two of the
  20 videos were reuploaded to Pornhub by two separate Pornhub accounts, received
  21 thousands of views, and were the subject of takedown requests to Pornhub.
  22 Pornhub, however, refused to remove the videos for over ten days, during which time
  23 they were viewed tens of thousands of times, and only did so when the FBI became
  24 involved, reported it to NCMEC, and NCMEC instructed Pornhub to disable the
  25 video.     Although Pornhub disabled the video, it left the video page, title, tags, and
  26 user on its site, did not cancel and remove the uploading accounts or review those
  27 accounts for the offending videos or other offending videos.      Indeed, to this day, if
  28 one googles the title or user, Pornhub remains the number one search result.
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   1 Although the video is not available, Pornhub directs you to similar content identified
   2 by its algorithm.   As with all important undertakings, MindGeek’s response to this
   3 incident was directed by its CEO and COO Antoon and Tassillo in consultation with
   4 its controlling shareholder, Bergmair.
   5        205. Similarly, in late 2019, it was widely reported that a “verified” member
   6 of Pornhub’s model program was actually a trafficked 15-year-old girl who had been
   7 missing for approximately a year.      MindGeek allowed the uploading of fifty-eight
   8 videos of this child being raped to its “verified” model channel and transferred those
   9 videos to its other tubesites.   MindGeek never reported this child pornography to
  10 NCMEC or Canada’s CP3 as it was legally required to do.
  11        206. Once again, MindGeek’s response to these reports was to disavow any
  12 responsibility or knowledge, here claiming that the child had been “verified” as an
  13 adult with “valid ID”: “ @luxliv3s Hey Lux, she is a verified model with valid ID.”
  14
  15
  16
  17
  18
  19
  20        207. This, however, also was a lie.       MindGeek knew that it had never
  21 verified the age of the 15-year old missing girl (which was impossible), but elected to
  22 permit the upload anyway to use the videos as advertising for traffic and to profit
  23 from advertising impressions from these videos and other videos viewed by those
  24 who it drew to the website.      As with all important undertakings, MindGeek’s
  25 response to this incident was directed by its CEO and COO Antoon and Tassillo in
  26 consultation with its controlling shareholder, Bergmair.
  27        208. MindGeek’s entrenched commitment to using illegal content to fuel its
  28 business is perhaps best captured by its response to the viral internet campaign in
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   1 2019-20 exposing its practices and the late 2020 bombshell New York Times expose
   2 confirming those claims.    MindGeek’s response to the viral campaign was not to
   3 change its practices, but to continue lying about those practices while attacking
   4 victims and advocates in an aggressive PR campaign to defame and discredit them.
   5         209. This major undertaking of existential strategic importance was discussed
   6 and directed by Bergmair, Antoon, and Tassillo and led by MindGeek vice-president
   7 Corey Urman and New York public relations and social media firm 5wPR.          Urman
   8 and 5wPR regularly speak on behalf of MindGeek using false identities
   9 misrepresented as MindGeek spokespeople because they know their statements are
  10 lies.   These identities include Ian Andrews, Mike Williams, Chris Jackson, Brett
  11 Hall, Dusty Gitalto, and Corey Price.
  12         210. On February 9, 2020, advocate Laila Mickelwait published an op-ed in
  13 the Washington Times about Pornhub to make the public aware that the site was
  14 infested with easily located child pornography and other nonconsensual content
  15 because it had no meaningful moderation process and was intentionally monetizing
  16 such illegal content.   Thereafter, Mickelwait launched a Change.org campaign to
  17 shut down what the campaign branded as “Trafficking Hub” and titled “Shut Down
  18 Pornhub and Hold Its Executives Accountable for Aiding Trafficking.”
  19 Mickelwait’s “Traffickinghub” Campaign went viral.
  20         211. After years of acting with impunity, Pornhub’s initial response was
  21 muted.    Indeed, it did not even deny the Op-Ed’s claims, instead only stressing that
  22 MindGeek was a technology company registered in Luxembourg for tax purposes.
  23 The Washington Times Op-Ed editor noted the response “speaks volumes” about the
  24 accuracy of the petition’s claims.
  25         212. However, as the Traffickinghub Campaign continued its viral
  26 momentum, MindGeek unleashed an aggressive gaslighting campaign to preserve its
  27 unrestricted content model by smearing, discrediting, and intimidating advocates and
  28 victims who dared to speak out.
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   1        213. This campaign began with Antoon and Tassillo misrepresenting to
   2 employees that the public claims were “lies” spread by people seeking to destroy the
   3 porn industry for “religious reasons.”
   4        214. MindGeek and 5wPR also engaged an extensive network of social
   5 media agents, influencers, and amplifiers to spread the same disinformation. On or
   6 about February 25, 2020, Corey Urman, falsely posing under the alias Blake White,
   7 misrepresented that MindGeek had “a steadfast commitment to eradicating and
   8 fighting any and all illegal content on the internet, including non-consensual content
   9 and child sexual abuse material,” was and continued to be committed to ensuring
  10 nonconsensual content, that nonconsensual content was not part of its product and
  11 that claims otherwise were “factually wrong” and “intentionally misleading” lies:
  12               Pornhub has a steadfast commitment to eradicating and
  13               fighting any and all illegal content on the internet,
  14               including non-consensual content and child sexual abuse
  15               material.    Any suggestion otherwise is categorically and
  16               factually inaccurate. . . . Pornhub is actively working to put
  17               in place state-of-the-art, comprehensive safeguards on its
  18               platform to combat this material.      These actions include a
  19               robust system for flagging, reviewing and removing all
  20               illegal material, employing an extensive team of human
  21               moderators dedicated to manually reviewing all uploads to
  22               the site, and using a variety of digital fingerprinting
  23               solutions. We use automated detection technologies such
  24               as YouTube’s CSAI Match and Microsoft’s PhotoDNA as
  25               added layers of protection to keep unauthorized content off
  26               the site.   We also use Vobile, a state-of-the-art
  27               fingerprinting software that scans any new uploads for
  28               potential matches to unauthorized materials to protect
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   1              against banned video being re-uploading.      We are actively
   2              working on expanding our safety measures and adding new
   3              features and products to the platform to this end, as they
   4              become available.    Furthermore, Pornhub will continue to
   5              work with law enforcement efforts and child protection
   6              non-profits in the goal of eliminating any and all illegal
   7              content across the internet.   The petition is not only
   8              factually wrong and intentionally misleading, it was created
   9              and is promoted by a radical rightwing fundamentalist
  10              group in the United States – a group who’s founders have
  11              long vilified and attacked LGBTQ communities and
  12              women’s rights groups, aligned themselves with hate
  13              groups, and espoused extremist and despicable language.
  14 https://www.dailydot.com/irl/petition-pornhub-shut-down-sex-trafficking/
  15        215. These claims were gross misrepresentations. There was no such
  16 commitment to avoiding non-consensual content; it was embraced.           MindGeek had
  17 no effective way to moderate content either by technology or human moderation. It
  18 had never made any real effort to develop such capabilities, and its CEO admitted
  19 internally to another employee by email that MindGeek’s policies “do not appear to
  20 match our practices.” It did not work with law enforcement or report suspected
  21 CSAM as required under federal law, and Antoon knew it had repeatedly ignored
  22 takedown requests from authorities.    And Laila Mickelwait was not a bigot, anti-
  23 LGBTQ or women’s rights, or misleading, let alone, intentionally misleading.
  24        216. Over the course of the next year, MindGeek’s press relations and social
  25 media organization would continue to aggressively disseminate this gross
  26 disinformation. As with any important initiative, this effort was discussed and
  27 directed by Bergmair, Antoon, and Tassillo.      This effort included surreptitiously
  28 “vandaliz[ing]” the Wikipedia page for advocates by loading them with this
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   1 disinformation. Their efforts were so blatant and extensive, Wikipedia put a
   2 disclaimer on the target’s page.
   3        217. A centerpiece of this disinformation campaign included “ghost
   4 bloggers” and other undisclosed operatives publishing scripts provided by MindGeek
   5 and 5wPR as “independent” work. That placed content by MindGeek would then
   6 be amplified by its social media network, captive reporters, and 5wPR.
   7        218. One such operative using the social media moniker “EyeDeco” began
   8 attacking and doxing advocates and victims. EyeDeco’s real identity is a female
   9 living in Montreal known to Plaintiff with the initials GS.
  10        219. On March 1, 2020, she began disseminating MindGeek’s gaslighting
  11 narrative misrepresenting that it only operated legally and with consensual content
  12 and that those publicly claiming otherwise were lying to enrich themselves. She
  13 indicated that her audience would discover this if they “#FollowtheMoney,” which
  14 was a message and meme she would continue promoting for months.
  15        220. She also began publicly doxing and releasing personal information
  16 about those who dared speak up against MindGeek and their extended families.
  17 This personal information was researched and provided to GS by Urman and 5wPR.
  18 As part of this intimidation campaign, in June 2020, GS doxed Mickelwait and her
  19 extended family by releasing information on the properties that they owned, one of
  20 which GS falsely indicated was a brothel.
  21        221. Shortly thereafter, Mickelwait’s extended family members discovered
  22 that their bank accounts, messaging apps, and iClouds had been hacked.       Those who
  23 committed this illegal intrusion then sent an intimate stolen picture of the spouse of
  24 one family member to threaten and intimidate Mickelwait.       Other critics of
  25 MindGeek received similar treatment.      For example, senior executives at vocal
  26 critic National Center for Sexual Exploitation as well as their siblings had computers,
  27 cloud storage, emails, and social media accounts hacked.
  28        222. GS also directly targeted CSAM victims.       One victim, going by Sofia,
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   1 shared on a blog her story of being trafficked from the age of 9-15 and having videos
   2 of her abuse posted on Pornhub.2 In response, GS called her part of a group of
   3 “#grifters” who “have hijacked a legitimate issue in order to further their own
   4 agenda” of enriching themselves.      GS also used very particular information only
   5 MindGeek would have known to falsely claim that the video had been uploaded by
   6 “sofia herself” showing she was a “scammer” working for #LailaMickelwait.” More
   7 particularly, she published, “I see you created your twitter account rather quickly – as
   8 in today. Your ‘friend’ #LailaMickelwait must have coached you on how to open a
   9 new account. What timely timing.       As to why you would #lie about this – no doubt
  10 Laila knows she does a lot of it re: #Pornhub.”
  11           223. When the sixteen-year-old Sofia defended herself, GS again accused her
  12 of lying, actually being “Laila aka Sofia,” and accused her again of uploading the
  13 video herself as part of a scam:    “Before uploading stories, suggest vetting sources
  14 first see above regarding #edit button ONLY being available to #Uploaders Which in
  15 this case as per screenshot in your #Article #Story is Sofia herself. #LailaMickelwait
  16 #scammers.”
  17           224. GS only stopped her assault after a distraught Sofia explained she had
  18 the uploaded image “because my assaulter sent me the screenshot himself.        He used
  19 it to make me know he could profit of my body I am just a 16 year old why would I
  20 lie about this,” and then shared the actual text message that accompanied the image,
  21 which said, in Spanish, “See told you I could do whatever I wanted with you” “cheap
  22 whore” “they don’t even have to wear a condom I am gonna tell Desire I found more
  23 clients for you.”
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  28   2
           https://medium.com/@A.Sofia/not-alone-945c743b6e42
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   7         225. Urman and 5wPR made the same knowing misrepresentation about
   8 Sophia to the New York Times in an effort to persuade it not to publish in 2020.
   9         226. Urman and 5wPR also had GS attack Serena Fleites, who was featured
  10 in the 2020 New York Times expose.       MindGeek fed GS opposition research on
  11 Fleites derived from a “scrap” of the young woman’s social media accounts to
  12 likewise attack Serena as a “#grifter”: “Serena seems like she knows and has known
  13 for quite some time exactly what she is doing aka #grifting.”
  14         227. When the New York Times asked MindGeek about GS’s targeting of
  15 Serena and Sofia, and the coincidence of both MindGeek and GS accusing Sofia of
  16 uploading the video herself, MindGeek lied that it had nothing to do with it and GS
  17 began taking down her social media and locked her account.
  18         228. After GS was compromised, Urman and 5wPR shifted the responsibility
  19 of online attacks to Sarah Valmont, a porn writer who had attended graduate school
  20 in Montreal, and who freelanced for MindGeek under the false identity, Justine
  21 Halley.    Valmont would subsequently get a job with MindGeek.
  22         229. Valmont began publishing MindGeek messaging to discredit the viral
  23 campaign claiming it was “really an effort to exploit[] the pain of real victims in
  24 [support of the advocate’s] million dollar trafficking hub campaign . . . . Churning
  25 out increasingly sensationalist messages and outright falsehood to make it appear as
  26 though Pornhub is intentionally acting in bad faith, and is encouraging people to
  27 abuse their own platform terms of service by uploading illegal content. . . . Pornhub
  28 dos not allow illegal content period. Pornhub has a robust system in place to
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   1 moderate content using both cutting edge technology and human moderators.”
   2         230. Valmont went on to claim falsely that Mickelwait was “doctoring
   3 screenshots” that she was presenting publicly to prove her claims: “I have evidence
   4 that Laila Mickelwait is doctoring screenshots she shares of Pornhub content and is
   5 deliberately lying and misrepresenting the platform. In some legal circles that kind
   6 of things is called, ‘libel’.   More to come” ((8/29/20), and “I hope Laila gives
   7 whoever doctors her screenshots of PH a nice raise, along with plenty of Kleenex.”
   8 (9/1/20).
   9         231. MindGeek’s more overt network operatives also aggressively
  10 prosecuted its gaslighting disinformation campaign with the same false narrative.
  11 One of the most aggressive was its exclusive Brand Ambassador Asa Akira.             For
  12 example, on July 2, 2020, Akira publicly misrepresented that claims by victims and
  13 advocates were false:      “Their claim that Pornhub is profiting off of child porn is
  14 FALSE.      Illegal content is (and always has been) strictly prohibited on Pornhub;
  15 that included any porn involving anyone underage and any porn involving anyone
  16 who is there without consent.”      On October 17, 2020, she called such claims
  17 “straight-up lies and misinformation.”
  18         232. Likewise, throughout 2020, Pornhub’s social media director “Pornhub
  19 Aria” also misrepresented that MindGeek strictly prohibited illegal content, screened
  20 for it, had technology to detect it, `and removed it immediately. For example, on
  21 April 10, 2020, Pornhub’s Aria wrote on social media about “misinformation
  22 circulating” on social media by advocates and victims who “misrepresent
  23 [MindGeek’s] policies and procedures”:
  24                First and foremost, illegal content is strictly prohibited on
  25                Pornhub. This has always been the case and will always
  26                be the case and the safety of our users and models is our
  27                number one priority. Upon upload, every video and photo
  28                uploaded to Pornhub is reviewed manually by a large and
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   1               extensive team of moderators looking for illegal content.
   2               This sets us apart from other platforms like Twitter or You
   3               Tube as well as other adult sites and allows us to act swiftly
   4               and promptly for users who violate the terms of service.
   5               In addition we use automatic detection technologies on
   6               uploads such as YouTube’s CSAI Match and Microsoft
   7               Photo DNA as added layers of protection.       Finally, we
   8               also review flags or content removal reports for illegal
   9               content.   We have a dedicated community that works
  10               actively to ensure that content adheres to our TOS and
  11               rapidly flags any they find questionable for
  12               review/removal.    Any content removal request we receive
  13               on our content are priorities and expedited faster than any
  14               other type of support request and acted upon within hours,
  15               not days. If we come across CSAM, the videos are
  16               fingerprinted so they cannot be reuploaded, and the user is
  17               banned.    We report the user and the uploads to the
  18               National Center for Missing and Exploited Children
  19               (NCMEC) who will work with global authorities. . . . All
  20               illegal content, in addition to content that breaches our
  21               terms of service, is immediately removed as it is detected.
  22        233. Every sentence of this MindGeek statement was a lie.
  23        234. Proof of the lie appeared in the December 2020 New York Times expose
  24 reporting that the search “Young Asian” tuned up 26,000 videos in addition to
  25 thousands more from related suggested searches like “young tiny teen,” extra petite
  26 teen,” “extra small petite teen,” “tiny Asian teen,” “young girl,” and “exploited teen
  27 Asia”; there were “many videos on Pornhub that were recordings of assault on
  28 unconscious women and girls”; “its business model profits from sex videos starring
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   1 young people”; users with names like “13yoboyteen” were posting videos; searches
   2 such as “Girl with braces” turned up almost 2000 videos while “13yo” generated
   3 155,000 videos; videos titles such as “Junior High School Girl After Class” depicting
   4 an underage teenager”; and videos of prepubescent girls and other minor girls were
   5 easily found that the New York Times reported it could not “see how good-faith
   6 moderators could approve of these videos.”
   7        235. MindGeek’s response to this reporting was to refuse to provide an
   8 executive for an interview and instead to issue its standard blatantly false mantra:
   9 “Pornhub is unequivocally committed to combating child sexual abuse material, and
  10 has instituted a comprehensive, industry-leading trust and safety policy to identify
  11 and eradicate illegal material from our community” and that claiming otherwise “is
  12 irresponsible and flagrantly untrue.”
  13        236. However, this time, MindGeek’s gaslighting was not sufficient.
  14 When Visa and Mastercard responded by quickly confirming the accuracy of the
  15 New York Times reporting based on their own investigation and suspending their
  16 relationship with MindGeek, the Individual Defendants scrambled to save the
  17 business by promising better moderation. They made numerous public statements
  18 about adding substantial technology, better human moderation, and partnerships with
  19 authorities and anti-trafficking NGOs.    But instead of actually delivering on those
  20 promises, they continued to proactively work to frustrate the effect of such steps so
  21 they could continue to monetize as much unrestricted content as possible.
  22        237.    Among other things, as reflected in one text exchange between
  23 employees, in the scramble to address the fallout while continuing to cover up the
  24 extent of the problem, senior MindGeek executives instructed subordinates not to
  25 forward to them reports on the amount of CSAM present on the websites because
  26 they did not “wnat [sic] to know how much cp we have ignored for the past 5 years?”
  27        238. MindGeek’s continued effort to frustrate its own moderation practices
  28 included limiting the deployment of such technology to its paysites so that it could
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   1 tell Visa and Mastercard it had deployed such technology on the sites where they
   2 processed payments, while secretly not using that technology on the tubesites that it
   3 used to attract traffic to its paysites and where there was the greatest risk of
   4 nonconsensual content.      This effort was directed by Antoon in consultation with
   5 Bergmair.
   6         239. In addition, although MindGeek touted its new policy of reviewing
   7 flagged content, it concealed that it was only reviewing content that had been flagged
   8 over 15 times. Its chief product officer instructed in an email with Antoon and other
   9 senior executives, “I wouldn’t mention the threshold of when we manually review a
  10 flagged videos being 15+,” while another executive responded that the chief product
  11 officer’s alternative just made ‘it[] obvious we are just trying to hide that it’s a
  12 minimum number of flags” before content was reviewed. Antoon himself
  13 responded that using a percentage indicated that “we want to on purpose profit from
  14 popular high viewed video[s]” that were flagged, which, of course, they did and
  15 always had.
  16         240. When employees purportedly tasked with implementing MindGeek’s
  17 publicly announced policies confronted its chief product officer and chief legal
  18 officer to tell them the actual policies were grossly inadequate, and then pressed the
  19 issue, the chief legal officer told him to “F*ck off. It’s all good. Stop” (asterisk
  20 added).
  21         241. MindGeek’s disingenuous public claims of a new business model are
  22 further belied by the scathing February 2024 report from the Canadian Privacy
  23 Committee, which reported that MindGeek had refused to cooperate with its
  24 investigation, refused to provide requested information or even an affidavit attesting
  25 to the accuracy of the information it had provided, contradicted its own interviewed
  26 employees, ignored the agency’s recommendations, and instead sued the agency
  27 unsuccessfully to prevent it from publicly issuing its findings and recommendations.
  28         242. Although that lawsuit managed to delay the findings for over a year,
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   1 when they were issued in February 2024, the findings included that (a) MindGeek’s
   2 much touted increased human and technological moderation practices remained
   3 “inadequate” and had “many deficiencies” that “are wholly inconsistent with an
   4 organization taking responsibility” for ensuring all content is consensual;
   5 (b) MindGeek still “in the majority of cases [] had no knowledge of evidence as to
   6 whether all individuals depicted in the content in question consented” and knew a
   7 large portion did not; and (c) MindGeek refused to “take[] the necessary and
   8 responsible corrective measures,” “commit[] to follow our recommendations,” or
   9 []propose any meaningful alternative measures to address the contraventions we
  10 identified.”
  11        243. Instead, it reported that MindGeek “continues to rely on the uploaders
  12 for [] consent,” allows content to go live without the uploaders satisfying the new,
  13 purportedly more robust documentation requirements, and refuses to apply its
  14 increased moderation standards and processes to previously uploaded content. And
  15 it found that MindGeek continued to do so despite “overwhelming evidence that this
  16 results in the posting of vast amounts of intimate content without consent.”
  17        244. It was only after MindGeek lost its lawsuit to prevent these findings
  18 from becoming public that it announced it would finally require proof of consent
  19 from all persons appearing in uploads although it has still refused to reveal whether
  20 this is actually an enforced requirement and whether it applies to its paysites and
  21 tubesites. MindGeek continues to refuse to apply the same moderation standards to
  22 previously uploaded content.
  23        245. All of this evidence demonstrates that MindGeek’s commercialization
  24 of child pornography and other nonconsensual content was not an innocent
  25 deficiency but the product of deliberate and knowing choice that it is trying to
  26 maintain to this day.
  27                2.   The Colbeck and Redwood Syndicates.
  28        246. Colbeck and Redwood are hedge funds specializing in financing
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   1 distressed and “special situations” businesses that have no other sources of capital.
   2 Colbeck was the initial lead lender that advised and assembled a syndicate of similar
   3 hedge funds to finance MindGeek’s growth (the “Colbeck Syndicate”), and Redwood
   4 would become one of the largest financiers.
   5         247. For the same reasons as the Individual Defendants, in providing the
   6 necessary financing for MindGeek’s growth, monitoring that investment, and
   7 advising MindGeek, Colbeck and Redwood fully understood that MindGeek was
   8 intentionally embracing child pornography and other nonconsensual content and
   9 these hedge funds nevertheless knowingly and intentionally entered into three
  10 separate illicit agreements to finance and directly profit from that monetization. As
  11 a result, for much of the period at issue, they received virtually all of the profits from
  12 that monetization. They did this even though they could have refused to finance this
  13 trafficking venture, stopped the conduct, or pulled their financing at any time. Yet,
  14 they did not take this action because they, like MindGeek, knowingly and
  15 intentionally sought to benefit from the same trafficking conduct.
  16         248. MindGeek’s patent criminality was known before either Colbeck or
  17 Redwood decided to first finance MindGeek and became more widely known before,
  18 during, and after the terms of each successive financing they did. For example, in
  19 2009, the United States Secret Service seized $6.4 million from the company’s bank
  20 accounts in an investigation into, among other things, money laundering by
  21 MindGeek, then called Mansef, and its owners Ouissam Youseef and Stephane
  22 Manos.
  23         249. In the wake of that investigation, in 2010, Thylmann “bought”
  24 Youseef’s and Manos’ ownership interests in a seller-financed debt transaction by
  25 which they would be paid over time from company earnings. The transaction
  26 distanced the business from its founders while masking their continued economic
  27 interest in it.
  28         250. As part of that effort, Thylmann renamed Mansef, Manwin. In 2011,
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   1 he borrowed over $360 million to fund a massive expansion by acquiring online porn
   2 sites and content libraries. In doing so, however, standard sources for affordable
   3 capital were not available because of the well-known illegality ubiquitous in the
   4 unregulated online porn industry, and at Manwin in particular.
   5         251. Instead, Thylmann turned to Colbeck and its former Goldman Sachs
   6 banker founders, Jason Colodne and Jason Beckman, to arrange financing in 2011
   7 and they arranged for Redwood and other to participate in that financing.
   8         252. The loan was fully secured by all of Manwin’s assets, including its
   9 intellectual property, and provided the Colbeck Syndicate with substantial control
  10 over the company’s management, operations, and economics through extensive
  11 covenants and other onerous terms. Despite the loan being fully secured, the
  12 effective interest rate was in excess of 20%, reflecting the unavailability of any other
  13 capital due to the well-known illicit nature of the business. The high interest rate and
  14 exorbitant other debt costs would consume all of the business’ earnings for years.
  15 As a practical matter, the Colbeck Syndicate owned Manwin and during the term of
  16 the financing had the ability to control virtually all aspects of the business and
  17 receive the vast majority of its earnings.
  18         253. Thylmann kept Mansef originals Antoon and Tassillo, and the three
  19 used the financing to vastly expand the business and establish the Pornhub brand as
  20 mainstream. To do so, they used a Byzantine, multi-national corporate structure
  21 consisting of countless subsidiaries in various international jurisdictions that were
  22 frequently dissolved and reformed in a dizzying shell game. This Byzantine
  23 structure had no economic substance and served no legitimate or commercial
  24 business purpose and was, in fact, highly inefficient from a business management
  25 perspective.
  26         254. However, it masked the true ownership and relationships of these
  27 businesses as well as the flow of monies between and out of them. It also obscured
  28 the magnitude of the monies being funneled through any one entity. Moreover, the
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   1 sheer number of companies and jurisdictions made it difficult for regulators, law
   2 enforcement, and potential creditors to effectively investigate or take legal action
   3 against the business.
   4         255. Most important, the ruse that the company’s business was headquartered
   5 in Luxembourg and operated out of Cyprus, where laws and enforcement concerning
   6 pornography were minimal, was used to circumvent the much stricter criminal and
   7 civil laws and enforcement regimes concerning pornography and CSAM in the
   8 United States, Germany, and Canada where MindGeek actually operated and
   9 generated virtually all of its revenues.
  10         256. Two years after purchasing the company, Thylmann was arrested and
  11 extradited from Belgium to Germany on charges he had used this Byzantine
  12 corporate scheme to evade Germany taxes while also being under investigation for
  13 violating child pornography laws. As a result, he and the Colbeck Syndicate sought
  14 to again whitewash the business from scandal by having Antoon and Tassillo buy out
  15 Thylmann.
  16         257. Ultimately, Thylmann was “bought out” by a refinancing and increase
  17 in the debt and the investment of Bergmair.
  18         258. In exchange for this investment, these parties agreed that Bergmair
  19 would putatively own 59% of the new business, Antoon and Tassillo 31%, and
  20 several preexisting American partners 10%. In fact, however, Bergmair, Antoon,
  21 and Tassillo were only the nominal owners because the Colbeck Syndicate
  22 effectively owned the company more than ever because the increased debt it held on
  23 the business exceeded its assets, the debt was fully secured by the entire business,
  24 and the financing agreement’s draconian terms gave the Colbeck Syndicate effective
  25 control over the business, the ability to foreclose on it at any time, and the right to
  26 receive virtually all of its earnings for the foreseeable future.
  27         259. All of these MindGeek financiers were intimately familiar with the
  28 unrestricted content model MindGeek had been using and would continue to use to
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   1 drive revenues used to repay the syndicate. This thorough understanding of
   2 MindGeek’s practices was initially secured through the extensive due diligence and
   3 investment analysis the Colbeck Syndicate and each of its members, including
   4 Redwood, conducted before providing financing to Manwin, and later Mindgeek.
   5        260. These repeated rounds of due diligence included in-depth investigations
   6 and financial modeling of, among other things, tubesite businesses generally and the
   7 online pornography industry in particular, as well as MindGeek’s specific business
   8 model and legal risks, its competitors, and its websites. They also included
   9 interviews with the Individual Defendants, MindGeek personnel, and industry and
  10 legal experts.
  11        261.      The due diligence materials included reports from security and
  12 consulting firms that highlighted the risks associated with “minors” and “the
  13 distribution of illegal material” and euphemistically explained that the company tried
  14 to “maintain such risks at acceptable levels for all stakeholders while, at the same
  15 time, maintaining the attractiveness if its products and services.” Before providing
  16 financing, Colbeck and Redwood fully understood and endorsed what those
  17 “acceptable levels” of “minor” and “illegal material” were under MindGeek’s
  18 unrestricted content model (i.e., as much as possible).
  19        262. Based on this extensive due diligence, Colbeck and Redwood elected to
  20 proceed on the investment thesis that MindGeek’s unrestricted content model would
  21 drive search engine dominance and all investment and effort would be dedicated to
  22 unlimited content acquisition and not genuine moderation.
  23        263. When they did so, they knew from their due diligence that more
  24 mainstream websites and social media companies like Facebook and YouTube
  25 deployed substantial investment and effort into moderating child pornography and
  26 other illegal content given the ubiquitousness of such content in an unrestricted
  27 online environment. The due diligence also revealed that no comparable moderation
  28 investment or effort was applied in the online pornography industry, which
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   1 universally operated without regard to, and by commercializing, illicit content in a
   2 wild, wild west market environment. Indeed, the rampant illegality in the industry
   3 was the reason why virtually no other investment capital was available. And the due
   4 diligence revealed that MindGeek too had been and would be continuing to operate
   5 with the very same unrestricted content model that affirmatively embraced the use of
   6 child pornography and all other forms of nonconsensual content.
   7        264. This due diligence also involved a detailed understanding of
   8 MindGeek’s purported international corporate structure as well as its actual business
   9 structure and operations, including the fact that it was actually headquartered in
  10 Canada and had duplicate servers containing all its content as well as subsidiaries
  11 acting as critically essential agents in the United States. From this due diligence,
  12 Colbeck, Redwood, and their syndicates understood the actual applicability of U.S.
  13 tax and pornography laws to MindGeek’s business, and the devastating impact on
  14 that business if MindGeek complied with those laws.
  15        265. In short, from before providing any financing through the term of all
  16 financing, Colbeck, Redwood, and their syndicates intimately understood
  17 MindGeek’s industry, competitive environment, legal obligations and risks, business
  18 practices, financial models and plans, and the consequences and risks associated with
  19 them. They understood that absent substantial investment and effort in meaningful
  20 moderation and compliance, the business would be infested with child porn and other
  21 nonconsensual content. They understood MindGeek was intentionally operating
  22 without any such meaningful moderation and compliance and intentionally planned
  23 to continue to do so. They understood that instead MindGeek’s unrestricted content
  24 model knowingly and intentionally planned to incorporate such content into its
  25 business and monetize it by proactively optimizing and promoting it. And they
  26 understood it planned to do so, in part, by evading U.S. laws based on a fictitious
  27 corporate structure and misrepresented claims about its practices.
  28        266. And, critically, they understood that directing all investment into
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   1 monetizing illicit as well as licit content and none to moderation was essential to
   2 MindGeek’s ability to successfully execute its business plan and pay back the
   3 exorbitant debt. Indeed, among other things, that financing was intended to fuel
   4 projected growth by the mass acquisition of existing businesses and content that also
   5 used unrestricted content models and were already infested with illegal content. The
   6 growth was not based on building a better safer alternative to illegal online porn, but
   7 in grabbing market share in an illicit industry with a company that was likewise
   8 illicitly operating. In short, the financing was an investment in child pornography
   9 and other trafficked content in exchange for oversized returns.
  10         267. It was the knowing and intentional willingness to finance this illicit
  11 business, which the rest of the investment community was not willing to finance, that
  12 permitted Colbeck and Redwood to secure exorbitant effective interest rates as high
  13 as 20% on secured loans with onerous control terms.
  14         268. Colbeck and Redwood were also aware MindGeek was commercializing
  15 child pornography and other nonconsensual content from their direct involvement
  16 with the company over the terms of their financing. In addition to its exorbitant
  17 economics, the financing terms also included draconian covenants and remedies that
  18 provided Colbeck, Redwood, and their syndicates substantial transparency into the
  19 business, regular reporting of financing and material business and legal matters, and
  20 the ability to effectively control the company through various means including
  21 through broad default and foreclosure rights.
  22         269. Under these terms, the syndicate regularly received detailed reports on
  23 MindGeek’s business and financial performance, business plans, and legal issues and
  24 risks, including when issues concerning child pornography and other nonconsensual
  25 content were raised by government bodies and law enforcement, business counter-
  26 parties, victims, and the press. These included detailed disclosures of
  27 communications concerning illegality that were received from advocates, business
  28 counter-parties, political officials, and journalists, including the responses provided.
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   1 Colbeck, Redwood, and the syndicates knew these reports were true and MindGeek’s
   2 denials false but permitted them anyway.
   3         270. Beyond the complete access to information about MindGeek’s
   4 operations, the Colbeck and Redwood syndicates’ substantial rights amounted to
   5 effective ownership and control. The syndicates consumed virtually all of the
   6 business’ earnings for most of the years, and Colbeck and Redwood could at any
   7 time have declared a default for any number of reasons, including MindGeek’s
   8 failure to comply with U.S. law or otherwise exclude illegal content, and thus had the
   9 ability to either take direct ownership and control or replace the Individual
  10 Defendants running the company. Therefore, at any time, they could have directed
  11 MindGeek to comply with U.S. law and exclude child pornography or other illegal
  12 content, but they knowingly and intentionally did not do so because they understood
  13 the business and the syndicate’s investment depended on that unrestricted content
  14 and the full utilization of the financing and operational earnings in acquiring, not
  15 limiting, it.
  16         271. Beyond all these sources for Colbeck’s and Redwood’s direct
  17 knowledge of MindGeek’s systematic use of child porn and other nonconsensual
  18 content, they also closely monitored MindGeek’s websites and news and other public
  19 information about the business and the industry as part of their ongoing management
  20 of this massive high-risk investment and communicated regularly with Antoon
  21 regarding same. Thus, Colbeck and Redwood were aware of all the public reports
  22 of CSAM and other non-consensual content on MindGeek’s websites throughout this
  23 period. At no time, however, did either Colbeck or Redwood take any steps to stop
  24 what they knew was the systemic and intentional use of child pornography and other
  25 nonconsensual content because they had always been aware of this fact and agreed to
  26 finance and profit from it. And their failure to do so even in the wake to the
  27 damning public reporting from 2019-2021 demonstrates this reporting was neither a
  28 surprise nor a problem for them.
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   1               3.    Visa
   2        272. Also aware of and uniquely situated to prevent MindGeek’s trafficking
   3 venture were the financial institutions processing the transactions upon which that
   4 venture monetized the content. At the top of that list were major American credit
   5 card companies Visa and Mastercard. The impact these financial institutions could
   6 have had in preventing the victimization of women and men as well as children
   7 worldwide was made apparent in December 2020 when, in response to public
   8 outrage from a bombshell New York Times report exposing MindGeek’s trafficking,
   9 they cut ties with Pornhub and consequently forced MindGeek to take down over 10
  10 million unverified videos from its tubesites in response.
  11        273. But that expose was not a bombshell to Visa and Mastercard. For over
  12 a decade they had been well aware of the facts the New York Times exposed and
  13 instead of insisting that MindGeek commercialize only legal consensual content, and
  14 comply with United States laws concerning the same, they elected instead to
  15 facilitate and profit from the MindGeek trafficking venture. Even today, Visa
  16 continues to process payments for MindGeek paysites that are themselves rife with
  17 trafficking and are promoted, marketed, and sustained by the MindGeek trafficking
  18 venture.
  19        274. At all times relevant to this complaint, major credit card companies and
  20 their member banks providing merchant services to MindGeek were aware of its
  21 trafficking venture and knowingly profited from it. They did so despite numerous
  22 high profile publicly reported instances of obvious and indisputable trafficking, the
  23 termination of relationships with MindGeek by competitors and other business
  24 partners, facts in plain sight and known to them, and detailed reports presented to
  25 them from numerous anti-trafficking advocacy groups.
  26        275. These credit card companies and their member banks providing
  27 merchant services to MindGeek were aware of the trafficking risk because it was
  28 common knowledge in the pornographic industry since no later than the 1980 and the
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   1 subject of numerous public reports from government and advocacy agencies ever
   2 since, particularly since the emergence of online pornography industry. They were
   3 likewise fully familiar with 18 U.S.C. § 2257 provisions designed to prevent
   4 CSAM/child pornography.
   5        276. More particularly, these financial institutions and their member banks
   6 were aware of actual instances of trafficking and CSAM/child pornography and red
   7 flags of such content from their own due diligence and compliance functions. Indeed,
   8 since its inception, all one needed to do was visit MindGeek’s tubesites to observe
   9 tens of thousands of videos (with the help of MindGeek’s suggested search and video
  10 algorithm) depicting subjects who were obviously underage, under duress,
  11 incapacitated, being raped, or secretly exploited. One would also easily observe tens
  12 of thousands more videos depicting the very same content where there was no way to
  13 determine whether the content was nonconsensual.
  14        277. In addition, it was apparent from the most such superficial inquiry that
  15 MindGeek was taking no steps to police the presence of obviously nonconsensual
  16 content or determine if ambiguous content was consensual. To the contrary, that
  17 simple investigation would have revealed that the titles, descriptions, and tags and
  18 MindGeek’s algorithmic suggested video and search functions did not merely
  19 tolerate non-consensual content but encouraged its upload and viewing.
  20        278. Furthermore, the most basic inquiry would have revealed that
  21 MindGeek made no effort to effectively employ technology to police illegal content,
  22 employed virtually no human moderation, employed no human moderation remotely
  23 approximating that of other websites with far less content, and had an incoherent
  24 random selection of superficial policies to prevent such content that were plainly not
  25 intended to do any such thing but were, as one insider said, “100% BS.”
  26        279. Moreover, it was apparent to anyone, including the credit card
  27 companies and their merchant banking members, that MindGeek systemically
  28 ignored the requirements of 18 U.S.C. § 2257, which was enacted decades earlier
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   1 because it was a known fact that absent basic age verification CSAM/child
   2 pornography would infest the pornography business.
   3         280. The most basic observation also would have revealed that while major
   4 websites with video libraries and upload volumes as big as or smaller than MindGeek
   5 reported millions of CSAM/child pornography depictions to authorities, MindGeek
   6 reported virtually none. This fact alone would have alerted anyone who cared that
   7 MindGeek was intentionally concealing and commercializing such content.
   8         281. Certainly, taken together, all of this would have informed even the
   9 densest inquisitor that MindGeek was intentionally engaged in commercializing non-
  10 consensual trafficked content. The credit card companies and their members
  11 providing merchant banking to MindGeek were not uniquely incapable of
  12 understanding all of this. To the contrary, they were uniquely capable and in the
  13 best position to understand this. And they did understand this. They simply chose
  14 to do business with MindGeek and benefit from its trafficking venture nevertheless.
  15         282. Most important, these companies and member banks were well aware
  16 that it is was impossible to segregate MindGeek’s trafficking venture from its
  17 legitimate porn business. These companies were intimately familiar with
  18 MindGeek’s business model and that all its content, including its trafficked content
  19 and CSAM/child pornography, was inextricably intertwined in MindGeek’s SEO,
  20 promotion, solicitation, and funneling of website traffic to its paid porn services.
  21 Indeed, as the campaign exposing Pornhub went viral in 2020, these credit card
  22 companies began pressuring MindGeek to clean up explicit references to trafficked
  23 content and CSAM/child pornography on its sites by removing titles, descriptions,
  24 and tags that explicitly flagged such content. However, Visa did not insist that the
  25 content itself be removed or that MindGeek put in place systems to reasonably
  26 ensure it was not commercializing such content and/or using it to benefit its business
  27 through SEO and the funneling of traffic to its websites.
  28         283. Not all financial institutions chose to continue benefiting from
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   1 MindGeek’s trafficking venture. For example, in November 2019, Visa’s
   2 competitor PayPal terminated its relationship with MindGeek because it could no
   3 longer ignore the overwhelming evidence of MindGeek’s trafficking venture. At the
   4 time, PayPal publicly explained that “[PayPal] explicitly prohibits the use of [its]
   5 services for the sale of materials that depict criminal behavior, or the sale of sexually
   6 oriented content to minors.”3 Despite this public disclosure, Visa continued to
   7 partner with MindGeek. They continued to do business with MindGeek because
   8 Visa and its merchant banks servicing MindGeek were long aware of the same
   9 information and intentionally elected to not terminate their relationships with
  10 MindGeek.
  11        284. Likewise, Visa continued to process payments for MindGeek partner
  12 channels even after one of its most popular partner channels, GirlsDoPorn, was
  13 indicted and then convicted for being a human trafficking venture. When it did this,
  14 Visa was aware that it had made millions of dollars in profits from GirlsDoPorn and
  15 similar MindGeek partner channels and elected to continue to do so without any
  16 investigation or diligence. It did so because it was already aware that MindGeek’s
  17 business was infested with trafficked content like GirlsDoPorn, was aware that
  18 MindGeek systemically violated 18 U.S.C. § 2257 in neither requiring its partner
  19 channels to secure and certify age verification and consent and by transferring
  20 millions of videos a year in and through MindGeek’s network of websites that did
  21 not comply with § 2257.
  22        285. Even worse, Visa continued to do business with MindGeek even after it
  23 was confronted directly with evidence of its complicity in MindGeek’s trafficking
  24 venture. For example, in 2020, Visa was included for the first time on the annual
  25 Dirty Dozen List issued by anti-trafficking advocates to highlight mainstream
  26
  27   3
        https://www.thetimes.co.uk/article/paypal-cuts-off-porn-site-that-ran-child-abuse-
  28 videos-98j2bdnjt.
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   1 business that facilitate, participate in, and profit from sexual abuse and exploitation.
   2 In response, Visa issued a public statement misrepresenting that:
   3               Visa only permits transactions on the Visa network for the
   4               purchase or sale of lawful products and services. We
   5               categorically prohibit transactions involving child pornography
   6               and human trafficking. As a founding member of the Financial
   7               Coalition Against Child Sexual Exploitation, Visa works
   8               together with our coalition partners to identify potentially
   9               illegal merchants or illegal activities and bar them from the
  10               Visa network.
  11         286. In fact, Visa was aware that it and its merchant banks servicing
  12 MindGeek permitted and profited from tens of thousands of transactions annually
  13 that benefited from MindGeek’s trafficking venture. Specifically, in addition to
  14 transactions processed to pay for trafficked content and child pornography
  15 specifically, Visa and these banks, together with MindGeek, used their trafficking
  16 venture to promote, solicit, and facilitate the purchase of consensual porn. And they
  17 did so despite its flagrant violation of § 2257. Visa and its network banks were
  18 intimately familiar with MindGeek’s business model and how it used illicit content
  19 to attract and funnel business, advertising, and paid memberships, all of which Visa
  20 elected to process and profit from nevertheless.
  21         287. Further evidencing Visa’s commitment to doing business and benefiting
  22 from MindGeek’s trafficking venture, in April 2020, during a conference call with
  23 Elizabeth Scofield, the Director of Global Brand Protection for Visa, anti-sex
  24 trafficking advocates detailed the ways in which MindGeek was enabling and
  25 profiting from the rape and trafficking of women and children. At the conclusion of
  26 the call, Scofield requested written information that she could present to others at
  27 Visa, which was provided to her on April 30, 2020 in the form of a lengthy, detailed
  28 presentation detailing the ways in which Visa was participating in the exploitation of
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   1 victims of sex trafficking through its partnership with MindGeek. Visa never
   2 responded further, and elected instead to continue doing business with and benefiting
   3 from MindGeek’s trafficking venture.
   4         288. Thereafter, Visa’s participation and facilitation of MindGeek’s illegal
   5 conspiracy was reiterated by a letter sent by another non-profit organization
   6 dedicated to ending human trafficking and modern slavery on May 1, 2020. The
   7 letter, which was addressed to Visa’s president, Alfred Kelly, detailed MindGeek’s
   8 documented complicity in the trafficking of women and children and concluded with
   9 a plea to Visa to terminate its partnership with MindGeek.
  10         289. MindGeek’s illegal and criminal activities were further detailed in a
  11 second letter sent to Visa five days later on May 5, 2020. Among other important
  12 disclosures, the May 5, 2020 letter explained that it is impossible to “judge or verify
  13 consent in any videos on [Pornhub] let along live webcam videos” which inherently
  14 make it “a target for sex traffickers, child abusers, and other sharing predatory
  15 nonconsensual videos.”4 This was not a novel alert. The presence of trafficking in
  16 the webcam industry was notorious and well known to Visa.
  17         290. Nevertheless, Visa and its member banks processing payments from
  18 MindGeek elected to continue processing such transaction even when they carried
  19 with them obvious red flags such as involving accounts from known trafficking
  20 regions and where payments from large numbers of purportedly independent cam
  21 models were being deposited into single accounts of obvious traffickers.
  22         291. When Visa failed to take any action in response to the detailed
  23 presentation of facts and follow up correspondence, anti-trafficking public advocates
  24 launched an email campaign, targeting the executives of Visa. Within two days of
  25 the May 8, 2020 campaign launch, hundreds of emails had been sent. On May 15,
  26 2020, a second campaign was started. By May 22, 2020, thousands of emails had
  27
       4
  28       https://www.bbc.com/news/world-52543508
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   1 been sent to Visa executives calling for Visa to terminate its relationship with
   2 Pornhub.
   3        292. Yet Visa did not respond. However, over two months later when the
   4 campaign against MindGeek again picked up steam due to a viral video released by
   5 advocates, Visa did conduct a CYA scramble to avoid being accused of ignoring the
   6 issue entirely. On July 15, 2020, it sent a response letter.
   7        293. That response was stunning. Instead, of seriously considering the
   8 evidence of illegality it was already well aware of, it offered mealy-mouthed
   9 platitudes about its vital role in commerce, its need to remain neutral, and the need
  10 for others to do something about a pure evil it was uniquely situated to immediately
  11 address: “We believe that any truly effective solution must come from thoughtful
  12 changes to laws and regulations by those elected to establish the laws of our country .
  13 . . Maintaining a neutral stance under the law is vital for the free flow of commerce.”
  14 That is to say, translated into English: we do not want to get involved in policing
  15 illegal conduct when we are making money on the illegal conduct even if we admit it
  16 is evil and we could easily stop it” (emphasis added).
  17        294. The ease with which anyone, and certainly sophisticated financial
  18 institutions with rigorous due diligence obligations, would have become aware of
  19 MindGeek’s trafficking venture was made obvious by the December 4, 2020 New
  20 York Times bombshell report by Pulitzer Prize winner Nicholas Kristoff, “The
  21 Children of Porn Hub.” Acknowledging that MindGeek’s business involves much
  22 legitimate, legal pornography, Kristoff also reported how his relatively modest
  23 investigative efforts easily revealed that its business also was flooded with non-
  24 consensual content and seems designed so be so:
  25               Yet there’s another side of the company: Its site is
  26               infested with rape videos. It monetizes child rapes, revenge
  27               pornography, spy cam videos of women showering, racist
  28               and misogynist content, and footage of women being
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   1             asphyxiated in plastic bags. A search for “girls under18”
   2             (no space) or “14yo” leads in each case to more than
   3             100,000 videos. Most aren’t of children being assaulted,
   4             but too many are.
   5
                 **************************************
   6
   7             A great majority of the 6.8 million new videos posted on
   8             the site each year probably involve consenting adults, but
   9             many depict child abuse and nonconsensual violence.
  10             Because it’s impossible to be sure whether a youth in a
  11             video is 14 or 18, neither Pornhub nor anyone else has a
  12             clear idea of how much content is illegal.
  13
                       ***************************************
  14
  15             I came across many videos on Pornhub that were
  16             recordings of assaults on unconscious women and girls.
  17             The rapists would open the eyelids of the victims and touch
  18             their eyeballs to show that they were nonresponsive.
  19
                 Pornhub profited this fall from a video of a naked woman
  20
                 being tortured by a gang of men in China. It is monetizing
  21
                 video compilations with titles like “Screaming Teen,”
  22
                 “Degraded Teen” and “Extreme Choking.” Look at a
  23
                 choking video and it may suggest also searching for “She
  24
                 Can’t Breathe.”
  25
  26                   ****************************************
  27             Facebook removed 12.4 million images related to child
  28             exploitation in a three-month period this year. Twitter
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   1             closed 264,000 accounts in six months last year for
   2             engaging in sexual exploitation of children. By contrast,
   3             Pornhub notes that the Internet Watch Foundation, an
   4             England-based nonprofit that combats child sexual abuse
   5             imagery, reported only 118 instances of child sexual abuse
   6             imagery on its site over almost three years, seemingly a
   7             negligible figure.
   8
                 The Internet Watch Foundation couldn’t explain why its
   9
                 figure for Pornhub is so low. Perhaps it’s because people
  10
                 on Pornhub are inured to the material and unlikely to report
  11
                 it. But if you know what to look for, it’s possible to find
  12
                 hundreds of apparent child sexual abuse videos on Pornhub
  13
                 in 30 minutes. Pornhub has recently offered playlists with
  14
                 names including “less than 18,” “the best collection of
  15
                 young boys” and “under- - age.”
  16
  17
                       ****************************************
  18
                 So while it is now no longer possible to search on Pornhub
  19
                 in English using terms like “underage” or “rape,” the
  20
                 company hasn’t tried hard to eliminate such videos. A
  21
                 member called “13yoboyteen” is allowed to post videos. A
  22
                 search for “r*pe,” turns up 1,901 videos. “Girl with braces”
  23
                 turns up 1,913 videos and suggests also trying “exxxtra
  24
                 small teens.” A search for “13yo” generates 155,000
  25
                 videos. To be clear, most aren’t of 13-year-olds, but the
  26
                 fact that they’re promoted with that language seems to
  27
                 reflect an effort to attract pedophiles.
  28
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   1               Moreover, some videos seem at odds with the list of
   2               banned content. “Runaway Girl Gets Ultimatum, Anal or
   3               the Streets” is the title of one Pornhub video. Another user
   4               posts videos documenting sex with teenage girls as they
   5               weep, protest and cry out in pain.
   6
                   While Pornhub is becoming more careful about videos of
   7
                   potentially litigious Americans, it remains cavalier about
   8
                   overseas victims. One Indonesian video is titled “Junior
   9
                   High School Girl After Class” and shows what appears to
  10
                   be a young teenager having sex. A Chinese sex video, just
  11
                   taken down, was labeled: “Beautiful High School Girl Is
  12
                   Tricked by Classmates and Taken to the Top of a Building
  13
                   Where She Is Insulted and Raped.”
  14
  15
                   In the last few days as I was completing this article, two
  16
                   new videos of prepubescent girls being assaulted were
  17
                   posted, along with a sex video of a 15-year-old girl who
  18
                   was suicidal after it went online. I don’t see how good-faith
  19
                   moderators could approve any of these videos.
  20
             295. Almost immediately after this report was published, both Visa and
  21
       Mastercard terminated substantial connections with MindGeek, claiming that after
  22
       just a few days of “investigation” they had “discovered” that MindGeek’s websites
  23
       were permeated with illegal content. In fact, these companies and their member
  24
       banks providing merchant banking services to MindGeek were aware of these facts
  25
       for over a decade but elected to continue doing business with them and make
  26
       millions of dollars in profit from MindGeek’s trafficking venture.
  27
             296. On December 10, 2020, Visa posted on Twitter: “[g]iven the allegations
  28
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   1 of illegal activity, Visa is suspending Pornhub’s acceptance privileges pending the
   2 completion of our ongoing investigation. We are instructing the financial institutions
   3 who serve MindGeek to suspend processing of payments through the Visa network.”
   4         297. Unlike Visa’s response which merely acknowledged “allegations of
   5 illegal activity,” the CEO of Visa’s biggest competitor, Mastercard, acknowledged
   6 publicly that after just a few days of “investigation” it had determine MindGeek was
   7 trafficking in illegal content:
   8               We went back and we looked, and we found actually
   9               instances where clearly the legal standard of what should
  10               be allowed on Pornhub had been crossed. So, we went back
  11               to Pornhub and said, ‘Sorry, you’ve crossed the legal
  12               standard.’ Porn’s not illegal. It is certain kinds of porn
  13               that are illegal. So child porn is, and that’s what we saw.
  14               That’s why we pulled out.
  15         298. Visa’s investigation revealed the same thing, and more, yet it refused to
  16 also publicly acknowledge this fact because it wanted to continue doing business
  17 with, and profiting from, MindGeek’s trafficking venture.
  18         299. And that is what it did. Visa’s ban on MindGeek’s websites was short-
  19 lived. Although Visa continues its ban on MindGeek’s websites that host user-
  20 generated content, like Pornhub, in short order Visa reembraced MindGeek and
  21 began processing payments again for MindGeek’s paysites despite knowing that
  22 these revenue streams are likewise permeated with trafficking like GirlsDoPorn, and
  23 that MindGeek used its trafficking venture overall to attract, advertise, and funnel
  24 visitors revenues to these paid sites. As of the filing of this lawsuit, Visa continues
  25 to process payments for such content.5
  26
  27   5
       https://endsexualexploitation.org/wp-content/uploads/2021-Dirty-Dozen-
  28 List_Notification-Letter_Visa_Final.pdf.
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   1         D.    MindGeek’s Alter Ego Corporate Structure and Operation
   2         300. The Individual Defendants and the Mindgeek Organizations were the
   3 alter egos of each other because the complicated corporate structure (a) lacked
   4 economic substance; (b) was a sham created to evade pornography, tax, and
   5 monetary transaction laws; lacked any bona fide corporate purpose or reality, and
   6 instead consisted of a phantom “headquarters” and phantom “operating companies”
   7 in Luxemburg and Cyprus, respectively, when, in fact, the de facto headquarters and
   8 operating company was located at a purported Canadian subsidiary; and (c) was
   9 systematically ignored in so far as, among other things, all the organizations were run
  10 as one, comingled monies, failed to segregate funds, paid each others’ fees, expenses
  11 and distributions, treated each other’s assets as their own, held themselves out as
  12 being personally liable for the debts of each other, used the same business locations
  13 employing the same employees, failed to adequately capitalize, used each other as a
  14 conduit for a single venture, failed to maintain arm’s length relationships among
  15 themselves, diverted assets without consideration from/to one another to the
  16 detriment of creditors (including Plaintiff), failed to keep bona fide, accurate, and
  17 complete corporate and financial records, and were dominated and directly controlled
  18 by the Individual Defendants personally who used that domination and control to
  19 engage in substantial self-dealing and diverting of corporate funds and assets without
  20 authorization for noncorporate uses.
  21         301. For example, during the period covered by the complaint, the
  22 Luxembourg headquarters was empty, described by journalists who visited it as
  23 “reception deserted, there are a few cardboard boxes lying around, cables hanging
  24 out of the walls and price tags are stuck on the desks.” One neighbor reported there
  25 was never anyone in the offices. Likewise, the offices of the purported Cyprus
  26 operating companies were staffed merely by a handful of very junior employees
  27 engaged in low-level formatting that they described as “edit[ing] content for some
  28 websites” and loading content onto those sites. When anyone tried to contact these
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   1 companies about the business, they would be informed that the offices have nothing
   2 to do with the actual websites purportedly being operated out of those offices.
   3 Those who actually operated, acted on behalf of, and communicated for these
   4 purported businesses were located primarily in Canada at the actual company
   5 headquarters and their communications would be routed through Cyprus servers to
   6 misrepresent that they were there.
   7         302. Indeed, contrary to the corporate form Mindgeek created and maintained
   8 publicly to be true, the Individual Defendants directly dominated and ran the
   9 company as owners.      Antoon and Tassillo publicly testified and otherwise publicly
  10 affirmed that they ran the entire company as CEO and COO even though they held
  11 no such roles and had no such authority under the formal corporate form.      Antoon
  12 and Tassillo ran the entire company directly as its owners along with the person they
  13 identified as the majority owner, Bernrd Bergmair.     Bergmair was consulted and
  14 approved all major decisions, was regularly briefed on all material matters, and
  15 frequently travelled to the Canadian offices where he had an executive office.
  16         303. In addition, the Individual Defendants used their direct and personal
  17 domination and control over the company to engage in substantial self-dealing. For
  18 example, for years Antoon and Tassillo used MindGeek Canada and no less than a
  19 dozen of its executives and personnel to manage their personal and investment affairs
  20 and those of their family members. Among others, Antoon and Tassillo used the
  21 general counsel and MindGeek’s legal staff to handle personal and investment
  22 contracts and insurance matters, to prepare legal letters to tenants in their numerous
  23 real estate rental properties, and to assist in legal proceedings concerning those
  24 properties.
  25         304. They used the CFO’s office and, in particular, the Senior Director of
  26 Corporate Finance, to manage their personal and investment finances and bank
  27 accounts using MindGeek’s systems. This included keeping the books on their
  28 personal and investment finances, issuing monthly reports, tracking receipts of rental
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   1 and other payments and expenses, including property, auto and other insurance,
   2 federal state and local taxes, mortgage fees, condominium fees, and furniture and
   3 appliances purchases. These personnel had access to and control over Antoon and
   4 Tassillo’s personal and investment bank accounts and credit cards, managed those
   5 accounts, and prepared regular financial reports.
   6        305. In addition, the head of MindGeek facilities and members of her
   7 department worked, including several full time, on managing Antoon and Tassillo’s
   8 real estate investment properties, including the following tasks: investigating and
   9 recommending potential investment properties; managing the purchase or sales
  10 processes; conducting regular site visits; advertising rentals; interviewing and
  11 screening potential tenants; negotiating rental and sales deals; having lease and
  12 renewal contracts prepared and executed; coordinating tenant moves; handling rental
  13 unit repairs and cleaning; arranging for and managing annual inspections; handling
  14 rent collection and deposits; responding to tenant complaints or requests; shopping
  15 for and negotiating insurance, vendors services, furniture and appliances; attending
  16 condominium board meetings and liaising with condominium management on behalf
  17 of tenants or Antoon and Tassillo; paying condominium fees and property taxes;
  18 arranging and paying for utilities, cable and communications, and refuse services;
  19 and coordinating all such activities and payments with MindGeek’s finance, legal,
  20 IT, and administrative functions.
  21        306. With assistance from MindGeek’s general counsel and his staff, these
  22 facilities personnel also handled government rental board matters, evictions, and
  23 legal proceedings to collect delinquent rent.
  24        307. These personnel provided similar services for Antoon’s and Tassillo’s
  25 personal residences by providing or arranging for maintenance, repairs,
  26 improvements, technical services, vendor selection and management, furnishing and
  27 appliance purchases, utilities, and financial management.
  28        308. In addition to using MindGeek personnel, Antoon and Tassillo and
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   1 those personnel commingled MindGeek credit cards and vendor accounts to fund
   2 such activities, frequently running the costs of them through the expense system or
   3 company charge cards. Furniture, appliances, and other items were similarly
   4 purchased for their personal or investment properties through MindGeek accounts
   5 and were often delivered and stored at MindGeek.
   6        309. Moreover, the legal entities in which such properties were held used
   7 MindGeek’s address, the personnel acting on Antoon’s and Tassillo’s behalf
   8 communicated with their counterparties through MindGeek emails and telephone
   9 accounts, they wrote correspondence addressed from MindGeek, and their signature
  10 blocks identified them as MindGeek employees.
  11        310. Also involved in such activities were Antoon’s and Tassillo’s family
  12 members. For example, Tassillo’s sister was employed by MindGeek and actively
  13 assisted in the management of his real estate investments and personal residences and
  14 other assets as part of her responsibilities; and MindGeek personnel also provided
  15 similar services for Antoon’s family members, including his brother Mark, his
  16 mother and father, and his cousins. Antoon also had MindGeek pay his family for
  17 running a cafeteria at MindGeek Canada.
  18 III.   Plaintiff Was Exploited by MindGeek’s Trafficking Venture
  19        311. Between September 2016 and March 2018, L.T. was repeatedly raped,
  20 assaulted, and exploited by her-then boyfriend while she was sleeping.     L.T. learned
  21 of these sexual assaults for the first time on February 18, 2019, when she received a
  22 message from a stranger on Facebook alerting her that he had seen a video of her on
  23 Pornhub and was concerned because the content was clearly not consensual.
  24        312. Upon being informed of her assault videos, L.T. immediately searched
  25 on Pornhub and discovered two additional pornographic videos and numerous nude
  26 photographs of herself that had been uploaded to the site without her knowledge or
  27 consent.    Two of the videos depicted her being raped, vaginally and anally, while
  28 passed out.   The videos contents were corroborated by MindGeek categories and
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  1 tags that identified the videos as “Sleep Sex.” While the third video depicted L.T.
  2 engaged in consensual sex, L.T. did not know and did not consent to the recording,
  3 and certainly did not consent to its upload, dissemination, and monetization on
  4 Pornhub.
  5         313. Even worse, two of the numerous nude, sexually explicit photos L.T.
  6 found of herself on Pornhub were taken when she was a minor and shared privately
  7 with her then-boyfriend. Others were secretly recorded without her knowledge or
  8 consent.    The videos and images were featured with L.T.’s full name, address, and
  9 social media handles.
 10         314. MindGeek personnel reviewed the videos and images of L.T., as they
 11 repeatedly have claimed do for every image uploaded to Pornhub, and the title,
 12 categories, tags, and comments, and were aware that the videos and images
 13 constituted CSAM and abuse materials. Nevertheless, consistent with its overall
 14 business model and practices, MindGeek posted the videos and images to its Pornhub
 15 site.   It also categorized, tagged, optimized for user preferences, and disseminated
 16 the images, tags and video depicting L.T.        And it uploaded the optimized, tagged,
 17 categorized video to its other tubesites itself and incorporated it into its algorithmic
 18 playlists and suggested videos.     L.T.’s videos and images appeared alongside
 19 advertisements that MindGeek had placed and on which it earned revenues with
 20 every page visit, impression, engagement, and conversion.
 21         315. L.T.’s ex-boyfriend who secretly recorded and uploaded these explicit
 22 videos and images intended to monetize them at the time they were recorded and
 23 secured and he and those to whom he sold the videos and images regularly uploaded
 24 such videos to MindGeek’s tubesites.
 25         316. Upon discovering her CSAM and abuse videos and images on Pornhub,
 26 L.T. contacted law enforcement. Initially, MindGeek refused to remove the account
 27 and the abuse videos of L.T.      It was only after law enforcement informed Pornhub
 28 that some of the images were CSAM that Pornhub took action.
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  1        317. Thereafter, L.T’s trafficker was indicted and charged with dissemination
  2 of private sexual images and two counts of aggravated felonious sexual assault of a
  3 physically helpless victim and sentenced to thirty years in prison.   The criminal
  4 investigation revealed that L.T.’s ex-boyfriend had previously uploaded two
  5 additional videos and dozens of additional images of L.T. to Pornhub.
  6        318. Although the police were successful in having L.T.’s videos and images
  7 initially removed, the damage was already done.     During the months before the
  8 videos and images were removed, they were downloaded countless times and
  9 reuploaded to Pornhub and other pornographic websites, including other MindGeek
 10 owned sites.    Each time, the reuploaded videos of L.T.’s rape were reviewed and
 11 accepted by MindGeek, optimized, categorized, and tagged, pushed to other tubesites
 12 by MindGeek, and matched with advertising from which MindGeek earned revenues.
 13        319. Thus, L.T. was victimized on multiple occasions. First, when she was
 14 first abused and exploited. Second, when the videos and images of her abuse and
 15 exploitation were uploaded to MindGeek’s platform. Third, when MindGeek, as a
 16 matter of course, transferred those videos to its other tubesites, to users downloading
 17 them, and to its platform again when it periodically reuploaded disabled content or
 18 non-disabled content that it had further optimized. Fourth, when defendants did
 19 nothing to police and report such content to the authorities.
 20        320. MindGeek’s illegal and widespread dissemination of L.T.’s CSAM and
 21 abuse images have caused L.T. to suffer from extreme anxiety and emotional
 22 distress. After learning that her CSAM and assault images had been widely
 23 disseminated and monetized on Pornhub, L.T. began treatment with a mental health
 24 professional. She dropped out of college and stopped working for more than a year.
 25 Although L.T. did eventually return to work, she has not returned to college.
 26
 27
 28
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  1
  2                                   CAUSES OF ACTION
  3                                           COUNT I
  4             (VIOLATION OF 18 U.S.C. §§ 1591(A)(1), 1591 (A)(2), 1595)
  5                      (AGAINST THE MINDGEEK DEFENDANTS)
  6         321. Plaintiff incorporates by reference and realleges each and every
  7 allegation set forth above, as though fully set forth herein.
  8         322. As set forth herein, MindGeek, through its Byzantine network of sham
  9 shell entities, owners, alter egos, agents, executives, and investors, is a sex
 10 trafficking venture within the meaning of 18 U.S.C. §§ 1591 and 1595.
 11         323. The MindGeek Defendants knowingly used the instrumentalities and
 12 channels of foreign commerce to facilitate violations of 18 U.S.C. §§ 1591 and 1595.
 13         324. The MindGeek Defendants’ conduct was in, or affected, interstate
 14 and/or foreign commerce.
 15         325. The MindGeek Defendants recruit, entice, harbor, transport, provide,
 16 obtain, advertise, maintain, patronize, or solicit videos and images depicting CSAM
 17 on their websites.
 18         326. Moreover, the MindGeek Defendants participated in a venture engaged
 19 in sex trafficking that targeted Plaintiff by inter alia:
 20                (a)    recruiting, commissioning, producing, buying, and aggressively
 21                       soliciting illegal content, including content depicting CSAM,
 22                       rape, assault, and other nonconsensual activities;
 23                (b)    systemically uploading paid for trafficked, CSAM, and other
 24                       illegal content through a network of agents and MindGeek
 25                       employees in Canada or Cyprus;
 26                (c)    partnering with content channels to produce CSAM and other
 27                       illegal content for its tubesites;
 28
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  1             (d)   entering into explicit online agreements with traffickers at the
  2                   time of upload to use the illegal content and commercialize it on
  3                   other MindGeek owned tubesites;
  4             (e)   curating, formatting and modifying uploaded content to optimize
  5                   search engine optimization and visualization and mask blatant
  6                   descriptions of criminality, including editing scenes, video length,
  7                   and content to appear as if it was user-made;
  8             (f)   creating thumbnails to attract viewers to videos, including CSAM
  9                   videos;
 10             (g)   directing viewers interested in child pornography and other illegal
 11                   content to CSAM on its site through playlists, titles, tags, buttons
 12                   that direct viewers to various types of content and levels of
 13                   intensity;
 14             (h)   featuring categories on their websites that target users interested
 15                   in child pornography and other sexual abuse, trafficking, and
 16                   nonconsensual materials;
 17             (i)   directing and assisting users to describe their videos through
 18                   content titles and tags using categories like “teen” to drive traffic
 19                   to CSAM materials and suggesting preexisting terms based on its
 20                   SEO analysis;
 21             (j)   maintaining the webpage and thumbnails for disabled videos so
 22                   that the MindGeek Defendants can continue to generate traffic
 23                   and revenue from that illegal content and direct users to similar
 24                   content;
 25             (k)   maintaining a search and tagging system that directs users to find
 26                   and view videos of child and adult sex abuse, sex trafficking, and
 27                   other nonconsensual content;
 28
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  1             (l)   providing guidance to its global network of sex traffickers on how
  2                   to upload videos of sex trafficking and evade criminal liability
  3                   while complying with MindGeek’s purposefully loose
  4                   restrictions, including by maintaining public list of “banned
  5                   words”—i.e., words to avoid in the title of videos;
  6             (m)   providing its global network of sex traffickers VPN services to
  7                   allow them to cover up their unlawful conduct by obscuring the
  8                   sex traffickers’ locations and identities;
  9             (n)   enabling videos to be uploaded to its tubesites without proper
 10                   verification and moderation that the video complies with 18 USC
 11                   2252 or other applicable laws;
 12             (o)   enabling the downloading of videos which facilitated the reupload
 13                   by different users with different titles, including numerous
 14                   instances where the CSAM videos of Plaintiff were reuploaded to
 15                   Pornhub and other MindGeek owned tubesites;
 16             (p)   pushing and reuploading all effective content on any of its
 17                   tubesites, including CSAM videos of Plaintiff, regardless of its
 18                   initial sourcing, to its other tubesites which it falsely portrayed as
 19                   posted by a user other than MindGeek;
 20             (q)   monetizing CSAM and other illegal content through subscriptions
 21                   and advertising, including through MindGeek affiliate
 22                   TrafficJunky, and by placing advertisements alongside CSAM
 23                   videos, including CSAM videos of Plaintiff;
 24             (r)   enabling advertisers to build campaigns around keywords that
 25                   clearly reflect illegal activity, including “13yearoldteen”;
 26                   “not18”; “14yrold”; and “15yrold”;
 27             (s)   editing advertisement placed on its tubesites to highlight terms
 28                   that promote the creation, use, and viewing of CSAM.
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  1               (t)    systematically and surreptitiously reuploading content that it had
  2                      been forced to disable, and doing so in a manner in which it
  3                      appeared to have been reuploaded by independent users;
  4               (u)    maintaining a database of all CSAM, illegal, abuse, and other
  5                      nonconsensual content ever uploaded to any of its tubesites,
  6                      including deleted videos, for future commercialization and
  7                      monetization.
  8         327. As set forth herein, defendants entered into explicit online agreements
  9 with sex traffickers to use and broadly disseminate uploaded content, maintained
 10 affiliations with those sex traffickers by enabling the posting of child pornography on
 11 their websites, and strengthened those affiliations by connecting traffickers with
 12 those who want to view child pornography by, among other things, creating playlists
 13 that target those interested in child pornography, feature categories on their website
 14 that target those interested in child pornography, instruct users to describe their
 15 videos with terms like “teen”; and declined to take down CSAM images, and when
 16 they do leave the disabled link up so that it can direct viewers to similar content.
 17         328. The MindGeek Defendants knowingly benefit from a sex trafficking
 18 venture by benefitting financially from the dissemination and monetization of child
 19 sexual abuse materials, including hundreds of millions of dollars in annual profits
 20 from subscriptions and almost three billion ad impressions each day, much of which
 21 is attributable to CSAM and other illegal content.
 22         329. The MindGeek Defendants knew or should have known that their
 23 tubesites were rife with CSAM, abuse, rape, trafficked and other nonconsensual
 24 content. Among other things, between 2011 and the present, the MindGeek
 25 Defendants have been repeatedly informed of child pornography and other trafficked,
 26 nonconsensual, and illegal content on their websites by victim complaints, user
 27 comments, third party reporting, advocacy groups, and governmental investigations.
 28 Moreover, by way of further example, as set forth herein:
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  1               (a)    MindGeek had a reasonable opportunity to observe the victims
  2                      featured on its website;
  3               (b)    MindGeek purported to have moderators review every video prior
  4                      to uploading it to its website, and the CSAM nature of the video
  5                      was obvious from the age of Plaintiff, the title, and tags;
  6               (c)    MindGeek regularly reuploaded materials that had been removed
  7                      from its site in response to a directive from authorities or a
  8                      victim’s lawyer to remove child pornography or other illegal
  9                      materials;
 10               (d)    comments on posts, titles, and tags, including the title and public
 11                      comments associated with the videos of Plaintiff that was
 12                      uploaded to Pornhub, informed MindGeek that the content
 13                      depicted underage victims and victims of assault and sex
 14                      trafficking;
 15               (e)    MindGeek intentionally and aggressively pursued a no restricted
 16                      content business model, and in furtherance of this objective failed
 17                      to adopt verification and modification techniques, including for
 18                      the videos depicting Plaintiff that were uploaded and reuploaded
 19                      to its tubesites.
 20        330. Plaintiff’s CSAM videos that were disseminated on MindGeek’s
 21 tubesites constitute commercial sex acts because all of the videos and images
 22 generate revenue for defendants and/or traffickers.
 23        331. As a direct and proximate result of the MindGeek Defendants’
 24 violations of 18 U.S.C. §§ 1591 and 1595, Plaintiff has suffered substantial damages,
 25 including but not limited to, physical, psychological, financial, and reputational
 26 harm, adverse employment impacts, and other costs associated with the prolific
 27 dissemination of her CSAM.
 28        332. Further, by profiting from these videos and images, the MindGeek
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  1 Defendants have become unjustly enriched at the expense of Plaintiff in an amount to
  2 be determined at trial.
  3         333. Moreover, by reason of the MindGeek Defendants’ violation of 18
  4 U.S.C. §§ 1591 and 1595, Plaintiff is entitled to recover attorney’s fees, costs, and
  5 punitive damages.
  6                                         COUNT II
  7                       (VIOLATION OF 18 U.S.C. §§ 1591, 1595)
  8                                     (AGAINST VISA)
  9         334. Plaintiff incorporates by reference and realleges each and every
 10 allegation contained above, as though fully set forth herein.
 11         335. As set forth herein, MindGeek, through its Byzantine network of sham
 12 shell entities, owners, alter egos, agents, executives, and investors, is a sex
 13 trafficking venture within the meaning of 18 U.S.C. §§ 1591 and 1595.
 14         336. Visa participated in the MindGeek sex trafficking venture by processing
 15 premium subscriptions for MindGeek partner channels and ad payments for
 16 MindGeek’s pay and tubesites. As set forth herein, Visa processed payments that
 17 allowed viewers to access or download videos of Plaintiff, among countless other
 18 trafficking victims. Additionally, Visa participated in the MindGeek sex trafficking
 19 venture by making at least two public statements falsely suggesting that all of the
 20 content on MindGeek’s tubesites was lawful and legitimate under current laws,
 21 despite Visa’s knowledge to the contrary. Reflecting Visa’s central participation
 22 and role in the MindGeek sex trafficking venture, when Visa terminated its payment
 23 processing service in December 2020 following the New York Times expose,
 24 MindGeek immediately took down nearly 10 million unverified videos from its
 25 tubesites.
 26         337. Visa knowingly used the instrumentalities and channels of foreign
 27 commerce to facilitate violations of 18 U.S.C. §§ 1591 and 1595, occurring within
 28 the territorial jurisdiction of the United States.
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  1         338. Visa’s conduct was in, or affected, interstate and/or foreign commerce.
  2         339. Visa knowingly benefits financially and/or receives something of value
  3 from participation in the MindGeek sex trafficking venture including, but not limited
  4 to, millions of dollars in profits from credit card transaction fees for premium
  5 subscriptions and ad revenues.
  6         340. Visa knew, recklessly disregarded, or should have known that it
  7 benefitted from participation in a sex trafficking venture that trafficked Plaintiff,
  8 among countless other victims, and engaged in acts that constitute violations of
  9 section of 18 U.S.C. § 1591(a)(1). As set forth herein, MindGeek’s business model
 10 of recruiting, enticing, harboring, transporting, providing, obtaining, advertising,
 11 maintaining, patronizing, and/or soliciting CSAM and other sexual abuse and
 12 trafficking content was known to, recklessly disregarded by, or reasonably should
 13 have been known to Visa because, among other reasons:
 14               (a)    known risks associated with the pornography industry dating back
 15                      to the 1980s;
 16               (b)    media reporting concerning CSAM on MindGeek’s and its
 17                      predecessor company sites dating back to 2011,
 18               (c)    video titles, comments and tags, including the titles and
 19                      comments on Plaintiff’s CSAM videos that were uploaded to
 20                      Pornhub, informed Visa that the content depicted underage
 21                      victims and victims of assault and sex trafficking;
 22               (d)    direct correspondence from advocacy groups and e-mail writing
 23                      campaigns re same;
 24               (e)    governmental investigations, including by the Canadian House of
 25                      Commons; and
 26               (f)    the most basic due diligence searches on MindGeek’s sites which
 27                      revealed thousands of videos depicting subjects who were
 28
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  1                      obviously underage, under duress, incapacitated, being raped or
  2                      secretly exploited.
  3         341. As set forth herein, on November 14, 2019, Visa’s competitor, PayPal,
  4 terminated its payment service to MindGeek upon learning of the existence of
  5 trafficked, underage images and other illegal content. PayPal publicly explained the
  6 basis for its decision to terminate the relationship: “[PayPal] explicitly prohibits the
  7 use of [its] services for the sale of materials that depict criminal behaviour, or the
  8 sale of sexually oriented content to minors.”
  9         342. Moreover, in May 2020 anti-trafficking advocacy groups sent Visa a
 10 series of letters detailing the prevalence of unlawful sex trafficking content on
 11 MindGeek’s tubesites and demanding that Visa stop processing payments and
 12 immediately terminate its relationship with MindGeek. Further, thousands of
 13 members of these organizations emailed Visa echoing the letter and the requested
 14 action.
 15         343. Yet Visa intentionally ignored, or at a minimum recklessly disregarded,
 16 this information and continued to participate in and financially benefit from
 17 MindGeek’s sex trafficking venture. Indeed, despite this information and Visa’s
 18 knowledge of it, Visa made at least two public statements falsely suggesting that all
 19 of the content on MindGeek’s tubesites was lawful and legitimate under current laws.
 20 It was only thirteen months after PayPal publicly disclosed MindGeek’s illegal
 21 activities that Visa finally called for an investigation into MindGeek’s practices and
 22 purported to “suspend[] Pornhub’s acceptance privileges pending the completion of
 23 [Visa’s] ongoing investigation.” Visa also purported to “instruct[] the financial
 24 institutions who serve MindGeek to suspend processing of payments through the
 25 Visa network.” And while Visa has continued its ban on MindGeek’s websites that
 26 distribute user-generated content, Visa has re-initiated its relationship with
 27 MindGeek and began processing payments again for professionally produced
 28 content.
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  1         344. As a result of Visa’s violations of 18 U.S.C. §§ 1591 and 1595, Plaintiff
  2 has suffered substantial damages, including but not limited to, physical,
  3 psychological, financial, and reputational harm as well as other damages.
  4         345. Further, by profiting from these videos and images, Visa has become
  5 unjustly enriched at the expense of Plaintiff in an amount to be determined at trial.
  6         346. Moreover, by reason of Visa’s violation of 18 U.S.C. §§ 1591 and 1595,
  7 Plaintiff is entitled to recover attorney’s fees, costs, and punitive damages.
  8                                        COUNT III
  9                       (VIOLATION OF 18 U.S.C. §§ 1591, 1595)
 10           (AGAINST REDWOOD CAPITAL AND COLBECK CAPITAL)
 11         347. Plaintiff incorporates by reference and realleges each and every
 12 allegation contained above, as though fully set forth herein.
 13         348. As set forth herein, MindGeek, through its Byzantine network of sham
 14 shell entities, owners, alter egos, agents, executives, and investors, is a sex
 15 trafficking venture within the meaning of 18 U.S.C. §§ 1591 and 1595.
 16         349. Defendants Redwood and Colbeck participated in the MindGeek sex
 17 trafficking venture by participating in the financing syndicates that funded
 18 MindGeek’s operations and growth and included draconian control rights over the
 19 company’s management, operations, and economics such that these lenders
 20 effectively owned the business. In that role, Colbeck and Redwood worked closely
 21 with the MindGeek Defendants and advised and assisted on the plan to dominate the
 22 online pornography industry via the unrestricted content model.
 23         350. Redwood and Colbeck knowingly used the instrumentalities and
 24 channels of foreign commerce to facilitate violations of 18 U.S.C. §§ 1591 and 1595,
 25 occurring within the territorial jurisdiction of the United States.
 26         351. Redwood’s and Colbeck’s conduct were in, or affected, interstate and/or
 27 foreign commerce.
 28         352. Redwood and Colbeck knowingly benefitted financially from their
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  1 participation in the MindGeek sex trafficking venture by exploiting the illegal nature
  2 of the business to siphon millions in windfall profits from exorbitant interest rates
  3 and other onerous economic terms on a fully secured loan.
  4         353. Redwood and Colbeck knew or recklessly disregarded their
  5 participation in a sex trafficking venture that trafficked Plaintiff, among countless
  6 other victims, and engaged in acts that constitute violations of section of 18 U.S.C. §
  7 1591(a)(1) through the extensive due diligence each conducted on the business
  8 before extending debt, their close monitoring of the business throughout the loan
  9 period in which each was earning millions in high double digit interest rates and
 10 other onerous debt terms, its regular and close interaction with the Company and its
 11 executives, extensive public reporting on the ubiquitousness of illegal content on
 12 MindGeek’s websites dating back to 2011, and governmental investigations.
 13 Indeed, Redwood and Colbeck were only able to earn such high interest on the debt
 14 because the illegality associated with MindGeek’s business was so well understood
 15 in the capital markets generally, and specifically among any prospective lenders who
 16 conducted the most basic pre-loan due diligence, that there was no alternative
 17 financing available. Thus, while the rest of the capital markets avoided this criminal
 18 venture, Colbeck and Redwood consciously embraced it because of the potential to
 19 earn windfall profits charging massive interests on a fully secured loan.
 20         354. As a result of Redwood’s and Colbeck’s violations of 18 U.S.C. §§
 21 1591 and 1595, Plaintiff has suffered substantial damages, including but not limited
 22 to, physical, psychological, financial, and reputational harm as well as other
 23 damages.
 24         355. Further, by profiting from these videos and images, Redwood and
 25 Colbeck have become unjustly enriched at the expense of Plaintiff in an amount to be
 26 determined at trial.
 27         356. Moreover, by reason of Redwood’s and Colbeck’s violation of 18
 28 U.S.C. §§ 1591 and 1595, Plaintiff is entitled to recover attorney’s fees, costs, and
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  1 punitive damages.
  2                                       COUNT IV
  3                     (VIOLATION OF 18 U.S.C. §§ 1594(c), 1595)
  4                           (AGAINST ALL DEFENDANTS)
  5        357. Plaintiff incorporates by reference and realleges each and every
  6 allegation contained above, as though fully set forth herein.
  7        358. Defendants conspired by agreement or understanding, to commit
  8 unlawful acts. Each of the defendants shared the same conspiratorial objective,
  9 which was to financially benefit from the monetization, recruitment, solicitation,
 10 funding, maintenance, advertisement, streaming, and distribution of CSAM and other
 11 nonconsensual and illegal content.
 12        359. As set forth above and in Count I-III, all of which are incorporated by
 13 reference as though fully set forth herein, defendants committed overt acts in
 14 furtherance of the agreement or understanding by knowingly recruiting, producing,
 15 funding, maintaining, streaming, and distributing CSAM and other nonconsensual
 16 content, directing and implementing the no restricted content business model, and
 17 financing its operations and its growth and/or benefiting financially from such
 18 distribution.
 19        360. Defendants’ participation in the furtherance of the sex trafficking
 20 venture and/or purpose was intentional and/or willful and, therefore, defendants
 21 intentionally and/or willfully caused Plaintiff’s commission of the sex acts.
 22        361. Defendants Redwood, Colbeck, and Visa funded, supported and
 23 facilitated MindGeek’s commercialization and monetization of CSAM and other
 24 nonconsensual content, including the content depicting Plaintiff. Moreover, Visa
 25 also knew at the time it made the public statements referenced in this Complaint that,
 26 contrary to the false suggestion that those statements clearly created, MindGeek’s
 27 tubesites were awash with unlawful and nonconsensual content, including CSAM.
 28        362. Defendants conspired with each other through affirmative acts that
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  1 provided financial support to MindGeek to enable its exploitation of Plaintiff.
  2         363. At all relevant times, defendants’ conduct was willful and done with
  3 legal malice and knowledge that it was wrongful.
  4         364. Plaintiff has suffered substantial damages, including but not limited to,
  5 physical, psychological, financial, and reputational harm as well as other damages.
  6         365. Moreover, by reason of the defendants’ violation of 18 U.S.C. §§ 1594
  7 and 1595, Plaintiff is entitled to recover attorney’s fees, costs, and punitive damages.
  8                                        COUNT V
  9                       (VIOLATION OF 18 U.S.C. §§ 2252, 2255)
 10                    (AGAINST THE MINDGEEK DEFENDANTS)
 11         366. Plaintiff incorporates by reference and realleges each and every
 12 allegation contained above, as though fully set forth herein.
 13         367. Plaintiff is a victim of violations of 18 U.S.C. §§ 2252 and suffered
 14 personal injuries as a result of these violations. Accordingly, Plaintiff is entitled to
 15 bring a civil action under 18 U.S.C. § 2255.
 16         368. MindGeek knowingly transported visual depictions of minors engaging
 17 in sexually explicit conduct, as defined under 18 U.S.C. § 2256(2)(A), including, but
 18 not limited to, photographs and videos of Plaintiff, who was a minor at the time the
 19 photographs and videos were taken, via its websites which affected interstate or
 20 foreign commerce in violation of 18 U.S.C. § 2252(a)(1).
 21         369. MindGeek knowingly received and distributed visual depictions of
 22 minors engaging in sexually explicit conduct, as defined under 18 U.S.C. §
 23 2256(2)(A), including, but not limited to, photographs and videos of Plaintiff, who
 24 was a minor at the time the photographs and videos were taken, via their websites
 25 which affected interstate or foreign commerce.
 26         370. MindGeek knowingly sold or possessed with intent to sell visual
 27 depictions of minors engaging in sexually explicit conduct, as defined under 18
 28 U.S.C. § 2256(2)(A), including, but not limited to, photographs and videos of
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  1 Plaintiff, who was a minor at the time the photographs and videos were taken, via its
  2 websites which affected interstate or foreign commerce in violation of 18 U.S.C. §
  3 2252(a)(3).
  4         371. MindGeek knowingly possessed visual depictions of minors engaging in
  5 sexually explicit conduct, as defined under 18 U.S.C. § 2256(2)(A), including, but
  6 not limited to, photographs and videos of Plaintiff, who was a minor at the time the
  7 photographs and videos were taken, via its websites which affected interstate or
  8 foreign commerce in violation of 18 U.S.C. § 2252(a)(4). Moreover, even when
  9 MindGeek was forced to take down illegal content in response to legal requests,
 10 rather than delete the materials it was not legally allowed to possess or redistribute, it
 11 claimed to have stored all the data on its servers and periodically would reupload that
 12 content or push it to affiliate sites so that it could continue to generate traffic and
 13 corresponding revenue.
 14         372. In addition, the MindGeek Defendants duplicated and distributed new
 15 child pornography depicting Plaintiff by creating and hosting new “thumbnail”
 16 images from existing videos of Plaintiff.
 17         373. MindGeek’s knowledge of the CSAM nature of the videos depicting
 18 Plaintiff can readily be inferred from the visual depiction of Plaintiff, the title of the
 19 video, the tags, and comments.
 20         374. Plaintiff has suffered substantial physical, psychological, financial, and
 21 reputational harm as well as other damages as the result of MindGeek’s violation of
 22 18 U.S.C. § 2252.
 23         375. Defendants’ conduct was malicious, oppressive, or in reckless disregard
 24 of Plaintiff’s rights, and Plaintiff is entitled to injunctive relief, compensatory, and
 25 punitive damages, and the costs of maintaining this action. 18 U.S.C. § 2252A(f).
 26
 27
 28
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  1                                        COUNT VI
  2                      (VIOLATION OF 18 U.S.C. §§ 2252A, 2255)
  3                    (AGAINST THE MINDGEEK DEFENDANTS)
  4        376. Plaintiff incorporates by reference and realleges each and every
  5 allegation contained above, as though fully set forth herein.
  6        377. Plaintiff is a victim of violations of 18 U.S.C. § 2252A and suffered
  7 personal injuries as a result of these violations. Accordingly, Plaintiff is entitled to
  8 bring a civil action under 18 U.S.C. § 2255.
  9        378. MindGeek knowingly transported child pornography, as defined under
 10 18 U.S.C. § 2256(8), including, but not limited to, photographs and videos of
 11 Plaintiff, who was a minor at the time the photographs and videos were taken, via
 12 their websites which affected interstate or foreign commerce in violation of 18
 13 U.S.C. § 2252A(a)(1).
 14        379. MindGeek knowingly received or distributed child pornography, as
 15 defined under 18 U.S.C. § 2256(8), including, but not limited to, photographs and
 16 videos of Plaintiff, who was a minor at the time the photographs and videos were
 17 taken, via their websites which affected interstate or foreign commerce in violation
 18 of 18 U.S.C. § 2252A(a)(2).
 19        380. MindGeek knowingly reproduced child pornography, as defined under
 20 18 U.S.C. § 2256(8), including, but not limited to, photographs and videos of
 21 Plaintiff, who was a minor at the time the photographs and videos were taken, via
 22 their websites which affected interstate or foreign commerce in violation of 18
 23 U.S.C. § 2252A(a)(3)(A).
 24        381. MindGeek knowingly advertised, promoted, presented, distributed, or
 25 solicited visual depictions of actual minors engaging in sexually explicit conduct, as
 26 defined under 18 U.S.C. § 2256(2)(A), including, but not limited to, photographs and
 27 videos of Plaintiff, who was a minor at the time the photographs and videos were
 28
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  1 taken, via their websites which affected interstate or foreign commerce in violation
  2 of 18 U.S.C. § 2252A(a)(3)(B).
  3         382. MindGeek knowingly sold or possessed with intent to sell child
  4 pornography, as defined under 18 U.S.C. § 2256(8), including, but not limited to,
  5 photographs and videos of Plaintiff, who was a minor at the time the photographs
  6 and videos were taken, via their websites which affected interstate or foreign
  7 commerce in violation of 18 U.S.C. § 2252A(a)(4).
  8         383. MindGeek knowingly possessed child pornography, as defined under 18
  9 U.S.C. § 2256(8), including, but not limited to, photographs and videos of Plaintiff,
 10 who was a minor at the time the photographs and videos were taken, via their
 11 websites which affected interstate or foreign commerce in violation of 18 U.S.C. §
 12 2252A(a)(5). Moreover, even when MindGeek was forced to take down illegal
 13 content in response to legal requests, rather than delete the materials it was not
 14 legally allowed to possess or redistribute, it claimed to have stored all the data on its
 15 servers and periodically would reupload that content or push it to affiliate sites so
 16 that it could continue to generate traffic and corresponding revenue.
 17         384. In addition, the MindGeek Defendants duplicated and distributed new
 18 child pornography depicting Plaintiff by creating and hosting new “thumbnail”
 19 images from existing videos of Plaintiff.
 20         385. MindGeek’s knowledge of the CSAM nature of the videos depicting
 21 Plaintiff can readily be inferred from the visual depiction of Plaintiff, the title, tags,
 22 and comments associated with that video indicating that Plaintiff was clearly a
 23 minor.
 24         386. Plaintiff has suffered substantial physical, psychological, financial, and
 25 reputational harm as well as other damages as a result of MindGeek’s violations of
 26 18 U.S.C. §§ 2252A.
 27         387. MindGeek’s conduct was malicious, oppressive, or in reckless disregard
 28 of Plaintiff’s rights, and Plaintiff is entitled to injunctive relief, compensatory and
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  1 punitive damages, and the costs of maintaining this action. 18 U.S.C. § 2252A(f).
  2                                       COUNT VII
  3                   (PUBLIC DISCLOSURE OF PRIVATE FACTS)
  4                   (AGAINST THE MINDGEEK DEFENDANTS)
  5         388. Plaintiff incorporates by reference and realleges each and every
  6 allegation contained above, as though fully set forth herein.
  7         389. By maintaining, streaming, distributing, reuploading, and monetizing
  8 videos and images of sexually explicit conduct, including nonconsensual sexual acts
  9 and child pornography, of Plaintiff on its websites, including but not limited to
 10 Pornhub, MindGeek publicly disclosed private facts about Plaintiff.
 11         390. Before this disclosure, the videos and images of nonconsensual sexual
 12 acts and child pornography of Plaintiff were private and not known to the public.
 13         391. The videos and images of sexually explicit conduct, including
 14 nonconsensual sexual acts and child pornography, of Plaintiff made known to the
 15 public are highly offensive and objectionable to a reasonable person.
 16         392. MindGeek disclosed the videos and images of sexually explicit conduct,
 17 including nonconsensual sexual acts and child pornography, of Plaintiff with
 18 knowledge that they are highly offensive or with reckless disregard of whether they
 19 are highly offensive.
 20         393. The videos and images of sexually explicit conduct, including
 21 nonconsensual sexual acts and child pornography, of Plaintiff are not of legitimate
 22 public concern.
 23         394. Plaintiff has suffered substantial physical, psychological, financial, and
 24 reputational harm, as well as other damages, as the result of MindGeek’s public
 25 disclosure of the videos and images of sexually explicit conduct, including
 26 nonconsensual sexual acts and child pornography, of Plaintiff.
 27         395. MindGeek’s conduct was malicious and/or the MindGeek Defendants
 28 acted with the intent to vex, injure, or annoy, or with a conscious disregard of the
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  1 Plaintiff’s rights, and Plaintiff is entitled to injunctive relief, and compensatory and
  2 punitive damages.
  3                                       COUNT VIII
  4                       (INTRUSION INTO PRIVATE AFFAIRS)
  5                    (AGAINST THE MINDGEEK DEFENDANTS)
  6         396. Plaintiff incorporates by reference and realleges each and every
  7 allegation contained above, as though fully set forth herein.
  8         397. By maintaining, streaming, distributing, reuploading, and monetizing
  9 videos and images of nonconsensual sexual acts and child pornography of Plaintiff
 10 on its websites, including but not limited to Pornhub, MindGeek intentionally
 11 intruded upon the solitude or seclusion, private affairs or concerns of Plaintiff.
 12         398. The intrusion was substantial, and of a kind that would be highly
 13 offensive to an ordinarily reasonable person.
 14         399. Plaintiff has suffered substantial physical, psychological, financial, and
 15 reputational harm, as well as other damages, as the result of MindGeek’s intrusion
 16 into Plaintiff’s private affairs.
 17         400. Because MindGeek has engaged in conduct of an oppressive,
 18 fraudulent, and malicious nature, Plaintiff is entitled to punitive damages.
 19                                        COUNT IX
 20                      (PLACING PLAINTIFF IN FALSE LIGHT)
 21                    (AGAINST THE MINDGEEK DEFENDANTS)
 22         401. Plaintiff incorporates by reference and realleges each and every
 23 allegation contained above, as though fully set forth herein.
 24         402. By maintaining, streaming, distributing, reuploading, and monetizing
 25 videos and images of nonconsensual sexual acts and child pornography of Plaintiff
 26 on its websites, including Pornhub, MindGeek made a public disclosure of a fact
 27 about Plaintiff.
 28         403. The fact disclosed was false and portrayed Plaintiff in a false light.
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  1 Namely, Plaintiff was placed before the public in a false light because viewers and at
  2 least some users of the websites, including but not limited to Pornhub, may have, and
  3 likely did, believe that Plaintiff voluntarily appeared in the videos and images,
  4 willingly engaged in pornography, and made money as “actors” off of the posting of
  5 the videos and images.
  6         404. The false light in which Plaintiff was placed would be highly offensive
  7 to a reasonable person.
  8         405. MindGeek had knowledge of or acted in reckless disregard of the falsity
  9 of the publicized fact and the false light in which Plaintiff would be placed.
 10         406. As a result of MindGeek’s wrongdoing, Plaintiff has suffered substantial
 11 physical, psychological, financial, and reputational harm, as well as other damages.
 12         407. Because MindGeek has engaged in conduct of an oppressive,
 13 fraudulent, and malicious nature, Plaintiff is entitled to punitive damages.
 14                                        COUNT X
 15      (COMMON LAW MISAPPROPRIATION OF NAME AND LIKENESS)
 16                    (AGAINST THE MINDGEEK DEFENDANTS)
 17         408. Plaintiff incorporates by reference and realleges each and every
 18 allegation contained above, as though fully set forth herein.
 19         409. By maintaining, streaming, distributing, reuploading, and monetizing
 20 videos and images of nonconsensual sexual acts and child pornography of Plaintiff
 21 on their websites, including but not limited to Pornhub, MindGeek appropriated
 22 Plaintiff’s identity, image, likeness, and pictures.
 23         410. The appropriation of Plaintiff’s identity, image, likeness, and pictures
 24 was for MindGeek’s own purposes or benefit, commercially or otherwise. MindGeek
 25 financially benefitted from these videos and images.
 26         411. Plaintiff did not consent to this appropriation.
 27         412. Plaintiff has suffered substantial physical, psychological, financial, and
 28 reputational harm, as well as other damages, as the result of MindGeek’s
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  1 appropriation of Plaintiff’s identity, image, likeness, and pictures.
  2         413. Plaintiff is entitled to, among other remedies, compensatory and
  3 punitive damages, restitution of all amounts to which Defendants have been unjustly
  4 enriched as a result of the misappropriation, disgorgement of Defendants’ profits
  5 from the misappropriation, and injunctive relief.
  6                                        COUNT XI
  7     (MISAPPROPRIATION OF NAME AND LIKENESS IN VIOLATION OF
  8                                CAL. CIVIL CODE 3344)
  9                    (AGAINST THE MINDGEEK DEFENDANTS)
 10         414. Plaintiff incorporates by reference and realleges each and every
 11 allegation contained above, as though fully set forth herein.
 12         415. By maintaining, streaming, distributing, reuploading, and monetizing
 13 videos and images of nonconsensual sexual acts and child pornography of Plaintiff
 14 on its websites, including by not limited to Pornhub, MindGeek knowingly
 15 appropriated Plaintiff’s identity, image, likeness, and pictures.
 16         416. The appropriation of Plaintiff’s identity, image, likeness, and pictures
 17 was for MindGeek’s own purposes or benefit, commercially or otherwise. MindGeek
 18 financially benefitted from these videos.
 19         417. Plaintiff did not consent to this appropriation.
 20         418. Plaintiff has suffered substantial physical, psychological, financial, and
 21 reputational harm, as well as other damages, as the result of MindGeek’s
 22 appropriation of the Plaintiff’s identity, image, likeness, and pictures.
 23         419. Plaintiff is entitled to, among other remedies, compensatory and
 24 punitive damages, restitution of all amounts to which the MindGeek Defendants have
 25 been unjustly enriched as a result of the misappropriation, disgorgement of the
 26 MindGeek Defendants’ profits from the misappropriation, and injunctive relief.
 27
 28
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  1                                       COUNT XII
  2     (DISTRIBUTION OF PRIVATE SEXUALLY EXPLICIT MATERIALS IN
  3              VIOLATION OF CALIFORNIA CIVIL CODE § 1708.85)
  4                   (AGAINST THE MINDGEEK DEFENDANTS)
  5        420. Plaintiff incorporates by reference and realleges each and every
  6 allegation contained above, as though fully set forth herein.
  7        421. By maintaining, streaming, distributing, reuploading, and monetizing
  8 videos and images of sexually explicit conduct, including nonconsensual sexual acts
  9 and child pornography, of Plaintiff on its websites, including but not limited to
 10 Pornhub, MindGeek intentionally distributed videos and images of Plaintiff.
 11        422. The distributed material exposed an intimate body part of Plaintiff
 12 and/or shows Plaintiff engaged in sexually explicit conduct, including exposure of an
 13 intimate body part, or an act of intercourse or oral copulation.
 14        423. Plaintiff did not consent to MindGeek’s online and widespread
 15 distribution of the videos and images depicting her.
 16        424. Plaintiff had a reasonable expectation that the material would remain
 17 private.
 18        425. MindGeek knew that the Plaintiff had a reasonable expectation that the
 19 material, which constituted CSAM, would remain private.
 20        426. Plaintiff has suffered substantial physical, psychological, financial, and
 21 reputational harm, as well as other damages, as a result of MindGeek’s intentional
 22 distribution of the Plaintiff’s videos and images.
 23                                      COUNT XIII
 24                                    (NEGLIGENCE)
 25                   ( AGAINST THE MINDGEEK DEFENDANTS)
 26        427. Plaintiff incorporates by reference and realleges each and every
 27 allegation contained above, as though fully set forth herein.
 28        428. MindGeek had a duty to use ordinary care and to prevent injury to
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  1 Plaintiff.
  2         429. By maintaining, streaming, distributing, reuploading, and monetizing
  3 videos and images of nonconsensual sexual acts and child pornography of Plaintiff
  4 on its websites, failing to take down videos and images upon request but merely
  5 disabling the link, and by reuploading illegal content, among other wrongdoing
  6 detailed herein, MindGeek breached the duty of care to Plaintiff.
  7         430. MindGeek’s breach of its duty of care caused harm to Plaintiff.
  8         431. Plaintiff has suffered substantial physical, psychological, financial, and
  9 reputational harm, as well as other damages, as the result of MindGeek’s breach of
 10 the duty of ordinary care.
 11                                        COUNT XIV
 12        (VIOLATION OF CAL. BUS. & PROF. CODE §§ 17200 AND 17500)6
 13                            (AGAINST ALL DEFENDANTS)
 14         432. Plaintiff incorporates by reference and realleges each and every
 15 allegation set forth above as if fully set forth herein.
 16         433. Defendants have engaged in unlawful, unfair, and fraudulent business
 17 acts and practices by participating in a venture engaged in trafficking that
 18 intentionally produced, recruited, funded, disseminated, and monetized the
 19 dissemination of CSAM materials, sex abuse, trafficking content, and other
 20 nonconsensual content on its site.
 21         434. Defendants fraudulently deceived its users that they were monetizing,
 22 distributing, and advertising legitimate, legal content, when in fact defendants’
 23 websites were riddled with videos of rape, child pornography, sex trafficking, and
 24 other nonconsensual content, including videos of Plaintiff. Defendants knowingly
 25
 26         6
            Although Plaintiff contends California substantive law applies, in the event
 27 the Court determines New Hampshire law applies, Plaintiff asserts a claim under the
 28 analogous N.H. Rev. Stat. § 358-A:2.
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  1 had inadequate age and consent verification systems in place that enabled users to
  2 upload child pornography to defendants’ websites. This conduct constitutes an
  3 unlawful, unfair, and fraudulent business act and practice.
  4         435. Defendants profited by selling advertising space to display
  5 advertisements alongside Plaintiff’s videos, images, and likenesses without her
  6 consent.
  7         436. Defendants profited by featuring Plaintiff’s videos, images, and
  8 likenesses without her consent to drive user traffic to their websites.
  9         437. This conduct constitutes an unlawful, unfair, and fraudulent business act
 10 and practice.
 11         438. Plaintiff has a financial interest in the use of her own videos, images,
 12 and likeness.
 13         439. As a result of defendants’ use of Plaintiff’s videos, images, and likeness
 14 without Plaintiff’s consent, Plaintiff has lost money to which she is rightfully
 15 entitled.
 16         440. As a result of defendants’ use of Plaintiff’s videos, images, and
 17 likenesses without Plaintiff’s consent, Plaintiff has suffered financial harm in the
 18 form of costs for therapy as well as substantial time away from her work and
 19 substantial expense hiring a company to assist her with her efforts investigate the
 20 continued dissemination of her videos on Pornhub and facilitate the take downs of
 21 her CSAM from MindGeek’s tubesites.
 22         441. Plaintiff seeks restitution of all amounts to which defendants have been
 23 unjustly enriched as a result of their unlawful, unfair, and/or fraudulent acts, and
 24 disgorgement of all profits defendants have made through the unlawful, unfair,
 25 and/or fraudulent acts.
 26         442. Plaintiff is entitled to preliminary and permanent injunctive relief
 27 restraining the defendants from committing further unfair trade practices and
 28 mandating the full disclosure of defendants’ personal and financial interests in
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  1 causing Plaintiff’s harm.
  2                                      COUNT XV
  3                          (VIOLATION OF CALIFORNIA’S
  4                   TRAFFICKING VICTIMS PROTECTION ACT
  5                               CAL. CIV. CODE § 52.5)7
  6                   (AGAINST THE MINDGEEK DEFENDANTS)
  7        443. Plaintiff incorporates by reference and realleges each and every
  8 allegation contained above, as though fully set forth herein.
  9        444. As set forth herein, MindGeek, through its Byzantine network of sham
 10 shell entities, owners, alter egos, agents, executives, and investors, knowingly
 11 solicited, maintained and profited from CSAM, trafficked, rape, and sex abuse
 12 material on its websites.
 13        445. Defendants’ websites are available all over the country, including in
 14 California.
 15        446. Defendants intended to, and do, distribute CSAM and other trafficked,
 16 rape, and sex abuse materials through their websites and doing so was a fundamental
 17 part of MindGeek’s business model.
 18        447. As a proximate result of the MindGeek Defendants’ violation of Penal
 19 Code § 236.1, Plaintiff has suffered serious harm and damages. Further, the
 20 MindGeek Defendants have received ill-gotten gains from the unlawful
 21 advertisement and exploitation of Plaintiff’s video, name, images, likeness, and/or
 22 identity for its own business purposes and profit.
 23        448. The MindGeek Defendants’ actions were willful, malicious, fraudulent,
 24 oppressive, outrageous, despicable, and taken in reckless disregard of Plaintiff’s
 25
 26        7
            Although Plaintiff contends California substantive law applies, in the event
 27 the Court determines New Hampshire law applies, Plaintiff asserts a claim under the
 28 analogous N.H. Rev. Stat. § 633:11.
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  1 rights. Plaintiff is entitled to, among other forms of relief, punitive and treble
  2 damages.
  3                                       COUNT XVI
  4           (INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)
  5                           (AGAINST ALL DEFENDANTS)
  6         449. Plaintiff incorporates each and every allegation set forth above as if
  7 fully set forth herein.
  8         450. Defendants’ conduct toward Plaintiff, as described herein, was
  9 outrageous and extreme.
 10         451. Defendants acted with reckless disregard of the likelihood that Plaintiff
 11 would suffer emotional distress, including humiliation and anxiety.      Defendants
 12 knew, or recklessly disregarded, that Plaintiff was harmed by the illegal CSAM
 13 featuring her on defendants’ websites, but did nothing to help her, and instead
 14 directed and encouraged the proliferation of CSAM on its websites.
 15         452. As a direct and proximate result of defendants’ conduct, Plaintiff
 16 suffered severe emotional distress and is accordingly entitled to appropriate damages.
 17         453. No reasonable person in Plaintiff’s situation would be able to adequately
 18 endure the distress engendered by defendants’ profit-driven indifference to, and
 19 encouragement of, her plight.
 20                                      COUNT XVII
 21                                 (CIVIL CONSPIRACY)
 22                           (AGAINST ALL DEFENDANTS)
 23         454. Plaintiff incorporates by reference and realleges each and every
 24 allegation contained above, as though fully set forth herein.
 25         455. As set forth herein, defendants conspired and acted in concert to commit
 26 unlawful acts, including, as set forth in count XIV, distribution of private sexually
 27 explicit materials in violation of Cal. Civ. Code § 1708.85; count XVI, violation of
 28 Cal. Bus. & Prof. Code §§ 17200 and 17500; and count XVII, violation of
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  1 California’s Trafficking Victims Protection Act, Cal. Civ. Code § 52.5. Each of the
  2 defendants shared the same conspiratorial objective, which was to maintain, stream,
  3 reupload, monetize, and profit from CSAM and other nonconsensual content and/or
  4 to benefit financially from such distribution so as to maximize profits and to do so
  5 while deceiving the public to believe that all content on MindGeek’s tubesites was
  6 lawful and consensual.
  7        456. Defendants’ conspiratorial scheme was carried out by the commission
  8 of the wrongful and overt acts set forth above, including, but not limited to:
  9               (a)   recruiting, commissioning, paying for, soliciting content produced
 10                     through human trafficking and slavery;
 11               (b)   producing CSAM and nonconsensual sexual content through
 12                     MindGeek owned production companies;
 13               (c)   partnering with known traffickers;
 14               (d)   advertising MindGeek tubesites prior to playing videos containing
 15                     CSAM or otherwise illegal and trafficked content, including,
 16                     upon information and belief, the CSAM videos of Plaintiff;
 17               (e)   generating substantial advertisement revenue based on CSAM
 18                     and otherwise illegal and trafficked content, including, upon
 19                     information and belief, the CSAM videos of Plaintiff;
 20               (f)   pushing all content posted on any of its tubesites, including the
 21                     CSAM videos of Plaintiff, regardless of its initial sourcing to its
 22                     other tubesites which it falsely portrayed as posted by a user other
 23                     than MindGeek;
 24               (g)   modifying effective content and duplicating to optimize search
 25                     engine optimization (“SEO”), including to make content appear
 26                     as if it was user made;
 27               (h)   creating playlists that target viewers interested in child
 28                     pornography and other illegal content;
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  1             (i)   featuring categories on their websites that target users interested
  2                   in child pornography and other sexual abuse, trafficking and
  3                   nonconsensual materials;
  4             (j)   directing users to describe their videos using categories like
  5                   “teen” to drive traffic;
  6             (k)   maintaining the webpage and thumbnails for disabled videos so
  7                   that the MindGeek Defendants can continue to generate traffic
  8                   and revenue from that illegal content;
  9             (l)   maintaining a search and tagging system—which include tags
 10                   such as “passed out teen,” and “sleeping pills”—to make it easier
 11                   for users to find and view videos of child and adult sex abuse, sex
 12                   trafficking, and other nonconsensual content;
 13             (m)   providing guidance to its global network of sex traffickers on how
 14                   to upload videos of sex trafficking and evade criminal liability
 15                   while complying with MindGeek’s purposefully loose
 16                   restrictions, including by maintaining public list of “banned
 17                   words”—i.e., words to avoid in the title of videos;
 18             (n)   providing its global network of sex traffickers VPN services to
 19                   allow them to cover up their unlawful conduct by obscuring the
 20                   sex traffickers’ locations and identities;
 21             (o)   allowing anyone to anonymously upload and download videos on
 22                   its tubesites, so that it would be extremely difficult for victims to
 23                   have their videos permanently removed, thus increasing
 24                   MindGeek’s advertising revenue and profits;
 25             (p)   allowing removed videos to reuploaded to its site;
 26             (q)   allowing all videos to be downloaded which facilitated the
 27                   reupload by different users with different titles; and
 28
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  1               (r)       financing the illegal venture through syndicate financing at
  2                         onerous and exorbitant rates and revenues generated from
  3                         subscriptions and advertisements on CSAM and other illegal
  4                         content, including Plaintiff’s CSAM images and videos.
  5         457. At all relevant times, defendants’ conduct was willful and done with
  6 legal malice and knowledge that it was wrongful.
  7         458. As a direct, proximate result of the operation and execution of the
  8 conspiracy, Plaintiff has been injured and suffered damages in an amount to be
  9 proven at trial.
 10                                   PRAYER FOR RELIEF
 11         WHEREFORE, Plaintiff demands judgment in her favor and against the
 12 Defendants, jointly and severally:
 13         A.    Awarding Plaintiff compensatory damages in an amount to be
 14 determined at trial;
 15         B.    Awarding Plaintiff restitution for all monies defendants earned
 16 marketing, selling, and exploiting Plaintiff’s videos, pictures, likeness, and images;
 17         C.    Awarding Plaintiff punitive damages;
 18         D.    Awarding Plaintiff her attorney fees and costs and expenses for
 19 litigating this case;
 20         E.    Awarding Plaintiff treble damages;
 21         F.    Awarding Plaintiff pre-judgment and post-judgment interest;
 22         G.    Awarding Plaintiff injunctive relief in the form of, among other things,
 23 compelling the deletion of all videos and other content for which MindGeek has not
 24 verified the identity, age, and consent of all those appearing in the content, deploying
 25 all commercially feasible means of ensuring only content for which age and consent
 26 of those appearing in the content is displayed, and disgorgement of all profits the
 27 defendants earned.
 28         H.    Granting such other and further relief as this Court deems just and
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  1 equitable.
  2
  3                             DEMAND FOR JURY TRIAL
  4        Plaintiff demands a jury trial for all triable issues of fact.
  5
      DATED: June 7, 2024                  Respectfully submitted,
  6                                        BROWN RUDNICK LLP
  7
  8                                        By: /s/ Michael J. Bowe
  9                                            Michael J. Bowe
                                               (pro hac vice application forthcoming)
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                                                 Attorneys for Plaintiff
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